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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF ARKANSAS


THE LITTLE ROCK DOWNTOWN NEIGHBORHOOD                                            FILED
                                                                              U.S. DISTRICT COURT -
ASSOCIATION, INC., THE PETTAWAY NEIGHBORHOOD                              EASTERN DJSTRICT ARKANSAS
ASSOCIATION, THE HANGER HILL NEIGHBORHOOD
ASSOCIATION, THE FOREST HILLS NEIGHBORHOOD
ASSOCIATION, INC., THE COALITION OF
LITTLE ROCK NEIGHBORHOODS, INC.,
ARKANSAS COMMUNITIES ORGANIZATION, INC.,
JOSHUA SILVERSTEIN, DALE PEKAR,
JOHN HEDRICK, DENISE ENNETT,
ROHN MUSE, BARBARA BARROWS
and KATHY WELLS                                                               PLAINTIFFS


       Vs.                          Case No.       tj: ll/0--vM.,2- ,Tft'/
FEDERAL HIGHWAY ADMINISTRATION,
UNITED STATES DEPARTMENT OF TRANSPORTATION;
ANGEL L. CORREA, DIVISION ADMINISTRATOR,
ARKANSAS DIVISION, FEDERAL HIGHWAY
ADMINISTRATION; and
ARKANSAS DEPARTMENT OF                This case assigned to District
TRANSPORTATION and SCOTT BENNETT      and to Magistrate Judge-b,,,__,,,,__\f-_.....,._
DIRECTOR, ARKANSAS DEPARTMENT OF
TRANSPORTATION


                 COMPLAINT FOR DECLARATORY JUDGMENT,
                                AND FOR
              PRELIMINARY AND PERMANENT INJUNCTIVE RELIEF


       Come the Plaintiffs, The Downtown Little Rock Neighborhood Association, Inc.,

Pettaway Neighborhood Association, The Hanger Hill Neighborhood Association, Inc., The

Forest Hills Neighborhood Association, Inc., the Coalition of Little Rock, Neighborhoods, The

Arkansas Communities Organization, Inc. ("the Organizational Plaintiffs"), and Joshua

Silverstein, Dale Pekar, John Hedrick, Denise Ennett, Rohn Muse, Barbara Barrows and Kathy



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Wells ("the Individual Plaintiffs"), (collectively herein "the Plaintiffs"), and for their cause of

action against the Defendants, Federal Highway Administration, United States Department Of

Transportation ("FHWA); Angel L. Correa, Division Administrator, Arkansas Division, Federal

Highway Administration; the Arkansas Department of Transportation ("ArDOT"), and Scott

Bennett, Director, Arkansas Department of Transportation, state:

                                    NATURE OF THE CASE

1.     This Complaint seeks declaratory and injunctive relief against the Defendants for their

failure to comply with the National Environmental Policy Act of 1969 ("NEPA"), 42 U.S.C.

§§4321 - 70a; the implementing regulations for NEPA issued by the White House Council on

Environmental Quality ("CEQ" and "the CEQ Regulations"), 40 C.F.R. §§1500- 08; the

Department of Transportation Act ("DOTA"), 49 U.S.C. §303; the Federal-Aid Highway Act

("FAHA"), 23 U.S.C. §138; the Safe, Accountable, Flexible, Efficient Transportation Act of

2005 (SAFETA), 109 Pub. L. 59, 119 Stat. 1144 (variously codified); the Federal Water

Pollution Control Act (Clean Water Act), 33 U.S.C. §§ 1311, 1344; Executive Orders 12898 and

11988; and regulations implementing those acts;

2.     The action arises from the Defendants' approval and issuance of an Environmental

Assessment ("EA") dated June 8, 2018, and a Finding of No Significant Impact ("FONS!") dated

February 26, 2018, and other documents prepared by the Defendants and their consultants,

selecting and approving Alternative 2B described in the said EA and the FONS! as the preferred

alternative for the widening and reconstruction of a 7.3 mile section of Interstates 30 and 40 in

the cities of Little Rock and North Little Rock generally described as the area between the

intersections of Interstate 530, Interstate 440, and Interstate 30 on the south, and the intersections

of Interstate 30, Interstate 40 and Highway 67/167 on the north, commonly referred to as "the 30



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Crossing Project", or simply "the Project." A map of the Project area is shown in the following

Figure No. 1. Interchanges with other major highways that will also be rebuilt are circled.




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3.     The 30 Crossing Project is the largest highway project ever undertaken in the State of

Arkansas. It is currently estimated to cost in excess of One Billion Dollars ($1,000,000,000.) and

require four years to construct. It is the major north-south highway corridor in the State. It is a

major regional corridor between the southwest and eastern United States, and its construction as

currently designed would directly, indirectly and permanently impact traffic patterns throughout

central Arkansas and the lives of the residents in that area.

4.     In approving the EA and issuance of the FONS!, the Defendants failed to comply with

the procedures for gathering information, public participation, and decision-making set forth in

NEPA, the Department of Transportation Act ("DOTA"), 49 U.S.C. §303; the Federal-Aid

Highway Act ("FAHA"), 23 U.S.C. §138; the Safe, Accountable, Flexible, Efficient

Transportation Act of 2005 (SAFET A), the regulations implementing those statutes, and

Executive Orders 12898 and 11988, as more fully described herein. Specifically, but without

limitation, the Defendants failed to comply with procedural requirements regarding the purpose

and intent of the proposed action; analysis of alternatives to the proposed action; direct, indirect

and cumulative impacts; and mitigating measures.

5.     The Defendants' failure to make the determinations described in the preceding paragraph,

and their procedures, findings, conclusions, and actions in approving the EA and FONS! were

arbitrary, capricious, an abuse of discretion, and otherwise not in accordance with law (5 U.S.C.

§706(2)(A)), as more fully described herein.

6.     The Organizational Plaintiffs are organizations that represent owners and residents of

homes, apartments and condominiums in geographic areas bordering the 30 Corridor Project area

or in adjacent areas who will be exceptionally and severely affected by impacts on the human

environment that will occur as a result of the 30 Corridor Project that have not been considered



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by the Defendants in the EA and FONS!. Such adverse effects include increased traffic and

noise, diminished air quality, permanent and irreparable change and damage to the historic

quality of the affected neighborhoods, damage to the affected neighborhoods' social, aesthetic

and economic qualities, traffic usage and patterns, and safety. The members of the

Organizational Plaintiffs will be adversely affected or aggrieved by the action of the Defendant

agencies in approving the EA and FONSI. The Organizational Plaintiffs have been authorized by

their members or governing boards to represent the interests of their members in this litigation,

and have standing to sue on behalf of their members pursuant to 5 U.S.C. §702.

7.      The Individual Plaintiffs are persons who live in or near the 30 Corridor area, and

who will be exceptionally and severely damaged, prejudiced and aggrieved by the actions and

omissions of the Defendants in their failure to company with the requirements of NEPA and the

above cited statutes and regulations, in that the Project would cause impacts on the human

environment from increased traffic and noise, diminished air quality, permanent and irreparable

change and damage to the project area's historic quality, damage to the area's social and

economic qualities, disruptive traffic usage and patterns, and decreased safety, thereby

preventing the Individual Plaintiffs from enjoying their homes, neighborhoods and quality of life.

The Project will also adversely affect the ability of the Individual Plaintiffs to use 1-30, 1-630, 1-

40 and Highway 67/167 in their daily activities. Such impacts have not been assessed by the

Defendants in preparation of the EA or FONS!. The Individual Plaintiffs will be adversely

affected or aggrieved by the action of the Defendants in approving the EA and FONSI, and thus

have standing to sue pursuant to 5 U.S.C. §702.

8.     A Motion for Preliminary and Permanent Injunction will be filed following the filing of

this Complaint. Upon hearing on such Motion, the status quo ante should be maintained and



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Defendants should be temporarily restrained and enjoined from conducting or allowing any work

on the 30 Corridor Project that would alter or modify I- 30 or that would otherwise limit the

choice of reasonable alternatives to the Preferred Action described herein unless and until such

time as a hearing on a permanent injunction may be conducted in this matter; that upon such

hearing, a permanent injunction should be issued and the Defendants permanently enjoined until

they have fully complied with the requirements of NEPA and its implementing regulations as

described herein.


                                  JURISDICTION AND VENUE

9.      This Court has jurisdiction over this action under 28 USC §1331 (Federal Question); 28

USC §1361 (Mandamus); 28 U.S.C. §1651 (Writs); 28 U.S.C. §§2201-02 (Declaratory Judgment

Act); and 5 U.S.C. §§701 et seq. (Administrative Procedure Act).

10.     This Court has a right of review of administrative actions by the Defendant, U.S.

Department of Transportation, Federal Highway Administration pursuant to 5 U.S.C. §702

(Administrative Procedure Act).

11.     Venue of this action is proper in this Court under 28 U.S.C. §1391(e), in that a substantial

part of the events or omissions giving rise to the claims occurred, and the property that is the

subject of the action, is situated in this District and Division.



                                           THE PARTIES

                                               Plaintiffs

12.    The organizational Plaintiff, Little Rock Downtown Neighborhood Association, Inc.

("DNA"), is a not-for-profit corporation organized and existing under the laws of the State of

Arkansas. The geographic area covered by the DNA includes an area of Little Rock bounded on

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the east by South Louisiana Street, on the north by the Arkansas River, on the west by Dr. Martin

Luther King, Jr., Dr., and on the south by West Roosevelt Road. Among the purposes of the

DNA are to preserve and protect the environment of the area and its historic character and

values. The members of the DNA are concerned about increases in traffic volumes and patterns,

noise and air pollution that would result in the neighborhood in which they reside; the negative

effect that widening ofl-30 will have on the social and economic environment of downtown

Little Rock and particularly those portions of Little Rock on each side of the 30 Corridor, in the

River Market District and in the area of the Clinton Presidential Library and Heifer International

Headquarters. They are also concerned about, among other issues, the direct, indirect and

cumulative impacts that the widening of both 1-30 and 1-630 will have on their neighborhood and

the historic areas immediately north and south ofl-630 and west ofl-30, and the failure of the

Defendants to consider all reasonable and seasonable alternatives to the proposed action,

including, without limitation, improvements to public transportation and environmental justice.

13.    The organizational Plaintiff, The Pettaway Neighborhood Association, Inc., ("PNA"), is a

not-for-profit corporation organized and existing under the laws of the State of Arkansas. The

geographic area covered by the PNA includes an area bounded on the east by 1-30, on the north

by 1-630, on the west by Main Street and on the south by west Roosevelt Road. Among the

purposes of the PNA are to preserve and protect the environment of the area and its historic

character and values. The members of the PNA are concerned about increases in traffic volumes

and patterns, noise and air pollution that would result in the neighborhood in which they reside;

the negative effect that widening of 1-30 will have on the social and economic environment of

downtown Little Rock and particularly those portions of Little Rock on each side of the 30

Corridor, in the River Market District and in the area of the Clinton Presidential Library and



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Heifer International Headquarters. They are also concerned about, among other issues, the direct,

indirect and cumulative impacts that the widening of both 1-30 and 1-630 will have on their

neighborhood and the historic areas immediately north and south of 1-630 and west of 1-30, and

the failure of the Defendants to consider all reasonable and seasonable alternatives to the

proposed action, including, without limitation, improvements to public transportation and

environmental justice.

14.    The organizational Plaintiff, The Hanger Hill Neighborhood Association, Inc.

("HHNA"), is a not-for-profit corporation organized and existing under the laws of the State of

Arkansas. The geographic area covered by the HHNA includes the area bounded by 1-30 on the

west, East 6th Street on the north, rail lines on the east, and East 17th Street on the south. Among

the purposes of the HHNA are to preserve and protect the environment of the area and its historic

character and values. The members of the HHNA are concerned about increases in traffic

volumes and patterns, noise and air pollution that would result in the neighborhood in which they

reside; the negative effect that widening of 1-30 will have on the social and economic

environment of downtown Little Rock and particularly those portions of Little Rock on each side

of the 30 Corridor, in the River Market District and in the area of the Clinton Presidential Library

and Heifer International Headquarters. They are also concerned about, among other issues, the

direct, indirect and cumulative impacts that the widening of both 1-30 and 1-630 will have on

their neighborhood and the historic areas immediately north and south ofl-630 and west of 1-30,

and the failure of the Defendants to consider all reasonable and seasonable alternatives to the

proposed action, including, without limitation, improvements to public transportation and

environmental justice.




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15.     The organizational Plaintiff, Forest Hills Neighborhood Association ("FHNA"), is a not-

for-profit corporation organized and existing under the laws of the State of Arkansas. The

geographic area covered by the FHNA including 1-630 on the north, South Pine Street on the

east, West 12th Street on the south, and Jonesboro Drive on the west. Among the purposes of the

FHNA are to preserve and protect the environment of the area and its historic character and

values. The members of the FHNA are concerned about increases in traffic volumes and patterns,

noise and air pollution that would result in the neighborhood in which they reside; the negative

effect that widening ofl-30 will have on the social and economic environment of downtown

Little Rock and particularly those portions of Little Rock on each side of the 30 and 1-630

Corridor, in the River Market District and in the area of the Clinton Presidential Library and

Heifer International Headquarters. They are also concerned about, among other issues, the

cumulative impacts that the widening of 1-30 will have on 1-630 and on their neighborhood,

particularly the traffic congestion that is predicted to occur on 1-630 as a result of the 30

Crossing Project, and the failure of the Defendants to consider all reasonable and seasonable

alternatives to the proposed action, including, without limitation, improvements to public

transportation and environmental justice.

16.    The organizational Plaintiff, The Coalition of Little Rock Neighborhoods, Inc. (''the

Coalition"), is a not-for-profit corporation organized and existing under the laws of the State of

Arkansas. Among the purposes of the FHNA are to assist in, coordinate and promote the

development, maintenance and activities of the various neighborhood associations in the City of

Little Rock; to assist in the distribution of information among such organizations for their mutual

benefit; to promote quality residential life in Little Rock as a vital part of maintaining a healthy

city economy; and to provide a voice for the neighborhood associations of the City with local



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and state government. The Coalition is concerned about increases in traffic volumes and patterns,

noise and air pollution that would result in the neighborhood in which they reside; the negative

effect that widening ofl-30 will have on the social and economic environment of downtown

Little Rock and particularly those portions of Little Rock on each side of the 30 and 1-630

Corridor, in the River Market District and in the area of the Clinton Presidential Library and

Heifer International Headquarters. They are also concerned about, among other issues, the

cumulative impacts that the widening ofl-30 will have on 1-630 and on their neighborhood,

particularly the traffic congestion that is predicted to occur on 1-630 as a result of the 30

Crossing Project, and the failure of the Defendants to consider all reasonable and seasonable

alternatives to the proposed action, including, without limitation, improvements to public

transportation and environmental justice.

17.     The organizational Plaintiff, the Arkansas Communities Organization, Inc. (ACO) is an

Arkansas non-profit corporation dedicated to bringing low-income and working Arkansans together to

win changes that improve the health, income and opportunities for people in our communities;

guarantee a brighter future for our children; and give ordinary Arkansans a voice in major policy

decisions in both government and private business. ACO is concerned about the 30 Crossing Project

and its potentially disproportionate impacts on low-income and minority populations in the Little Rock

area, the potentially adverse impacts on the health of children of the Project, and the potentially adverse

impacts on the economy and property values in the low-income and minority populated areas

surrounding the 30 Corridor and 1-630, particularly in view of the experiences of those areas from the

construction ofl-630.

18.     The Plaintiff, Joshua Silverstein, is a resident and citizen of Little Rock, Arkansas. Mr.

Silverstein resides in a high-rise condominium building immediately adjacent to the intersection



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ofl-30 and Highway 10 (aka Cantrell Road/LaHarpe Boulevard). He also is a professor oflaw at

the University of Arkansas at Little Rock, William H. Bowen School of Law in Little Rock

which is located in the northwest corner of the intersection ofl-30 and 1-630, although he brings

this action in his individual capacity and not on behalf of the University of Arkansas or any

subdivision thereof.. He is concerned about the effects on his neighborhood and work

environment as a result the replacement of the Highway 10/1-30 interchange and the proposed

new entrance and exit ramps onto and exiting from 1-30; the proposed 1-30 overpasses of Little

Rock city streets; increases in traffic volume, traffic patterns, noise and air pollution that would

result in the neighborhood in which he resides; the potentially negative effect that widening ofl-

30 will have on the social and economic environment of downtown Little Rock and particularly

those portions of Little Rock in the River Market District, in the area of the Clinton Presidential

Library and Heifer International Headquarters, and on each side of the 30 Corridor. He is also

concerned about the direct, indirect and cumulative impacts that the widening of both 1-30 and 1-

630 will have on his neighborhood and the historic areas immediately north and south of 1-630

and west ofl-30, and the failure of the Defendants to consider other alternatives to the proposed

expansion, including improvements to public transportation.

19.    The Plaintiff, Dale Pekar, is a resident and citizen of Little Rock, Arkansas. He resides on

Rock Street, a residential area in the City of Little Rock immediately west of 1-30. Mr. Pekar was

formerly an economist and a supervisory planning team leader with the US Army Corps of

Engineers, the U.S. Forest Service and the Natural Resources Conservation Service of the USDA

(US Department of Agriculture) in conducting environmental analyses pursuant to the provisions

of the National Environmental Policy Act. Mr. Pekar is concerned about the increases in traffic

volumes, changes in traffic patterns, noise and air pollution that would result in the neighborhood



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in which he resides; the negative effect that widening of 1-30 will have on the social, aesthetic

and economic environment of downtown Little Rock and particularly those portions of Little

Rock in the River Market District, the Clinton Presidential Library and Heifer International

Headquarters, and on each side of the 30 Corridor. He is also concerned about the direct, indirect

and cumulative impacts that the widening of both 1-30 and 1-630 will have on his neighborhood

and the historic areas immediately north and south ofl-630 and west ofl-30, and the failure of

the Defendants to consider other alternatives to the proposed expansion, including improvements

to public transportation and environmental justice to low-income and minority areas in the

Project area.

20.    The Plaintiff, John Hedrick, is a resident and citizen of Little Rock, Arkansas. Mr.

Hedrick has had many years of experience in managing, operating and overseeing transportation

authorities and systems, including highways, light rail, railroads and bus transportation. Mr.

Hedrick resides on East 15 th Street in Little Rock south ofl-630 and immediately west of the 1-

30 Corridor Project area. He is also concerned about the increases in traffic volumes and

patterns, noise and air pollution that would result in the neighborhood in which he resides; the

negative effect that widening ofl-30 will have on the social, aesthetic and economic

environment of downtown Little Rock and particularly those portions of Little Rock in the River

Market District, the area of the Clinton Presidential Library and Heifer International

Headquarters, and on each side of the 30 Corridor. He is also concerned about the direct, indirect

and cumulative impacts that the widening of both 1-30 and 1-630 will have on his neighborhood

and the historic areas immediately north and south ofl-630 and west ofl-30, the failure of the

Defendants to consider other alternatives to the proposed expansion, including improvements to

public transportation and environmental justice to low-income and minority areas in the Project



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area.



21.     The Plaintiff, Denise Ennett, is a resident of the City of Little Rock, residing at the

intersection ofl-30 with 1-630. She is the immediate past president of the Plaintiff, Little Rock

Downtown Neighborhood Association, Inc. ("DNA"), and is concerned about the increases in

traffic volumes and patterns, noise and air pollution that would result in the neighborhood in

which she resides; the negative effect that widening ofl-30 will have on the social, aesthetic and

economic environment of downtown Little Rock and particularly those residential portions of

Little Rock on each side of the 30 Corridor, in the River Market District and in the area of the

Clinton Presidential Library and Heifer International Headquarters. She is also concerned about,

among other issues, the direct, indirect and cumulative impacts that the widening of both 1-30

and 1-630 will have on her neighborhood and the historic areas immediately north and south of 1-

630 and west ofl-30, and the failure of the Defendants to consider all reasonable and seasonable

alternatives to the proposed action, including, without limitation, improvements to public

transportation and environmental justice to low-income and minority areas in the Project area.

22.     The Plaintiff, Rohn Muse, is a resident of the City of Little Rock, residing at in an area

immediately south ofl-630. He is the immediate past president of the Plaintiff, Forest Hills

Neighborhood Association, Inc. ("FHNA"), and is concerned about the increases in traffic

volumes, patterns, congestion, noise and air pollution as a result of the 30 Corridor Project that

would result in the areas ofl-630 and arteries to 1-630 in which he resides; the negative effect

that widening of 1-30 will have on the social, aesthetic and economic environment of downtown

Little Rock and particularly those residential portions of Little Rock on each side of the 30

Corridor, in the River Market District and in the area of the Clinton Presidential Library and



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Heifer International Headquarters. He is also concerned about, among other issues, the direct,

indirect and cumulative impacts that the widening of both 1-30 and 1-630 will have on her

neighborhood and the historic areas immediately north and south ofl-630 and west of 1-30, and

the failure of the Defendants to consider all reasonable and seasonable alternatives to the

proposed action, including, without limitation, improvements to public transportation and

environmental justice to low-income and minority areas in the Project area.

23.    The Plaintiff, Barbara Barrows, is a resident of the City of Little Rock, residing at the

intersection of 1-30 with 1-630. She is the immediate past president of the Plaintiff, Hanger Hill

Neighborhood Association, Inc. ("HHNA"), and is concerned about the increases in traffic

volumes and patterns, noise and air pollution that would result in the neighborhood in which she

resides; the negative effect that widening ofl-30 will have on the social, aesthetic and economic

environment of downtown Little Rock and particularly those residential portions of Little Rock

on each side of the 30 Corridor, in the River Market District and in the area of the Clinton

Presidential Library and Heifer International Headquarters. She is also concerned about, among

other issues, the direct, indirect and cumulative impacts that the widening of both 1-30 and 1-630

will have on her neighborhood and the historic areas in Hanger Hill and those immediately north

and south ofl-630 and west ofl-30, and the failure of the Defendants to consider all reasonable

and seasonable alternatives to the proposed action, including, without limitation, improvements

to public transportation and environmental justice to low-income and minority areas in the

Project area.

24.    The Plaintiff, Kathy Wells, is a resident of the City of Little Rock, residing in the historic

neighborhood in downtown Little Rock. She is the president of the Plaintiff organization,

Coalition of Little Rock Neighborhoods (CLRN), and has long been an activist for neighborhood



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associations and civic causes in the City of Little Rock. She has resided for many years in the

area immediately west of I-30 and north of I-630, and is concerned about the increases in traffic

volumes and patterns, noise and air pollution that would result in the neighborhood in which she

resides; the negative effect that widening ofl-30 will have on the social, aesthetic and economic

environment of downtown Little Rock and particularly those residential portions of Little Rock

on each side of the 30 Corridor, in the River Market District and in the area of the Clinton

Presidential Library and Heifer International Headquarters. She is also concerned about, among

other issues, the direct, indirect and cumulative impacts that the widening of both I-30 and I-630

will have on her neighborhood and the historic areas east of and immediately west of I-30 and

south ofl-630. She is also concerned about the failure of the Defendants to consider all

reasonable and seasonable alternatives to the proposed action, including, without limitation,

improvements to public transportation and environmental justice to low-income and minority

areas in the Project area.



                                           Defendants

25.    Defendant, Federal Highway Administration ("FHWA"), United States Department of

Transportation, is an agency of the Executive Department of the United States of America. The

FHWA has been delegated responsibility for, among other things, construction, management,

administration, regulation and oversight of various highways and transportation facilities and

their development and funding, and for conducting environmental assessments and

environmental impact statements to determine the impact of proposed highway and transit

development on the human environment prior to construction according to the mandates of

NEPA, the Department of Transportation Act ("DOTA"), the Federal-Aid Highway Act



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("F AHA"), the Federal Transit Act ("FTA"), and the Safe, Accountable, Flexible, Efficient

Transportation Act of 2005 (SAFETA).

26.    The Defendant, Angel L. Correa, is an individual resident of the State of Arkansas, and is

currently serving as the Division Administrator, Arkansas Division of the Defendant Federal

Highway Administration ("FHWA"). As such, he is responsible for implementing and

overseeing the performance of all of the functions and responsibilities of the Federal Highway

Administration in the State of Arkansas. Defendant Correa approved the Environmental

Assessment prepared by the Defendant, Arkansas Department of Transportation dated June 8,

2018, and signed the Finding of No Significant Impact issued by the FHWA on February 26,

2019. He is joined as a Defendant in his representative capacity as such Division Administrator.

27.    The Arkansas State Transportation Department (formerly named Arkansas State

Highway and Transportation Department) ("ArDOT") is an agency of the State of Arkansas with

its principal offices in Pulaski County, Arkansas. ArDOT has the responsibility, among others, to

plan, design, construct and maintain highways and roads in the State of Arkansas; to enter into

agreements with the FHWA regarding Federal funding for highway construction; and to

coordination with other agencies of the state and federal government, including FHWA, having

transportation responsibilities (Ark. Code Ann.§ 27-1-102). ArDOT prepared the Environmental

Assessment dated June 6, 2018 that was approved by the FHWA in its FONSI dated February

26, 2019, and will implement the construction of the proposed 30 Corridor Project.

28.    The Defendant, Scott Bennett, is the current Director of the Arkansas Department of

Transportation. As such, he is responsible for implementing and overseeing the performance of

all of the functions and responsibilities of the Arkansas Department of Transportation in the State

of Arkansas. Defendant Bennett is joined as a Defendant in his representative capacity as such



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Director.

                                  FACTUAL BACKGROUND

29.    In 2012, through Amendment 91 to the Constitution of Arkansas, the citizens of Arkansas

approved a 10-year, half-cent sales tax to improve the state's Four-Lane Highway system. It was

anticipated that an estimated $1.8 billion would be raised by the tax and 70% of that will be

spent on design and construction and widening of highway projects, with the other 30% to be

allocated to counties and cities for use on their roads and streets. (Source: Connecting Arkansas

Program website)

30.    The Arkansas Department of Transportation (ArDOT) conceived a program called "The

Connecting Arkansas Program" (CAP) by which the State's share (70%) of the monies derived

from the Amendment 91 tax revenues would be expended. Approximate $1.8 Billion is being

allocated to 36 projects in the State of Arkansas, and is the largest highway construction program

ever undertaken by the Department. (Ibid.)

31.    The 30 Corridor Project, which is a part of the "Connecting Arkansas Program," proposes

to expand approximately 7.3 miles ofl-30 and I-40 that transects Little Rock and North Little

Rock, generally described in the EA as:

       A portion of Interstate 30 (I-30) from Interstate 530 (I-530) and Interstate 440 (I-
       440) to Interstate 40 (I-40), including the Arkansas River Bridge, and a portion of
       I-40 from Highway (Hwy) 365 (MacArthur Drive) to Highway 67; and a portion
       ofl-40 from its intersection with I-30 to its intersection with 67/167.
       (see Project Map, Figure No. 1)

32.    At the time of the issuance of the draft EA on the 30 Corridor Project for public comment

in June 2018, ArDOT represented to the public that the cost of the Project would be

approximately $650 million. A large percentage of the funds raised by the Amendment 91 are

proposed by ArDOT to be used on the 30 Corridor Project. There is litigation currently pending



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in the Circuit Court of Pulaski County to determine whether the funds generated by the

Amendment 91 tax may be expended on the Project.

33.    Another $90 million is being spent by ArDOT on the widening ofl-630 between

University Avenue and Baptist Medical Center, and another $90 million is proposed to be spent

by ArDOT on widening of Highway 10 between Pleasant Valley Drive and Pleasant Ridge Road,

and the reworking of the interchange of Highway 10 with 1-430. Approximately 60 - 65% of the

costs of those projects are to be derived from the Amendment 91 tax, making a total of

approximately $1 billion proposed to be spent on those three projects in Pulaski County alone.

34.    Beginning in about April, 2014, the ArDOT, in conjunction with the Federal Highway

Administration, began conducting a process referred to as "Planning and Environmental

Linkages ("PEL") that purportedly covered various aspects of the 30 Corridor Project. Meetings

were held with public officials and members of the public, and comments taken. The PEL reports

that were assembled from those meetings and comments were not part of the NEPA

environmental review conducted by the Defendants relative to the 30 Crossing Project, but are

extensively referred to in the Environmental Assessment that is the subject of this litigation.

During that PEL process various alternatives to the proposed Project, many of which were

proposed by the public, were considered and discarded by ArDOT prior to the preparation and

issuance of the Draft Environmental Assessment discussed in the following paragraphs.

Consequently, the public was not provided an opportunity to submit comments on a Draft EA

containing reasonable alternatives that were discarded by ArDOT during the PEL process.

35.    ArDOT prepared and issued a draft Environmental Assessment (EA) for public comment

on June 8, 2018, consisting of approximately 3,800 pages. 1 Most of the Plaintiffs herein and



1      The draft EA issued for public comment consisted of approximately 3,800 pages,
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many other members of the public submitted timely comments upon the draft EA.

36.    No additional drafts of the Environmental Assessment were issued for public comment

by ArDOT, and the EA was approved by FHWA through the issuance of its Finding of No

Significant Impact (FONS!) with a two-page EA "Errata Sheet" on February 26, 2019.

37.    The FONS! adopted and approved a preferred "build" alternative that was Alternative

2B, originally known as ''the 6-lane with Collector/Distributor Lanes with Split-Diamond

Interchange Alternative", and also as the "IO-lane Downtown CID." The FONS! determined that

there would be no significant adverse impact upon the human environment from development of

the preferred alternative. A copy of the FONS! dated February 26, 2019 (including the Errata

Sheet) is attached to this Complaint as Exhibit No. 1.

38.    No revised draft EA was issued for additional public comment after ArDOT's

consideration of the public comments that were received on the draft EA, and the draft FONS!

was not made available for public review before issuance of the FONS I in final form.

39.    After the closure of the public comment period on the draft EA, and contemporaneously

with the issuance of the FONS!, ArDOT retained a consortium of highway design/construction

consultants who estimated the current cost of the Project as described in the EA to be

approximate One Billion Dollars ($1,000,000,000.00). ArDOT then announced that it did not

have sufficient funds available or budgeted with which to construct the Project as described in

the EA, and that it had requested its design/construction consultants to develop a plan for

construction of as much of the Project as could be done with available funds.




including appendices. However, the FONS! issued by FHWA refers to the EA it approved as
consisting of 7, 100 pages of which the EA is said to consist of 123 pages. The inconsistency is
not explained in the FONS!.
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40.    The development of an alternative plan for reconstruction and widening of the I-30

Corridor with availability of only approximately one-half to two-thirds of the funds that are

necessary to develop the proposed Project as originally designed would result in a significant

change in the scope, design and construction of the Project, with consequential significant

adverse consequences, effects and impacts not foreseen or analyzed by the EA or the FONSI,

and on which the public has not been provided an opportunity to comment.

41.    In addition, Plaintiffs disagree with the manner in which preparation of the EA was

conducted, and the adequacy and conclusions of the Final EA and the FONSI. There are serious

flaws and deficiencies in the EA that fail to meet the requirements of the National Environmental

Policy Act (NEPA), the Federal Transportation Act (FTA) and the Federal-Aid Highway Act

("FAHA"), Executive Orders 12898 and 11988 and other applicable laws, and that require the

development of a full-blown Environmental Impact Statement. Those flaws and deficiencies will

be described herein.

                            The Defendants' Final Agency Action
                            And The Administrative Procedure Act

42.    The Federal Highway Administration's approval of the FONSI dated February 26, 2019,

constitutes "final agency action" within the meaning of sections 702 and 704 of the

Administrative Procedure Act, 5 U.S.C. §§702, 704.

43.    The Plaintiffs are "persons adversely affected or aggrieved" by the Defendants' final

agency action within the meaning of §702 of the Administrative Procedure Act, 5 USC §702.

All Plaintiffs are concerned about the effect of the Facility on their human environment as

described in the preceding paragraphs.

44.    Plaintiffs have exhausted all administrative remedies by submitting written comments to

the FHWA throughout the environmental review process and appearing at public hearings on the

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Project. All issues raised in this complaint were raised before by Plaintiffs, other public

commenters, or government agencies prior to the Project's approval.

45.    For these reasons and those set forth herein, the FONS! and the EA upon which it is

based should be held to be arbitrary, capricious, and not in compliance with the requirements of

NEPA and its implementing regulations and other applicable laws and regulations, and thus void.



                                      APPLICABLE LAWS

                             The National Environmental Policy Act


46.    In 1969, Congress, "recognizing the profound impact of man's activity on the

interrelations of all components of the natural environment, particularly the profound influences

of population growth, high-density urbanization, industrial expansion, resource exploitation, and

new and expanding technological advances, and recognizing further the critical importance of

restoring and maintaining environmental quality to the overall welfare and development of man,"

enacted NEPA, declaring it to be "the continuing policy of the Federal Government ... to use all

practical means and measures ... to create and maintain conditions under which man and nature

can exist in productive harmony, and fulfill the social, economic and other requirements of

present and future generations of Americans." (NEPA §lOl(a), 42 USC §4331(a)). NEPA was

signed into law by President Richard M. Nixon on January 1, 1970. (Pub. L. 91-190, 42 U.S.C.

4321-4347)

47.    NEPA is our basic national charter for protection of the environment. 40 CFR §1500.l(a)

It establishes policy, sets goals, and provides means for carrying out the policy. Section 102(2)

of NEPA contains "action-forcing" provisions to ensure that Federal agencies act according to

the letter and spirit of the Act. The President, the Federal agencies and the courts share

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responsibility for enforcing the Act so as to achieve the substantive requirements and goals of the

Act. (Ibid.)

48.     Among the goals set forth in § 101 (b) of NEPA (42 USC §4331 (b)) are to:

        a       fulfill the responsibilities of each generation as trustee of the environment
                for each successive generation;

       b.       attain the widest range of beneficial uses of the environment without
                degradation, risk to health or safety, or other undesirable and unintended
                consequences;

        c.      preserve important historic, cultural and natural aspects of our national
                heritage, and maintain wherever possible, an environment which supports
                diversity and variety of individual choice; and

       d.       enhance the quality of renewable resources and approach the maximum
                attainable recycling of depletable resources.

49.    To achieve those goals and policies, NEPA requires in relevant part that all agencies of

the Federal Government shall include in every recommendation for or report on major Federal

actions significantly affecting the quality of the human environment, a detailed statement by the

responsible official on:

       (i)      the environmental impact of the proposed action,

       (ii)     the adverse environmental effects which cannot be avoided should the
                proposal be implemented,

       (iii)    alternatives to the proposed action (including the "no action" alternative),

       (iv)     the relationship between local short-term uses of man's environment and
                the maintenance and enhancement of long-term productivity, and

       (v)      any irreversible and irretrievable commitments ofresources which would
                be involved in the proposed action should it be implemented.

       (NEPA, § 102(C), 42 USC §4332(C)) (Underlining supplied)




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                                     The CEQ Regulations

50.    Pursuant to NEPA §202 (42 USC §4342) and Executive Orders Nos. 11514 and 11991,

the White House Council on Environmental Quality ("CEQ") was created to assist in

promulgating regulations implementing and expounding upon the provisions of NEPA by

requiring that all Federal agencies prepare an Environmental Assessment ("EA") and/or an

Environmental Impact Statement ("EIS") to determine the potential environmental effects of

proposed Federal actions. Those regulations are promulgated at 40 C.F.R. Part 1500 et seq. ("the

CEQ Regulations"), and are binding on all Federal agencies. The CEQ Regulations are generally

entitled to substantial deference, Andrus v. Sierra Club, 442 U.S. 347,358, 99 S.Ct. 2335, 2341,

60 L.Ed.2d 943 (1979)

51.    Under the CEQ regulations, the process of assessing the environmental impact of a

proposed Federal action is normally divided into three major steps (40 C.F.R. §1501.4):

       A. Preparation of an environmental assessment ("EA"), which is defined as a
          "concise public document that serves to briefly provide sufficient evidence
          and analysis for determining whether the proposed Federal action may
          significantly affect the quality of the human environment; (40 CFR § 1508.9).
          The preparation of an EA may be omitted if the agency decides that the
          proposed action merits preparation of an EIS. (40 CFR §1501.3, 1501.4).

       B. If the EA determines that the proposed federal action will not significantly
          affect the environment, prepare a Finding of No Significant Impact
          ("FONSI"), which is defined as a document briefly presenting the reasons
          why an action will not have a significant effect on the human environment and
          for which an environmental impact statement therefore will not be prepared.
          (40 CFR §1508.13)

       C. If the agency determines that the proposed federal action may significantly
          affect the environment, commence the scoping process to prepare an EIS. (40
          CFR §1501.4)




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52.       The CEQ Regulations also address the issue of the scope of a NEPA analysis. Such

regulations require, among other things, that all reasonable and feasible alternatives to the

proposed action be considered; that the direct, indirect and cumulative effects of a proposed

action that may reasonably be anticipated be included in the EA or EIS; and that measures to

mitigate unavoidable adverse environmental impacts be developed and implemented. The CEQ

regulations further prohibit the "segmentation" of various components of a planned action into

smaller projects to avoid studying the cumulative impacts of the entire action or development.

(40 CFR §§ 1508.25, 1508.27(b)(7)) (Underlining supplied)

53.       The Defendants have violated the requirements of NEPA and the CEQ Regulations in the

ways and manner described herein, and the FONS! issued by the FHWA should be set aside and

voided.



                                The Department of Transportation Act

54.       The Department of Transportation Act of 1966 includes Section 4( f) requiring the FHWA

to make "special effort ... to preserve the natural beauty of the countryside and public park and

recreation lands, wildlife and waterfowl refuges, and historic sites." 49 U.S.C. § 303(a); see also

23 U.S.C. § 138(a). Section 4(f) allows approval of transportation programs or projects

                 requiring the use of publicly owned land of a public park, recreation area, or
                 wildlife and waterfowl refuge of national, State, or local significance, or land of
                 an historic site of national, State, or local significance ... only if -- (1) there is no
                 prudent and feasible alternative to using that land; and (2) the program or project
                 includes all possible planning to minimize harm ... resulting from the use.
                 49 U.S.C. § 303(c). (Underlining supplied)

55.       The word "use" in Section 4(f) is construed broadly and can be either actual use

(physical occupation of the land) or constructive use where a highway significantly and



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adversely affects park land even though the road or right-of-way does not physically encroach

upon the park. The close proximity of a highway project to park, recreational and wilderness

areas constitutes a ''use" of publicly owned recreation land for purposes of Department of

Transportation Act section 4(t). Conservation Soc. ofSouthern Vermont v. Secretary o/Transp.,

443 F. Supp. 1320 (D. Vt. 1978).

56.    Section 4(t) creates a presumption that the public parks, recreational and natural resource

areas protected by that section may not be used for or impacted by highways unless truly

compelling reasons indicate that no alternative to the highway location is possible. The

Defendants failed to apply that presumption in its EA and in determining that there would be no

significant impact resulting to the parks, recreational and natural resource areas by the 30

Corridor Project.



                                       The Clean Water Act

57.    Congress enacted the Clean Water Act to "restore and maintain the chemical, physical

and biological integrity of the Nation's waters." 33 U.S.C. § 1251(a). To accomplish this goal,

the CWA prohibits the discharge of any pollutant (including fill material) into navigable waters

unless authorized by a permit. 33 U.S.C. §§ 1311, 1344. The CWA and its implementing

regulations define "navigable waters" as "waters of the United States." 33 U.S.C. § 1362(7).

Waters of the United States include wetlands adjacent to waters of the United States. 33 C.F.R. §

328.3(b). "Pollutants" include dredged spoil, rock, and sand, among other materials. Id. §

1362(6).

58.    Under the Corps' 404 Guidelines, wetlands are identified as "special aquatic sites" that

"are generally recognized as significantly influencing or positively contributing to the general



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overall environmental health or vitality of the entire ecosystem of a region." 40 C.F.R. § 230.3(q-

l); see id.§ 230.41.

59.    The CWA authorizes the Secretary of the Army to issue section 404 permits, under

certain circumstances, "for the discharge of dredged or fill material into the navigable waters at

specified disposal sites." Id.§ 1344(a). The Secretary of the Army acts through the Chief of

Engineers of the Corps. Id.§ 1344(d); 33 C.F.R. § 323.6(a).

60.    CWA section 401, 33 U.S.C. § 1341, requires any applicant for a federal license or

permit, including a CWA § 404 permit, that will authorize activities which may result in

a discharge to waters of the United States to provide the federal licensing or permitting agency

(including the Corps) with a certification from the State in which the discharge originates or will

originate that any such discharge will comply with certain applicable provisions of the CWA.

These CWA provisions include requirements to ensure that discharges to waters (including

discharges of dredged or fill material) do not impede the water quality standards that, inter alia,

are designed to protect aquatic species. Defendants have failed to comply with these provisions

of the CWA and its implementing regulations as more particularly set forth herein.



                               The Corps of Engineers Regulations

61.    NEPA requires that each federal agency develop regulations designed to implement the

requirements ofNEPA in their activities (NEPA §103, 42 USC §4333), although the individual

agency regulations supplement rather than replace the CEQ regulations, which remain

applicable to all federal agency actions. (33 CFR §230.1)

62.    Pursuant to that requirement, the COE developed regulations contained at 33 CFR §§230

and 325. The COE regulations make clear that they are intended only to supplement the CEQ

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regulations contained at 40 C.F.R. Part 1500 through 1508, and that the COE regulations are

intended to be used only in conjunction with the CEQ regulations. Whenever the COE

regulations are unclear or not specific, the CEQ regulations apply. (33 C.F .R. §230.1)

63.    The EA proposes that up to approximately 20 acres of wetlands will be affected (i.e.,

filled or otherwise destroyed) by the proposed Project. Such action is controlled by 40 CFR

§230.IO(a), which states:

       [N]o discharge of dredged or fill material shall be permitted if there is a
       practicable alternative to the proposed discharge which would have less adverse
       impact on the aquatic ecosystem, so long as the alternative does not have other
       significant adverse environmental consequences.

64.    Furthermore, EPA Guidelines developed in conjunction with the U.S. Army Corps of

Engineers further provide that, where the project is not "water dependent" (i.e., must have access

or proximity to water or the special aquatic site to fulfill its basic purpose, such as a wharf or

harbor), a presumption exists that practicable alternatives are available that do not involve

special aquatic sites (i.e., wetlands), unless clearly demonstrated otherwise. 40 C.F.R.

§230.10(a)(3)

65.    The EPA Guidelines also provide that a presumption exists that where a discharge is

proposed for a special aquatic site (i.e., wetlands), all practicable alternatives to the proposed

discharge that do not involve a discharge into a special aquatic site have less adverse impact on

the aquatic ecosystem, unless clearly demonstrated otherwise. Id.

66.    The Defendants have failed to clearly demonstrate that practical alternatives to the filling

of the special aquatic sites noted in the EA do not exist.




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                                     Executive Order 12898
                                     Environmental Justice

67.    On February 11, 1994, President Bill Clinton issued Executive Order 12898 requiring

that each Federal agency, to the greatest extent practicable, shall make achieving environmental

justice part of its mission by identifying and addressing disproportionately high and adverse

human health or environmental effects of its programs, policies, and activities on minority

populations and low-income populations in the United States and its territories and possessions,

EO 12898, Sec. 1-101

68.    According to the FONSI issued by FHWA, 33% of the households in the study area are

considered to be low-income, and 59% of the population in the Project Study Area are minority

non-white and Hispanic. Twenty-two of the 62 census block groups in the Project Study Area

have median incomes below the poverty guideline.

69.    The EA fails to adequately assess the socio-economic impact of the proposed 30 Corridor

Project upon the minority non-white and Hispanic populations and communities who reside in or

have businesses in the vicinity of the 30 Corridor, and have thus failed to comply with the

requirements of E.O. 12898 as more fully described herein.



                                    Executive Order 11988
                                Floodplain Management (1977)

70.    Executive Order 11988 directs federal agencies to "provide leadership and take action to

reduce the risk of flood loss, to minimize the impacts of floods on human safety, health and

welfare, and to restore and preserve the natural and beneficial values served by floodplains."

71.    This EO was authorized to assist in furthering the National Environmental Policy Act

(NEPA), the National Flood Insurance Act of 1968 (amended), and the Flood Disaster Protection



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Act of 1973. Defendants have failed to comply with EO 11988 by failure to conduct a proper

hydraulic and hydrologic analysis of the effect of the proposed Project on flooding in North

Little Rock, Arkansas and in other parts of the 1-30 corridor.



                              BASIS AND CLAIMS FOR RELIEF

                                            COUNT 1.

                      The 30 Crossing Project Proposed for Construction
                Will Not Be The One Analyzed by the Environmental Assessment

72.    Plaintiffs adopt and ratify all of the preceding allegations of fact set forth above.

73.    ArDOT prepared and issued a draft EA for public comment on June 8, 2018, consisting

of approximately 3,800 pages. The draft EA proposed and examined only two (2) alternatives,

each with two (2) sub-alternatives relative to the configuration of the 1-30/Highway 10

Interchange. At the time of the issuance of the Draft EA by ArDOT in June, 2018, construction

of each of the two alternatives with each sub-alternative was estimated to cost approximately

$650 million.

74.    Plaintiffs herein and many other members of the public submitted timely comments based

upon the Draft EA. No Supplemental Draft EA nor a draft FONSI were issued by the Defendants

for public review and comment.

75.    During the period of time after issuance of the Draft EA and the issuance of the FONSI,

ArDOT awarded a contract to a consortium of contractors ("the design/construction team") to

review the proposed Project and provide a proposal for construction of the Project.

76.    After the closure of the public comment period on the draft EA, and prior to or

contemporaneously with the issuance of the FONS I, the design/construction team estimated the

cost of the Project as described in the EA to be approximately One Billion Dollars

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($1,000,000,000.00). After issuance of the FONS!, ArDOT announced that it did not have

sufficient funds available and budgeted with which to construct the Project as described in the

EA, and that it had requested its design/construction consultants to develop a plan for

construction of so much of the Project as could be done with the available funds.

77.     The EA, which was based on a project estimated to cost of approximately $535 million,

anticipated the lack of funding for the Project as described in the EA, and provides in relation to

such contingency:

       The Preferred Alternative is 7.3 miles in length with an estimated cost of
       between $615 and $700 million. The identified method of delivery of the
       project is design-build to a budget. The design-builder will work to maximize
       the amount of project scope that can be delivered for fixed budget of $535
       million. In the event that the Design-Build firm cannot provide the full project
       scope for the fixed budget, additional construction projects will be
       programmed and contracts will be let at a future date to complete the project
       scope.
       FONS!, p. 6. (Italics added)

78.     Further, Federal Highway Administration statutes and regulations require that, before

construction of alterations or changes in interstate highways shall commence, the funding for

such work shall be committed and budgeted; i.e., "financially constrained." See 23 U.S.C.

§ 134(j)((3)(d), which provides:

       (D) Requirement of anticipated full funding.--The program shall include a
       project, or an identified phase of a project, only if full funding can reasonably be
       anticipated to be available for the project or the identified phase within the time
       period contemplated for completion of the project or the identified phase.

79.     In addition, 23 U.S.C. § 135(g)(5)(E), relative to Statewide transportation improvement

planning, states:

       (E) Requirement of anticipated full funding.--The transportation improvement
       program shall include a project, or an identified phase of a project, only if full
       funding can reasonably be anticipated to be available for the project within the
       time period contemplated for completion of the project.



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80.    As of the filing of this Complaint, ArDOT has not developed and issued, nor has FHWA

approved, a final plan for the construction of an 1-30 Corridor Project that is within the financial

constraints of ArDOT.

81.    The development of an alternative plan for reconstruction and widening of the 1-30

Corridor with only approximately one-half to two-thirds of the funds that are necessary to

develop the proposed Project as originally designed will result in a significant change in the

scope, extent, design and construction of the Project, and in significant adverse consequences,

effects and impacts not foreseen or analyzed by the EA or the FONSI, and on which the public

has not been provided an opportunity to comment. Limiting construction on a portion or segment

of a project of the magnitude as the 30 Crossing Project could result in partially-altered,

partially-constructed segments of roadway, bridges, exit and entry ramps, shoulders, and travel

lanes that would create or magnify rather than improve traffic problems.

82.    The lack of ready and available funding renders the entire Environmental

Assessment unreliable because all the proclaimed benefits may be illusory; the deferred

components may not be completed before the project design year, if ever; and agency

decision-makers cannot make an informed decision if they do not know which components

of the Project may be deferred due to lack of funds.

83.    Further, 40 CFR §1502.9(c) (Draft, final, and supplemental statements) provides:

               (c) Agencies:

               (1)     Shall prepare supplements to either draft
                       or final environmental impact statements if:

                       (i) The agency makes substantial changes in
                       the proposed action that are relevant to environmental
                       concerns; or

                       (ii) There are significant new circumstances

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                      or information relevant to environmental concerns
                      and bearing on the proposed action or its
                      impacts.

84.    The provisions set forth above are equally applicable to draft, final and supplemental

environmental assessments.

85.    Any decision of ArDOT to construct the 30 Crossing Project in portions depending on the

availability of funding would constitute a "substantial change" in the proposed action from that

proposed in the EA, and would also constitute "significant new circumstances or information

relevant to environmental concerns." This "No-Commitment-To-Complete" feature of the EA

requires the performance of a separate EA or EIS to determine the environmental impact of that

portion of the Project that is certain to be performed with available funding, and on which other

agencies and the public should be given an opportunity to comment regarding the

appropriate prioritization of the separate components.

86.    Further, 23 CFR § §771.129 (Re-evaluations), requires that, before any amendments to an

action that has been previously approved by the FHWA may be implemented, the amendments

must first be approved by the FHWA to determine whether the environmental documentation

remains valid. That Section provides:

       The Administration must determine, prior to granting any new approval related to
       an action or amending any previously approved aspect of an action, including
       mitigation commitments, whether an approved environmental document remains
       valid as described in this section.

87.    Thus, if ArDOT proposes the design and construction of a 30 Corridor Project that is

modified or different from that proposed in the EA and FONS I approved by FHWA, then NEPA,

its implementing regulations, and FHWA regulations require that the EA be supplemented to

consider the alternatives and likely environmental impacts of the modified proposal.




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88.    The Court should issue an order prohibiting and enjoining the Defendants from letting

contracts for the construction of any of the 30 Corridor Project until such time as (i) the

Defendants have developed a definite design and plan for the Project that can be constructed

with funds that are available to ArDOT without reservation or restraint; (ii) the designed plan for

such construction has been analyzed by Defendants in an Environmental Impact Statement; (iii)

a draft EIS has been issued for public review and comment; (iv) such public comments have

been received and reviewed by the Defendants and a response summary prepared; and (v) a new

decision document issued by the Defendant, FHWA.



                                            COUNT 2.

                      Defendants Failed To Make a Final Draft of The EA
                             Available to the Public for Comment

89.    Plaintiffs ratify and affirm all of the preceding allegations of fact set forth above.

90.    40 CFR §1501.4(e)(2) (Whether to prepare an environmental impact statement) states:

       In determining whether to prepare an environmental impact statement the federal
       agency shall:


       (e)    Prepare a finding of no significant impact ( § 1508 .13 ), if the agency
       determines on the basis of the environmental assessment not to prepare a
       statement.

       (1) The agency shall make the finding of no significant impact available to the
       affected public as specified in § 1506.6.

       (2) In certain limited circumstances, which the agency may cover in its
       procedures under §1507.3, the agency shall make the finding ofno significant
       impact available for public review (including state and areawide clearinghouses)
       for 30 days before the agency makes its final determination whether to prepare an
       environmental impact statement and before the action may begin. The
       circumstances are:




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                       (i) The proposed action is, or is closely similar to, one
                       which normally requires the preparation of an
                       environmental impact statement under the procedures
                       adopted by the agency pursuant to § 1507 .3, or

                       (ii) The nature of the proposed action is one without
                       precedent.

                       (underlining supplied)

91.    The FHWA regulation on issuance of Findings ofNo Significant Impact is contained in

23 CFR §771.21 (Finding ofno significant impact). That section does not contain a provision for

the issuance of a FONS! for public review for 30 days before the agency makes it final

determination as recommended in 40 CFR §1501.4(e)(2), quoted above.

92.    In the absence of such provision in the regulations of the FHWA applicable to issuance of

FONS Is, the provisions of 40 CFR § 1501.4(e)(2) are applicable, requiring that the agency shall

make the FONS! available for public review ... for 30 days before the agency makes its final

determination where (i) the proposed action is, or is closely similar to, one which normally

requires the preparation of an environmental impact statement under the procedures adopted by

the agency pursuant to § 1507.3, or (ii) the nature of the proposed action is one without

precedent.

93.    FHWA regulation 23 CFR §771.115 (Classes of actions), which was adopted by the

FHWA pursuant to the directive contained in 40 CFR §1507.3, provides three typical "classes"

of actions that generally prescribe the level of documentation required in the NEPA process. The

first of those three classes are Class I, relating to actions that "normally" require preparation of

an EIS. With regard to that Class, the relevant portions of 23 CFR §771.115(a) read as follows:

       (a) EIS (Class/). Actions that significantly affect the environment require an EIS (40
           CFR 1508.27).

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           The following are examples of actions that normally require an EIS:

               (1) A new controlled access freeway.

               (2) A highway project of four or more lanes on a new location.



94.    The 30 Corridor Project meets the descriptions of subsections (1) and (2) of §771.115(a).

Although planned to be constructed largely (but not wholly) within existing right-of-way, the 30

Corridor Project is a complete reconstruction and expansion of 1-30, with new controlled

accesses and exists, and increased capacity by more than one-third. Over 11 acres of new right-

of-way, almost 20 acres of wetland fill, and extensive lateral expansion of the existing roadway

ofl-30 and 1-40 is required for the Project. The Project will almost double the size of the 1-30

roadway in many places. It is, without question, closely similar to the projects described in 23

CFR §771.115(a) that normally require the preparation of an environmental impact statement

under the procedures adopted by the FHWA. Therefore, under 40 CFR § 1501.4(e)(2), the

Defendant FHWA should have made the draft FONS! available for public comment.



                                           COUNT 3.

                     The Defendant's Responses to Public Comments
                  Contain New Information Not Included in the Draft EA
             And On Which The Public Was Not Given Opportunity to Comment

95.    The Defendants' Responses to the public comments contain information that was not

included in the draft EA upon which the public submitted comments, and on which the public

has not been given the opportunity to comment.

96.    For example, the Defendants' Responses to comments discloses for the first time that an

IMPLAN analysis was conducted (page 2386/7100) which showed the potential effects of the


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respective alternatives on jobs and income. The effects identified in that IMPLAN analysis

contradict the effect statements in the EA.

97.    Regarding the potential impacts of the Project on proposed development plans in Little

Rock and North Little Rock downtown area, the original EA states:

       Most of the proposed development plans are underway and are not dependent
       upon the construction of the proposed project, nor would they be limited
       should the proposed project not be built; however, there is potential for the
       proposed project to accelerate the rate of the development/redevelopment
       projects."

98.    However, the IMPLAN analysis results for the No-Action Alternative referred to in the

Defendants' Response to Comments indicate that not doing the project could cost the study area

1,800 jobs and will result in reduction oflabor income by $84.5 million." EA, page 2386/7100.

This is a significant inconsistency in the content of the draft EA and the Response to Comments.

99.    There is also an inconsistency between the possibility of lost jobs ("could cost the study

area 1,800 jobs") and the statement in the Response that there will be a definite loss in labor

income ("will result in reduction oflabor income by $84.5 million"). However, because the

IMPLAN analysis report was not included in the 3992-page-Draft EA it was impossible for the

reader to comment as to the validity of the imputed loss of "labor income" of some $47,000 per

lost job. This is but one example of supplemental information included in the Defendants'

Response to the public comments that was not included in the Draft EA, and on which the public

has been denied the opportunity to comment.

100.   The Court should find that the Defendants violated NEPA's requirements for public

participation in denying opportunity for public comment on the draft FONSI and the Defendants'

response to public comments, set aside and void the FONSI, and remand the FONSI to the

Defendants for further proceedings in accordance with NEPA and applicable regulations.



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                                             COUNT 4.

                          Defendants' Notice of Availability of the EA
                      For Public Comment Was Misleading And Defective

101.    In its notice of issuance of the EA for public comment, the ArDOT stated that it invited

public comments only on the preferred alternative - not other alternatives. ArDOT's notice to

the public of the availability of the draft EA for comment read as follows:

               The proposed preferred alternative is the 6-lane with Collector/Distributor (CID)
               Lanes with Split Diamond Interchange (SDI) at the Highway 10 Interchange.
               Please provide comments on the preferred alternative.
               (Emphasis added)

102.    As a result of this wrongful instruction to the public to limit their comments to the

preferred alternative, members of the public were misled about the acceptable scope of their

comments, and did not submit comments that included other alternatives or impacts or other

subjects that might have otherwise been submitted.

103.    The Court should set aside and void the FONS! and remand this matter to the Defendants

for further proceedings in accordance with NEPA and applicable regulations.



                                             COUNTS.

               NEPA Requires Preparation of an EIS For The Proposed Project

104.    Plaintiffs ratify and affirm all of the preceding allegations of fact set forth above.

l 05.   A federal agency must prepare an EIS for all "proposals for legislation and other major

Federal actions significantly affecting the quality of the human environment." 42 U.S.C. §

4332(2)(C). Based upon the CEQ Regulations, the 30 Crossing Project is a "major" Federal




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action "significantly affecting the quality of the human environment."

106.   40 CFR § 1508.18 defines a "Major Federal Action" as follows:

       "Major federal action" includes actions with effects that may be major and which
       are potentially subject to federal control and responsibility. Major reinforces but
       does not have a meaning independent of significantly(§ 1508.27).

107.   40 C.F.R. § 1508.27 further states that the term "[s]ignificantly [in "significantly

affecting the quality of the human environment"] requires considerations of both context and

intensity:"

        (a) Context. This means that the significance of an action must be analyzed in
       several contexts such as society as a whole (human, national), the affected region,
       the affected interests, and the locality. Significance varies with the setting of the
       proposed action. For instance, in the case of a site-specific action, significance
       would usually depend upon the effects in the locale rather than in the world as a
       whole. Both short and long-term effects are relevant. (Italics added)

       (b) Intensity. This refers to the severity of impact. Responsible officials must bear
       in mind that more than one agency may make decisions about partial aspects of a
       major action. The following should be considered in evaluating intensity:

              ( 1) Impacts that may be both beneficial and adverse. A significant effect
              may exist even if the federal agency believes that on balance the
              effect will be beneficial.

              (2) The degree to which the proposed action affects public health or
              safety.

              (3) Unique characteristics of the geographic area such as proximity to
              historic or cultural resources, park lands, prime farmlands, wetlands,
              wild and scenic rivers, or ecologically critical areas.

              (4) The degree to which the effects on the quality of the human
              environment are likely to be highly controversial.

              (5) The degree to which the possible effects on the human environment are
              highly uncertain or involve unique or unknown risks.

              (6) The degree to which the action may establish a precedent for future
              actions with significant effects or represents a decision in principle about a
              future consideration.



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               (7) Whether the action is related to other actions with individually
               insignificant but cumulatively significant impacts. Significance exists if it
               is reasonable to anticipate a cumulatively significant impact on the
               environment. Significance cannot be avoided by terming an action
               temporary or by breaking it down into small component parts.

               (8) The degree to which the action may adversely affect districts, sites,
               highways, structures, or objects listed in or eligible for listing in the
               National Register of Historic Places or may cause loss or destruction of
               significant scientific, cultural, or historical resources.

               (9) The degree to which the action may adversely affect an endangered or
               threatened species or its habitat that has been determined to be critical
               under the Endangered Species Act of 1973.

               (10) Whether the action threatens a violation of federal, state, or local law
               or requirements imposed for the protection of the environment.
               (Italics added)

108.   If any one of the above-listed factors bearing on the "intensity'' of the action are present,

an Environmental Impact Statement should be prepared. National Parks & Conservation Ass'n v.

Babbitt, 241 F.3d 72251 (9 th Cir. 2001); Sierra Club v. United States Forest Serv., 843 F.2d

1190, 1193 (9th Cir.1988); Oregon Wild v. U.S., 107 F. Supp. 3d 1102, 1111, (D.Or. 2015).

109.   The proposed 30 Crossing Project clearly contains "intensity", based on the following

analysis of factors listed in 40 C.F.R. § 1508.27:

               (a)     Impacts that may be both beneficial and adverse. A significant
               effect may exist even if the federal agency believes that on balance the
               effect will be beneficial.

               The weight and significance of the impacts that this Project will have in

               the Little Rock-North Little Rock metropolitan region depends on who is

               making the assessment and their particular interests that are being served

               or trampled. There can be no dispute that this Project will have both

               beneficial and adverse impacts. However, in reading the EA, one is left

               with the definite impression that it contains a significant amount of

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      chamber-of-commerce "boosterism" of the benefits, rather than a rigorous

      exploration and objective analysis of reasonable and feasible alternatives

      and impacts, such as the environmental and socio-economic impacts on

      minority and low-income populations. Without that objective analysis, it is

      impossible for an agency to determine that, "on balance", the effects of the

      Project will be beneficial or harmful, and if so, to what degree. An EIS

      would provide a "hard look" into those and other issues that are present in

      this Project and that is absent from the EA.

(b)   The degree to which the proposed action affects public health or safety.

      One of the major justifications by the Defendants for the Project is their

      oft-repeated contention that public safety will be improved by

      implementing the preferred alternative. The EA is replete with alleged

      facts regarding car crashes, personal injuries and property damage that

      were allegedly attributable to the current configuration of the 30 Corridor,

      and allegations that the proposed preferred alternative would alleviate

      those conditions. Public safety is a universal goal, but there are serious

      issues and disputes between the proponents and opponents of the Project

      about whether the proposed action is the best way to protect public health

      or safety, and if so, to what degree. An EIS would be greater clarity to this

      issue.




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(c) Unique characteristics of the geographic area such as proximity to historic
   or cultural resources, park lands, prime farm lands, wetlands, or ecologically
   critical areas.

       The geographic area included in the 30 Corridor Project includes a

       complex diversity of characteristics, including urban residential,

       commercial and industrial properties and park lands and ecologically

       critical areas, including wetlands. Significantly, the residential

       neighborhoods in the 30 Corridor contain largely minority and/or low-

       income populations. Thirty-three percent of the households are considered

       low-income by Federal standards, and 59% of the total project study area

       are minority population. (FONSI, p. 12). There will be displacements of

       commercial businesses and residential buildings (most of which are in

       minority areas), and fill of approximately 20 acres of wetlands and

       ecologically sensitive areas in North Little Rock that could result in

       increased flooding. In addition, the Project is in close proximity to or

       directly affects seven historic districts (some of which are represented by

       Plaintiffs) and 136 properties that are listed on or eligible for the National

       Registry of Historic Places. (FONSI, pp. 12-13).

(d) The degree to which the effects on the quality of the human environment
    are likely to be highly controversial.

       "Controversial" in the context of this regulation means that substantial

       public controversy exists about whether "substantial questions are raised

       as to whether a project may cause significant degradation of some human

       environmental factor, or the size, nature, or effect of the major Federal

       action rather than the mere existence of opposition to a use. Native

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             Ecosystems Council v. United States Forest Serv., 428 F.3d 1233, 1240

             (9th Cir. 2005); National Parks & Conservation Ass'n v. Babbitt, 241 F.3d

             72251 (9 th Cir. 2001). There is a fine line between controversy about the

             purpose, size, nature, alternatives and effects of the proposed action, and

             mere "opposition to a use." In this case, there is a bona fide dispute

             between a substantial body of the public in central Arkansas and the

             Defendants about the purpose, necessity, size, design, nature, alternatives

             and effect of the 30 Corridor project as proposed; the lack of alternatives

             studied; and the immediate and long-term impacts of the Project on

             downtown Little Rock and North Little Rock, population growth, racial

             relations, community cohesion and socio-economic disparity (particularly

             on low-income and minority groups), among other issues. The Plaintiffs'

             opposition is not merely a knee-jerk reaction to change, but scientifically-

             supported opposition to ArDOT's knee-jerk solution to congestion by

             simply building wider highways. Plaintiffs and their supporters sincerely

             propose viable alternatives and solutions that Defendants have given slight

             consideration. The substantive public comments received by the

             Defendants on the proposed EA, the large majority of which opposed the

             Project2, illustrate that controversy. It is also noteworthy that the former

             Metroplan Advisory Board, comprised of approximately 40 citizens of the

             5-county Central Arkansas Metro area appointed by members of



2     351 comments were received by ArDOT on the draft EA. A 261 page Response to those
comments was prepared by ArDOT. See Appendix E to the EA. ''Numerous commenters were
opposed to the project." (FONS!, p. 11)
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       Metroplan to advise Metroplan on this project, overwhelmingly opposed

       the Project and formally recommended that the 30 Corridor Project not be

       supported by Metroplan.

(e) The degree to which the possible effects on the human environment are
    highly uncertain or involve unique or unknown risks.

       ArDOT acknowledges in the EA that it does not have sufficient funds with

       which to construct the 30 Corridor Project as proposed by the EA. It did

      not have those funds available and committed as of the issuance of the EA.

      That, alone, renders the possible effects of the Project on the human

       environment to be highly uncertain and risky. In addition, ArDOT

       acknowledges that this is the largest and most ambitious project that it has

      ever undertaken; the first highway project in the state to utilize the

      "design-build to a budget" method; and the first project to use the

      Planning and Environmental Linkage (PEL) study process to determine

      possible alternatives that can be carried forward into the NEPA study for

      the Project. Also, the EA acknowledges that there are many indirect and

      cumulative impacts of the Project that are not addressed (e.g., traffic

      "bottlenecks" caused by the Project in areas outside the 30 Corridor that

      will require further construction). With so many "firsts," and the other

      contingencies and uncertainties that ArDOT has raised in how and when

      the Project is to be constructed and the adverse impacts it will cause, it

      seems foolhardy to risk the waste of over $1 Billion on unresolved

      problems that are very foreseeable and that could be partially or




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       completely addressed through development of an Environmental Impact

       Statement.

(t) The degree to which the action may establish a precedent for future actions
    with significant effects.

       The Defendant ArDOT has, in recent years and in recent projects,

       demonstrated a willingness and desire to avoid the time and expense to

       conduct meaningful environmental assessments prior to construction of its

       major projects. For example, ArDOT used a "categorical exclusion" to

       avoid conducting an environmental assessment or EIS before construction

       of the Big Rock Interchange at the intersection ofl-430 and 1-630. It also

       used a categorical exclusion in lieu of a more extensive study to

       commence the major widening of 1-630. The 30 Corridor Project is the

       largest project ever undertaken by ArDOT and the largest public works

       project ever undertaken in Arkansas. Failure to conduct an EIS on a

       project of the scope, size and cost of the 30 Corridor Project would set a

       precedent for not performing an EIS on any future project.

(g) Whether the action is related to other actions with individually insignificant
    but cumulatively significant impacts

       The 30 Corridor Project is inextricably connected with the current

       expansion of a portion of 1-630 between the Baptist Hospital Exit/Entrance

       and University Avenue, proposed future expansions of 1-630 to 1-30, and

       access to Highway IO/Cantrell Road from 1-30. It is also related to future

       expansions ofl-30 south of the proposed "southern terminus" of the 30

       Corridor Project, and other future projects on 1-40 and Highway 67/167.



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               Any work of major significance (i.e., widening ofroadways, modification

               of interchanges, access ramps, etc.) on any of those roads has direct,

               indirect and cumulative impacts on the others. These impacts will be

               discussed in greater detail herein.

110.   Evaluating the Project against the criteria provided by 40 C.P.R. § 1508.27, it is

clear that the characteristics of the Project meet most - not merely one or two - of the

criteria for preparation of an EIS, and the Court should order an EIS to be prepared.

111.   In addition, the sheer size, scope and cost of the 30 Crossing Project clearly call for the

Defendants to conduct an environmental impact statement on the Project. This Project qualifies

as a "project of regional or national significance" pursuant to 23 CPR §505, due to its costing in

excess of$500,000,000. The Project will cover approximately seven (7) miles of an

approximately 200 foot wide swarth of interstate highway through downtown Little Rock and

North Little Rock; will displace at least six (6) families and five (5) businesses; will heavily

impact countless other families and businesses who live or work in the 30 Corridor or who

commute daily on 1-30, 1-630 and Highway 10 and will be highly affected by construction noise

and dust, increased traffic, and changes in location of access/egress ramps; will further isolate

low-income and minority neighborhoods from the vibrant development in the area west of the 30

Corridor (e.g., River Market, South of Main, etc.) and north ofl-630; and, not least, cost over

One Billion Dollars -the largest highway project in the State of Arkansas by far. If this Project

does not require an EIS, then no project will.

112.   The CEQ Regulations do not specify the length of an EA. However, 42 CPR§ 1508.9

defines an "Environmental Assessment" as (a) "a concise public document for which a federal

agency is responsible that serves to: (1) briefly provide sufficient evidence and analysis for



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determining whether to prepare an environmental impact statement or a findings of no significant

impact. ... (b) shall include brief discussions of the need for the proposal of alternatives as

required by section 102(2)(E) of the environmental impacts of the proposed action and

alternatives .... " (Underlining supplied).

113.   Furthermore, in its guidance document entitled "40 Questions and Answers About The

NEPA Regulations," 46 Fed. Reg. 18026 (March 23, 1981), as amended, CEQ opined:

       While the regulations do not contain pages limits for EA's [sic], the Council has
       generally advised agencies to keep the length ofEAs to not more than
       approximately 10-15 pages. Some agencies expressly provide page guidelines
       (e.g., 10-15 pages in the case of the Army Corps). To avoid undue length, the EA
       may incorporate by reference background data to support its concise discussions
       of the proposal and relevant issues.

       Agencies should avoid preparing lengthy EAs except in unusual cases, where a
       proposal is so complex that a concise document cannot meet the goals of Section
       1508.9, and where it is extremely difficult to determine whether the proposal
       could have significant environmental effects. In most cases, however, a lengthy
       EA indicates that an EIS is needed.

       ("40 Questions": Question and Answer 36 (a) and (b))

114.   Notwithstanding the emphasis on brevity of an EA in the CEQ documents cited above,

the EA that was submitted to the public for comment in this case was almost 4,000 pages in

length. The EA that was approved by the FHWA (which included the public comments and

agency responses) contained 7,100 pages, including 18 appendices. (FONSI, p. 4) As noted in

the above quotation from 40 Questions, the sheer volume of the EA strongly indicates that an EIS

is needed.

115.   The Court should determine that, under the NEPA Regulations cited above and the

circumstances of this case, an Environmental Impact Statement is required, and remand the case

to the Defendants for preparation of an EIS in accordance with the requirements of NEPA.




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                                             COUNT 6.

            The Purposes and Needs Section of the Draft EA Does Not Adequately
                  Address the Conditions To Be Addressed By The Project
          And By Which The Alternatives And Impacts Analysis Are To Be Measured

116.   Plaintiffs ratify and affirm all of the preceding allegations of fact set forth above.

117.   40 CFR §1502.13, relative to the statement of the purpose and need of the proposed

project, provides that "The statement shall briefly specify the underlying purpose and need to

which the agency is responding in proposing the alternatives, including the proposed action."

118.   The "Purpose and Need" section of the EA covers the first 25 pages in the EA. It consists

largely of general background information about the Little Rock-North Little Rock area, and is

very broad, vague and imprecise. It is only at page 22 of the EA that a discussion of the purposes

of the Project begins. There, it is stated that the purposes are primarily (i) to improve the

condition of 1-30 by "modernizing" infrastructure; (ii) improve "navigational safety" on the

Arkansas River, and to (iii) increase speeds and reduce traffic congestion to and from downtown

Little Rock-North Little Rock. These "purposes and needs" are overly broad and uninformative,

and do not "specify the underlying purpose and need to which the agency is responding" as

required by40 CFR §1502.13.

119.   The "purposes and needs" of the Project is important in that they influence the remainder

of the scope of the EA. For example, the consideration of alternatives is determined based, in

part, upon their ability to meet those purposes and needs. The terminology used in the Purposes

and Needs Section of the EA is overly vague and does not state with sufficient clarity the precise

conditions that are to be addressed by the proposed Project and by which the alternatives and

impacts analysis are to be measured. To the extent that it is clear, it is designed to be biased in




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favor of the Proposed Alternative, rather than to encourage a broad examination of alternatives

and options for resolving traffic congestion and safety.

120.   The "Purposes and Needs" of the Project are based upon a number of assumptions that

are not justified or appropriate. Among those assumptions are:

       (i)     that the purpose and need of the Project should be to increase speeds and

               reduce traffic congestion to and from downtown Little Rock-North Little

               Rock, rather than to decrease traffic through downtown Little Rock-North

               Little Rock on I-30 by development of alternative routes of access to those

               downtown areas and development of alternative routes around the

               metropolitan area.

       (ii)    for the next twenty (20) years, people will commute on a daily basis from

               areas in the metropolitan area (Pulaski, Saline, Faulkner, and Lonoke

               Counties) to downtown Little Rock-North Little Rock, thereby causing

               increases in traffic congestion on I-30;

       (iii)   those people will, and should, make that commute largely in private

               automobiles with only one occupant.

121.   To support those assumptions, the EA states that the four-county Central Arkansas

region has grown by 5.5% since the 2010 census. However, of those counties, each has grown

faster during that period than Pulaski County. The EA assumes that rate of growth will continue,

mostly in the counties other than Pulaski, and that drivers will continue to commute to

downtown Little Rock-North Little Rock from those surrounding counties.




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122.   Those assumptions dictate the findings of the EA, resulting in a self-fulling

prophesy of continued congestion regardless of the number oflanes that are added to 1-30. The

assumptions are predictions without basis or consideration of other factors that could change the

assumptions dramatically.

123.   No consideration was given in the Environmental Assessment to the premise that the

purpose of the 30 Crossing Project should be to decrease traffic through downtown Little Rock-

North Little Rock on 1-30 by development of alternative routes of access to those downtown

areas and development of alternative routes around the metropolitan area. The development of

alternative routes by which drivers or truckers could gain access to and from downtown Little

Rock-North Little Rock, or, if only passing through the area, could entirely by-pass the

downtown area would help to relieve congestion on 1-30 and possibly eliminate the necessity of

a complete and total reconstruction of the 30 Corridor.

124.   Further, the "purposes and needs" section of the EA fails to consider the experiences of

other metropolitan areas showing that growth of suburbs frequently leads to the development of

professional, commercial and industrial complexes in the suburban areas, resulting in people

working in the communities where they live, thereby reducing the necessity for travel from the

suburbs to the downtown metropolitan area. Instead, Defendants have presumed in the EA that

the main location for employment growth in the foreseeable future will be in downtown Little

Rock-North Little Rock even though the studies and statistics relied upon by Defendants in the

EA show that the major growth areas are in Saline, Faulkner, and Lonoke Counties.

125.   The EA is defective in failing to provide a purpose and need for the EA that

(i) allows for consideration of the purpose of the 30 Crossing Project being to decrease traffic

through downtown Little Rock-North Little Rock on 1-30 by development of alternative routes



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of access to those downtown areas and development of alternative routes around the

metropolitan area, and (ii) provides an assumption that traffic in the 30 Corridor will not increase

over the next 20 years but may decrease due to changes in locations in employment and

residential patterns that are currently occurring in the Pulaski, Saline, Faulkner, and Lonoke

County area.


                                            COUNT 7.

   THE ENVIRONMENTAL ASSESSMENT "PIGGY-BACKS" ONTO DOCUMENTS
           THAT HAVE NOT BEEN SUBJECTED TO NEPA REVIEW
        AND ARE NOT PART OF THE ENVIRONMENTAL ASSESSMENT

126.   Plaintiffs ratify and affirm all of the preceding allegations of fact set forth above.

127.   The EA frequently refers to documents that were created as a result of a process

known as the "PEL Process" ["PEL" is an acronym for "Planning and Environmental Linkages"]

that involved a series of approximately 15 reports prepared by Defendant ArDOT and its

contractor prior to the development of the EA that purported to identify "the purpose and need

for improvements to 1-30 and 1-40, and evaluated possible viable alternatives to carry forward

into this NEPA study (the EA)." See EA, Chapter 1, page 1, Purpose & Need Section.

128.   "Environmental documents" are defined in 40 CFR §1508.10 as environmental

assessments, environmental impact statements, finding of no significant impacts and notice of

intent. The documents included in the PEL Study were not NEPA-documents. In an Application

for a Tiger VII 2015 Grant to the FHWA, ArDOT refers to the PEL Study process, and

acknowledges that the PEL process is separate from the NEPA environmental assessment

process by stating:

       It will be the first project in the state to utilize the design-build to a budget
       method, and is the first to incorporate the Planning and Environmental Linkage
       (PEL) study process into the overall development, in order to determine possible


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       viable alternatives for a long-range solution, and recommended alternatives that
       can be carried forward seamlessly into the National Environmental Policy Act
       (NEPA) study for this Project.
       (1-30 Corridor Project: Tiger VII 2015 Grant Application, Section A, p. 3) (Italics
       added)

129.   Notwithstanding that the PEL documents were not documents that were subject to NEPA

scrutiny, the Defendants attempted to include or incorporate them into the EA by means of

reference to various Appendices. For example, in the EA, Chapter 2 (Alternative Development),

page 25, the following text appears:

       2.2     What Alternatives Were Evaluated in this EA?

       Detailed information on the development of project alternatives can be found in
       the Alternatives Technical Report (Appendix C). The alternatives development
       process began in 2014 with the PEL Study conducted by ArDOT. The PEL Study
       involved evaluation of a wide range of potential solutions to the congestion and
       safety issues along 1-30 and 1-40. Among those were bypass routes to the west of
       1-30 along Pike Avenue and Chester Street. It was determined that these
       alternatives would not divert enough traffic from 1-30 to resolve the congestion
       and safety issues and would have extensive impacts to residences and buildings
       along those routes . .... (Italics added. Bold appears in original)

130.   This is but one example, among others, of alternatives and other issues that were

considered and rejected or otherwise prejudged and determined by Defendants in the PEL

Process but not included in the draft EA that was issued for public review and comment.

Consequently, the public reviewing the EA was deprived of an opportunity to consider and

comment upon those alternatives and other issues decided by ArDOT during the PEL Studies.

Yet, by tiering upon the PEL Study, the EA represents to the public that such alternatives have

been considered, rejected, and further consideration of them foreclosed.

131.   An agency cannot piggy-back an environmental assessment or other form of

impact statement on documents that have not previously been subjected to NEPA review.

Northern Plains Resource Council, Inc. v. Surface Transp. Bd. 668 F.3d 1067 (9 th Cir. 2011);

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Kern v. U.S. Bureau ofLand Management, 284 F.3d 1062 (9 th Cir., 2002) (tiering to a document

that has not itself been subject to NEPA review is not permitted, for it circumvents the purpose

of NEPA); Oregon Natural Res. Council v. U.S. Bureau ofLand Mgmt., 470 F.3d 818,823 (9th

Cir.2006) (citing Klamath-Siskiyou Wild/ands Ctr. v. Bureau ofLand Mgt., 387 F.3d 989,998

(9th Cir.2004); Idaho Conservation League v. U.S. Forest Service, D. Idaho. August 29, 2012

Not Reported in F.Supp.2d., 2012 WL 3758161.

132.   In addition, the Council on Environmental Quality addresses this issue in its 40

Questions, where CEQ explains:

       21.    Combining Environmental and Planning Documents. Where an EIS or
       an EA is combined with another project planning document (sometimes called
       "piggybacking"), to what degree may the EIS or EA refer to and rely upon
       information in the project document to satisfy NEP A's requirements?

              A.      Section 1502.25 of the regulations requires that draft EISs be prepared
              concurrently and integrated with environmental analyses and related surveys and
              studies required by other federal statutes. In addition, Section 1506.4 allows any
              environmental document prepared in compliance with NEPA to be combined with
              any other agency document to reduce duplication and paperwork. However, these
              provisions were not intended to authorize the preparation of a short summary or
              outline EIS, attached to a detailed project report or land use plan containing the
              required environmental impact data. In such circumstances, the reader would
              have to refer constantly to the detailed report to understand the environmental
              impacts and alternatives which should have been found in the EIS itself.

                      The EIS must stand on its own as an analytical document which fully
              informs decisionmakers and the public of the environmental effects of the
              proposal and those of the reasonable alternatives. Section 1502.1. But, as long as
              the EIS is clearly identified and is self-supporting, it can be physically included in
              or attached to the project report or land use plan, and may use attached report
              material as technical backup. (Emphasis added)
              (40 Questions, Question/Answer 21)

133.   The tiering of the EA on the documents resulting from the PEL Studies is improper in

that such documents were not subject to NEPA public review and comment, but yet are treated in

the EA as documents upon which official decisions have been made. As such, they foreclose the



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opportunity of the public to comment during the NEPA process upon the subject matter of those

documents and decisions contained therein.

134.   Further, the Defendants violated the guidance provided in Question/Answer 21 of the 40

Questions guidance quoted above by issuing a draft EA that contained only a short summary or

outline of the alternatives analysis, impact analysis and other provisions of the EA, and, in all

parts of the EA, referred the reader to the Appendices (of which there were 18) for the more

detailed analysis of the subjects. The result of this is that the reader of the EA must refer

constantly to the detailed Appendices to understand the environmental impacts and alternatives

which should have been found in the EIS itself - a problem that the CEQ 40 Questions guidance

was devised to avoid.

135.   The FONSI and the EA upon which the FONSI is based should be declared void,

and this matter remanded to the Defendants for further proceedings in accordance with the

requirements of NEPA and its implementing regulations.



                                             COUNTS.

                     THE ALTERNATIVES ANALYSIS IS INADEQUATE.

136.   Plaintiffs ratify and affirm all of the preceding allegations of fact set forth above.

137.   NEPA §102 [42 USC §4332) requires that all agencies of the Federal Government

shall include in every recommendation for or report on major Federal actions significantly

affecting the quality of the human environment, a detailed statement by the responsible official

on, among other issues, alternatives to the proposed action, including the no-action option.




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138.   That provision in NEPA is implemented by 40 CFR § 1502.14, relative to the

assessment of alternatives. The Alternatives Analysis requirement is referred to therein as "the

heart" of an EA or EIS. 40 CFR §1502.14 provides that the environmental impacts of the

proposal and the alternatives to the preferred alternative should be presented in comparative

form, sharply defining the issues and providing a clear basis for choice among options by the

decisionmaker and the public.

139.   Among other things, the agency is to:

       (a) Rigorously explore and objectively evaluate all reasonable alternatives, and
           for alternatives which were eliminated from detailed study, briefly discuss the
           reasons for their having been eliminated; (emphasis added)

       (b) Devote substantial treatment to each alternative considered in detail
           including the proposed action so that reviewers may evaluate their
           comparative merits; (emphasis added)

       (c) Include reasonable alternatives not within the jurisdiction of the lead agency;
           and

       (d) Include the alternative of no action.


                  Only One Alternative to the Preferred Plan Was Considered

140.   The EA essentially considers only ArDOT's preferred plan and one alternative, each with

the same two sub-alternatives relative to the configuration of an interchange (1-30/Highway 10-

Cantrell Road) and collection/distribution lanes. 3 In an effort to increase the number of

alternatives, the two alternatives with their sub-alternatives were divided into four alternatives by

ArDOT, and are referred to as:




3       At the conclusion of the PEL Process, ArDOT presented only one alternative to the
Defendant FHWA, which was ArDOT's then- and currently-preferred Alternative l(B).
Recognizing that an EA with only one alternative would not pass judicial muster, FHWA
insisted that ArDOT consider other alternatives. ArDOT then proposed Alternative 2.
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           Alternative IA: 8-Lane General Purpose with Single Point Urban Interchange
           (SPUI) at Hy. IO;

           Alternative 1B: 8-Lane General Purpose with SPUI at Hy. 10;

           Alternative 2A: 6-lane with CID with Split Diamond Interchange (SDI) at Hy. 10;
           and

           Alternative 2A: 6-lane with CID with SDI at Hy. 10.

141.       Comments were submitted by members of the public proposing a number of other

reasonable and feasible alternatives that would lessen the volume of traffic on 1-30 by creation of

new routes to downtown Little Rock-North Little Rock, diversion of traffic onto existing streets

and roads other than 1-30, and the greater use of public transit. Those comments were given only

passing reference in the EA, and the Defendants' response to such comments were usually that

they had been considered during the PEL process and rejected. In addition, the No-Action

alternative, which NEPA requires to be "rigorously explored and objectively evaluated," was

summarily dismissed as unthinkable.


                          The Alternative of "Reduced Scale" Modifications
                         To the 30 Corridor Was Not Adequately Considered

142.   The EA is based upon the assumption that, because the 1-30 Bridge over the

Arkansas River must be replaced, the entire 30 Corridor (over 7 miles of roadway) must be

widened to 8- to 10-lanes, with entrance and exit ramps relocated and four major interchanges

reconstructed. It did not propose and consider an alternative for public comment that would

include replacement of the bridge, but limit the lanes to the present six-lane configuration (with

resurfacing and widening). Numerous public comments proposed that alternative, or a version

thereof.




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                             Alternative Routes Were Not Considered

143.   The EA is based upon a number of assumptions not expressly stated in the EA.

One assumption is the premise that the only acceptable route for traffic to and from or through

central Little Rock is upon 1-30, a premise that excludes other alternatives for achieving the goals

of reducing drive time, increasing safety, etc. Alternatives that would involve the expansion and

improvement of existing state highways or streets in Little Rock and North Little Rock as major

arteries into the downtown areas were rejected without serious consideration.

144.   A number of comments were submitted by members of the public- some of whom are

experienced in the design, construction and operation of highway and other public transportation

systems - that proposed the development of alternative routes into and through Little Rock and

North Little Rock for automobile and truck traffic from 1-30, 1-40, 1-630, and other major traffic

arteries. Among such proposals were bypass routes to the west ofl-30 along Pike Avenue and

Chester Street, and other routes to the east ofl-30 that would provide alternate routes into North

Little Rock from 1-40, known as "the Boulevard plan," the "Pike Avenue Extension Alternative,"

and the "Chester Street Extension Alternative."

145.   40 CFR §1502.14 (a) requires that the agency "rigorously explore and objectively

evaluate all reasonable alternatives, and for alternatives which were eliminated from detailed

study, briefly discuss the reasons for their having been eliminated. In violation of that regulation,

ARDOT summarily dismissed with little to no consideration alternatives proposed by third

parties. ARDOT cryptically explained in the EA that it dismissed these alternatives because of

the costs and environmental impacts of the potential bypass routes, and the fact that they

would not provide an "efficient connection" between 1-630 and 1- 40. (page 9 of the

Alternative Analysis Technical Report, indicated epage 708/3992) With ArDOT's preferred



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alternative costing approximately $1 Billion dollars and having numerous environmental

impacts, that objection rings hollow.

146.   The Defendants failed to "rigorously explore and objectively evaluate" the reasonable

and feasible alternatives that were proposed by the public or their advisors and consultants. The

Defendants failed to discuss in any meaningful manner the reasons for no alternatives being

seriously considered and analyzed other than the Preferred Alternative proposed by ArDOT and

the 8-Lane Alternative that FHWA required ArDOT to consider.


                    Use of HOV/Public Transit Lanes Were Not Considered

147.   Alternatives such as the creation and use of high-occupancy lanes or lanes for use

of automobiles, buses and other public transit vehicles during specific times of the day on the

existing 1-30, 1-40, 1-630 and other major highways were not given serious consideration.

Instead, the EA states that ArDOT considered those options in the PEL Study, but rejected them

for reasons that are perfunctorily stated in the EA. No opportunity was provided by the

alternatives contained in the Environmental Assessment for public comment on any proposal for

HOV or public transit lanes on 1-30 or other highways feeding into 1-30.



                           The EA Completely Ignores Public Transit

148.   The Project does nothing for the considerable number of people in Little Rock

and the surrounding area who have no means of dependable and safe privately-owned

transportation. According to facts developed by Imagine Central Arkansas, over 25% of the

households who live south of the River Market District in Little Rock, including those south of1-

630, do not own automobiles. This is a startling figure. Many of those households contain elderly

or low-income persons who must depend on public transit to commute to and from work, for

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medical appointments, and for their shopping needs. Persons with those transportation needs are

not limited to the geographic area mentioned above, but exist throughout Pulaski County and in

surrounding areas.

149.   23 U.S.C. § 134, relative to Metropolitan Transportation Planning, which applied to the

development of the EA prepared by the Defendants, provides:

               (c) General requirements.-

                      (1) Development oflong-range plans and TIPs.--To accomplish the
                      objectives in subsection (a), metropolitan planning organizations
                      designated under subsection (d), in cooperation with the State and
                      public transportation operators, shall develop long-range
                      transportation plans and transportation improvement programs
                      through a performance-driven, outcome-based approach to
                      planning for metropolitan areas of the State.

                      (2) Contents.--The plans and TIPs for each metropolitan area shall
                      provide for the development and integrated management and
                      operation of transportation systems and facilities (including
                      accessible pedestrian walkways, bicycle transportation facilities,
                      and intermodal facilities that support intercity transportation,
                      including intercity buses and intercity bus facilities and commuter
                      vanpool providers) that will function as an intermodal
                      transportation system for the metropolitan planning area and as
                      an integral part of an intermodal transportation system for the
                      State and the United States.

                      (3) Process of development.--The process for developing the plans
                      and TIPs shall provide for consideration ofall modes of
                      transportation and shall be continuing, cooperative, and
                      comprehensive to the degree appropriate, based on the complexity
                      of the transportation problems to be addressed.
                      (Emphasis added)

150.   Notwithstanding the directives in NEPA and in 23 U.S.C. §134(c), the EA does not

contain any alternatives for the use or expansion of public transit or discuss in any meaningful

way any plan or program for meeting the needs of this considerable portion of the population, or

for meeting the stated needs and purposes of the EA. Instead, ArDOT states in the EA that public



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transit is not within the statutory responsibilities of the Department of Transportation, but is

instead the responsibility of Rock Region Metro, and for that reason ArDOT did not analyze

alternatives that included public transit.

151.   However, NEPA requires that reasonable alternatives not within the jurisdiction

of the lead agency be considered in the alternatives presented in the EA. 40 CFR § 1502.14(c).

By failing to consider alternatives that include public transit, Defendants violate the requirement

of §1502.14(c).

152.   In addition, ignoring public transit is clearly against the trend in most cities brought about

by increasing populations, urban sprawl and a growing segment of people who do not own

automobiles. Most major cities rely heavily upon clean, safe and efficient public transit to

accommodate the transportation needs of all components of the public - not just the elderly and

low-income - and at the same time reduce the demands on the capacity of the existing highways.

One bus that holds 60 passengers consumes far less space than 60 cars. As noted above, the 30

Corridor Project is designed primarily to accommodate the needs of the single-passenger private

automobile user, and the EA violates 40 CFR §1502.14(c) by failing to include an alternative

that fully considers and analyzes incorporating public transit as a means of meeting the needs

and purposes of the EA.



                     The EA Does Not Analyze An Alternative of Light Rail

153.   The EA also did not seriously consider or discuss the development of a light rail

system connecting downtown Little Rock with the major suburban areas, such as Benton,

Conway, Cabot and other areas. It dismissed this option in the EA as "too expensive." Other

cities have long operated light rail systems as a means of safely and efficiently moving people



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from suburbs to inner-city business districts and back. Parking lots located at light rail stations

along the routes provide convenience for the commuters, save energy, and remove many vehicles

from the highways. Again, ArDOT has a responsibility to present for public consideration

reasonable alternatives not within the jurisdiction of the lead agency. This, it failed to do.



               New and Developing Transportation Technology Was Considered,
                            But No Alternatives Were Analyzed

154.   The EA recognized that this is an age ofrapidly developing technology in every

area of our lives, including automobile design and operation, and in the design and construction

of highways to assist drivers in making intelligent choices. An entire chapter of the EA was

dedicated to a discussion of existing and emerging technology. Yet, there is no consideration

given in the EA to the incorporation of developing technology into either of the alternatives

proposed for the 30 Corridor Project, or of an alternative of conducting necessary maintenance

work on I-30 and the Arkansas River Bridge to address traffic flow and safety concerns, and

deferring more extensive, radical and expensive expansion until the existing and emerging

technology is readily available. Such technology is currently being used in other states with

more complex traffic problems than those presented by the Project, and in other countries.

155.   In addition, the EA does not consider and discuss current development of alternative

means of transporting people, and the potential effect that those alternative means of transport

may have on the highways. The use of "for hire" vehicles, such as Uber or Lyft, is rapidly

increasing and has the potential to reduce the number of privately-owned vehicles on the

highways.




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156.   The EA clearly recognizes that "Technology is advancing at a tremendous rate and is

expected to have a significant impact on our society's lives in the future .... Emerging

technologies such as connected and autonomous vehicles will dramatically change how we view

transportation." It quotes Bill Ford, Jr. stating that "Transportation will change more over the

next 10 years than it has over the last 100 years." (EA Interchange Justification Report,

Appendix B6-Emerging Technologies, p. 1) The EA states:

       ... thoughtful planners work now with elected officials, specific stakeholders and
       the public to consider and plan for the eventual widespread use of CAVs
       (Connected and Autonomous Vehicles) within their local transportation systems.
       They confront the reality that CAVs already are fundamentally altering traditional
       infrastructure planning horizons, issues and approaches across a broad range of
       topic; ... "

157.   Yet, rather than develop present an alternative incorporating technological advances for

public review and comment in the EA as "thoughtful planners" would do, the EA changes course

and states instead that "history is littered with bold predictions of a world revolutionized by new

and emerging technologies - some of which come true, often with unimagined consequences,

and others that never materialize in the face of social, economic and technological challenges

that could not be easily overcome."

158.   This cryptic position taken by ArDOT in the EA ignores the current production by

the automobile industry of electric vehicles (of which fifty models are currently being

commercially produced by automakers), vehicles with electronic safety and assisted-driving

features, and autonomous (self-driving) vehicles (AVs) that are curren~ly being developed and

used in some areas of the United States. Predictions are that AVs will be perfected and

commercially sold in the U.S. in ten years.

159.   The EA does not propose for public consideration any alternative that incorporates

technological advances in transportation. Neither does the EA propose for public consideration

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any alternative that would limit the work to be conducted on 1-30 to that necessary for continued

traffic flow and safety (with replacement of the Arkansas River Bridge), without expansion, to

allow for the continued development of the technology that the EA itself predicts will occur.

While ArDOT cautions against constructing a highway based on emerging technologies, it is

equally unwise (if not more so) to spend a billion dollars on a highway that may be obsolete by

the time it is finished, and will have to be retrofitted for AVs and other vehicles of the not-too-

distant future.

160.    For this reason, the alternative oflimiting the work on the 30 Corridor Project to

the basic amount required for meeting average demand rather than peak demand, at a far lower

cost than the Preferred Alternative, and perhaps in conjunction with other alternative routes into

and from the metropolitan business area, would appear to be the most prudent course. However,

that alternative was not given consideration.


                      The "No Action" Alternative and Variations Thereon
                       Were Not Adequately Considered or Were Distorted

161.    40 CPR §1502.14 requires that agencies shall rigorously explore and objectively

evaluate all reasonable alternatives, including the ''No Action" alternative. The EA fails to give

substantially equal treatment to all the alternatives. The EA treats the No-Action Alternative in

a summary fashion - not in a rigorous and objective manner. Equally important, the EA distorts

the comparisons between the "action" and "no-action" alternatives.

162.    NEPA requires a fair analysis of all the alternatives. This EA fails to do that by, in

part, making compensatory manual adjustments to the Action Alternatives but not the No-

Action Alternative, (Appendix B, IJR, page 23, indicated epage 207/3992) and by omitting

the No-Action Alternative in displays such as Figures 7 and 8 in Appendix B, IJR. This last



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failing is particularly germane in that Table 5 shows that the No Action-Alternative

outperforms the Action Alternatives in a numbercfTravel-Time pairings.



             The Analysis Of Effects Is Distorted In That 1-30 Lane Additions
                   Are Assumed To Occur In The Action Alternatives
                         But Not In The No-Action Alternative.

163.   The EA assumes that a lane will be added "on 1-30 in each direction from the South

Terminal to 65th Street" in the Action Alternatives only. 5 If adding a lane is the most-likely

future condition in the Action Alternatives, then it should be the most-likely future condition

in the No-Action Alternative as well. On the other hand, if the addition oflanes "on 1-30 in

each direction from the South Terminal to 65th Street" is unneeded in the No-Action

Alternative, then the estimated cost of adding these lanes needs to be disclosed and

identified as either a dollar-quantified benefit to the Action Alternative or a dollar-quantified

cost to the Action Alternatives.

164.   In either event, the presentation of the No-Action Alternative in the EA is skewed to

make the Action Alternatives more desirable. In fact, the No-Action Alternative enjoys

faster peak hour average speeds on roads connecting to 1-30 than the Action Alternatives as

shown in Figures 14 and 15 of Appendix B of Appendix A, page 31, indicated epage

307/3992. One example of the misrepresentations is the statement, "The No-Action

Alternative does not relieve congestion or improve mobility," when the Action Alternatives

do not relieve congestion either. Also, there is no corresponding statement in the Action

Alternatives explaining that they will cause congestion and reduce mobility on roads

connecting to 1-30.




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           The EA Repeatedly Misrepresents Travel Speeds For The Alternatives.

165.    The EA continually maintains that "The No-Action Alternative has the lowest travel

speeds for sections outside of the study area," and "Action Alternative 2A and 2B: 6-Lane

with CID with SPUI and SDI Action Alternatives has the highest travel speeds for sections

outside of the study area."

166.    In point of fact, Tables 5 and 6 in the Appendix A (Indirect Effects Technical Report)

show that the No-Action Alternative actually has the fastest travel speeds for "1-440 east of

South Terminal" and has the fastest overall PM travel speeds of all the alternatives.

167.    Further, the points to which the travel times are computed are misleading to the

commuting public. The EA (Appendix A Indirect Effects Technical Report, p. 2) identifies

the major employers in the area (State of Arkansas, City of Little Rock, federal government,

the University of Arkansas for Medical Sciences, and the Union Pacific Railroad) but

instead selects the Clinton Presidential Center and the River Market as destinations for their

accessibility studies. This effectively reduces the length of commuting time as the Clinton

Presidential Center and the River Market are both so close to 1-30 as to make the drive to a

parking lot trivial. This exaggerates the potential relative benefit from the Action

Alternatives as shown in the following table. There are other areas of the EA and its

appendices that skew information in favor of the Preferred Alternative and against the No-

Action Alternative, or entirely fails to include the No-Action Alternative in the comparison

of all alternatives.




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        The EA Buries Information That Is Unfavorable to The Action Alternatives.

168.   Not until page 335 of the 3,992 pages in the EApackage, in an Appendix B of an

Appendix A, is it disclosed that 1-30 congestion is expected to occur immediately after 30

Crossing opening day if no improvements are made from the South Terminal to 65th Street.

This failure, in conjunction with the EA's failure to disclose likely delays during

construction demonstrates a partiality - a boosterism - that is inappropriate in a NEPA

document.

169.   The EA shows that modeling results for both the 8-Lane GP Action Alternatives and

6-Lane with CID Action Alternatives indicate that 1-30 congestion occurs immediately after

30 Crossing opening day from 2021 - 2026 if no improvements are made from the South

Terminal to 65th Street. This deficiency in the EA is further compounded by not disclosing

the estimated completion date for the South Terminal to 65th Street 1-30 segment. The

public thus has no way of knowing how long this backup is expected to continue.



                                            COUNT 9.

                     THE EA FAILS TO ADEQUATELY ANALYZE
                DIRECT AND INDIRECT IMPACTS OF THE PROPOSED ACTION

170.   40 CFR §1502.16, relative to potential environmental consequences of a proposed

project, states that the EA must include discussions of:

       (a) Direct effects and their significance (§1508.8).

       (b) Indirect effects and their significance(§ 1508.8).

       (c) Possible conflicts between the proposed action and the objectives of Federal,

       regional, State, and local land use plans, policies and controls for the area

       concerned. (See §1506.2(d).)

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       (d) The environmental effects of alternatives including the proposed action. The

       comparisons under §1502.14 will be based on this discussion.

       (e) Energy requirements and conservation potential of various alternatives and

       mitigation measures.

       (t) Natural or depletable resource requirements and conservation potential of

       various alternatives and mitigation measures.

       (g) Urban quality, historic and cultural resources, and the design of the built

       environment, including the reuse and conservation potential of various

       alternatives and mitigation measures.

       (h) Means to mitigate adverse environmental impacts (if not fully covered under

       §1502.14(t)).

       The EA failed to discuss many of these issues.


       A.                            Direct Impacts

171.   "Direct impacts" are those that are caused by the action and occur at the same time and

place. 40 CFR §1508.8. Among those could be the effects of the project on noise, air toxics, dust,

nighttime lighting and other effects on people and things in the immediate area of the project.

172.   Many people, particularly minorities and low-income persons, live in the immediate

vicinity of the 30 Corridor Project, and- as much of the work on the 30 Coridor Project will be

done on a 24-hour basis - will be directly and constantly affected by the noise, air and light

emissions from the Project. The EA failed to adequately assess the impacts of those emissions on

people (or, as termed in the EA, "receptors") who live within close proximity to the I-30 corridor

- particularly the areas of interchanges with other highways such as I-630, Highway 10 and I-40.




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       B.                          Indirect Impacts

173.    One of the stated purposes and needs of the Project is to reduce traffic

congestion and improve speeds of driving into and through Little Rock-North Little Rock.

However, the EA acknowledges that one effect of each of the alternatives proposed by ArDOT

and FHWA will be to shift the congestion and traffic impediments to other portions of the

interstate and other highways in the central Arkansas area. It is difficult to find that

acknowledgment in the EA because ArDOT and FHWA are attempting to "segment" the

interstate system in Pulaski County to avoid addressing all of the congestion issues

comprehensively. The subject of impermissible "segmentation" of the 1-30 and 1-630 highways

for purposes of the EA is addressed further below.



                 The EA Recognizes That Traffic Congestion Will Be Shifted to
                 Portions of the Interstate System Outside the 30 Corridor Area
                     But Does Not Analyze the Impacts of That Congestion

174.   The defining geographical limits of the 30 Crossing Project and the EA are shown in

Figure 1 at page 4 of this Complaint. Generally, they are where 1-30 intersects on the south with

1-530 and 1-440; on the northwest end at 1-40 and State Highway 365 (MacArthur Drive); and at

the intersection ofl-40 and Highway 67-167 on the northeast end. In addition, 1-630 intersects

with 1-30 in the middle of the corridor. Four interchanges are included in the Project and are

critical areas for congestion.

175.   Thousands of vehicles enter the 30 Corridor area each day from each of the terminus

points mentioned above. Studies and computer modeling conducted by ArDOT and others have

clearly shown (and the EA admits) that, if the 30 Crossing Project is constructed, it will shift




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congestion from the 30 Corridor area to other areas outside of the arbitrary boundaries of the 30

Corridor Project.

176.   Those areas include portions ofl-30 between the south terminus of the Project, 65 th

Street, University Street and I-30, and I-430. ArDOT's modeling also shows that the 30 Corridor

Project would shift congestion onto I-630, causing slowing and backup, and onto Highway

67/167 and portions ofl-40. The EA does not discuss or attempt to analyze the impacts of those

shifts of congestion to those areas outside the 30 Corridor study area.


                           The EA "Segments" The Highway System
                          To Avoid An Analysis ofAll Affected Areas.

177.   40 CFR §1508.25, relative to the scope of an EA or EIS provides:

               "Scope" consists of the range of actions, alternatives, and impacts to be
               considered in an environmental impact statement. The scope of an
               individual statement may depend on its relationships to other statements
               (§§ 1502.20 and 1508.28). To determine the scope of environmental
               impact statements, agencies shall consider 3 types of actions, 3 types of
               alternatives, and 3 types of impacts. They include:

               (a) Actions (other than unconnected single actions) which may be:

                      (1) Connected actions, which means that they are closely
                      related and therefore should be discussed in the same
                      impact statement. Actions
                      are connected if they:

                              (i) Automatically trigger other actions which may
                              require environmental impact statements.

                              (ii) Cannot or will not proceed unless other actions
                              are taken previously or simultaneously.

                              (iii) Are interdependent parts of a larger action and
                              depend on the larger action for their justification.

                      (2) Cumulative actions, which when viewed with other
                      proposed actions have cumulatively significant impacts and
                      should therefore be discussed in the same impact statement.

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                      (3) Similar actions, which when viewed with other
                      reasonably foreseeable or proposed agency actions, have
                      similarities that provide a basis for evaluating their
                      environmental consequences together, such as common
                      timing or geography. An agency may wish to analyze these
                      actions in the same impact statement. It should do so when
                      the best way to assess adequately the combined impacts of
                      similar actions or reasonable alternatives to such actions is
                      to treat them in a single impact statement.
                      (Emphasis added)

178.   The project does not have logical termini. The EA acknowledges that interstate

highway congestion on different segments outside the study area cause backups onto 1-30 in

the project area for the Action Alternatives. Those segments outside the study area are:

       •       1-30 from the southern terminus of the study area to 65thStreet.

       •       1-30 south of 65th Street.

       •       1-630 at and west of its intersection with 1-30.

179.   For the Action Alternatives only. the EA assumes that the immediate segment just

south of the southern terminus of 30-Crossing to 65th Street (#1 above) will be constructed

before 2041 and factors that assumption into a reduction in 30-Crossing study area

congestion relief. However, it assumes that congestion associated with an even farther-south

segment on 1-30, from 65th Street southward, will back up into both the 65th Street-30-

Crossing segment and the 30 Crossing Study Area itself. Page 24 of EA Appendix B of

Appendix A, indicated e-page 300/3992.

180.   The page 24 citation discloses that this congestion outside the study area is the "only

basic problem," and yet the segment was excluded from the study area. The absurdity of the

situation is further demonstrated by the fact that the 30-Crossing Action Alternatives




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apparently cause the problem as no comparable congestion is identified for the No-Action

Alternative.

181.   The shifting of congestion to areas ofl-30 south of the 30 Corridor and to I-630 means

that in order to achieve removal of that congestion, it will be necessary to continue to widen I-30

south to I-430 and I-630 westward from its intersection with I-30, as well as other highways that

feed into the 30 Corridor area. Those are projects that ArDOT currently has under review and in

planning. In fact, ArDOT's analysis shows that to prevent bottlenecks caused by the flow of cars

through the expanded I-30 on other portions of interstates in Central Arkansas, those freeways

will have to be widened to eight lanes, at a cost of $4 billion.4 In view of ArDOT's difficulty in

funding construction of the 30 Crossing Project, it seems doubtful that any additional

construction expanding areas of I-30 south of its terminus at I-530/440 will be forthcoming soon.

182.   The widening and reconstruction of the 30 Crossing area, 1-30 south of the 30

Crossing Project Area, and the widening ofl-630 west from its intersection with I-30 are all

connected, cumulative and similar actions as contemplated by 40 CPR §1508.25(a)( 1), (2) and

(3). As such, those projects and their individual and collective impacts should be considered in

the same Environmental Impact Statement.

183.   Notwithstanding this, ArDOT and FHWA have attempted to isolate the 30 Corridor

Project into a separate segment in an attempt to avoid determining the environmental impacts of

resolving the traffic problems that will continue to exist in other segments. NEPA does not




4      Comments of ArDOT's Connecting Arkansas Program manager Jerry Holder (director of
Garver Engineers) that to prevent bottlenecks caused by the flow of cars through the expanded I-
30 onto other portions of interstates in Central Arkansas would require those other freeways to
be widened to eight lanes, at a cost of $4 billion (Arkansas Times Blog, October 15, 2015)
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allow Defendants to subdivide projects that do not have independent utility or logical termini

simply to expedite the NEPA process or avoid addressing environmental impacts.

184.   Regulations adopted to implement the FHWA's compliance with NEPA address improper

segmentation and provide that "the action evaluated in each EIS or finding of no significant

impact (FONS!) shall:

               (1) Connect logical termini and be of sufficient length to address
               environmental matters on a broad scope;

               (2) Have independent utility or independent significance, i.e. be usable
               and be a reasonable expenditure even if no additional transportation
               improvements in the area are made; and

               (3) Not restrict consideration of alternatives for other reasonably
               foreseeable transportation improvements."
               23 F.R. § 771.1 ll(f).

185.   The 30 Corridor Project sector ofl-30 has no logical terminus at any of the points used in

the EA, nor does it have "independent utility." The proposed terminus points are simply arbitrary

points selected by the ArDOT to avoid assessing the environmental consequences of the Project

on other areas ofl-30, 1-630, 1-40 and Highway 67/167.

186.   The failure to include the segment of 1-30 south of the Project boundary to 1-430, and the

segment ofl-630 west from its intersection with 1-30 does not meet the requirements of23 CFR

§771.11 l(f), or the criteria contained in 40 CFR §1508.25. The segmentation of the 30 Corridor

Project from other portions of 1-30 not within the Project geographic area, and from 1-630 was

improper.

            ArDOT Made Assumptions Regarding Traffic Volumes and Congestion
            In the Environmental Assessment That Were Not Used in Modeling or
            Assessments of Traffic Volumes and Congestion in Adjoining Segments

187.   Assumptions were made in the EA to arrive at the conclusions supporting the Project.

However, those same assumptions were not carried over into the appendices and applied to the

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other segments discussed above with regard to traffic volumes and congestion. The same

assumptions used in evaluating the Preferred Alternative should apply to any modeling or

assessments of traffic volumes and congestion on the other Alternatives (including the No-

Action Alternative) or the segments outside of the study area that will be affected by the Project.




                      The EA Does Not Address the Indirect Impact Of
                Induced Development Resulting From This and Other Projects

188.   The creation or expansion of highways frequently drives the development of new housing

areas and new commercial centers. Most major cities, such as Dallas and Houston, demonstrate

this principal, and it is also demonstrated by the development of the Bentonville - Fayetteville

Arkansas area. Such development then changes the driving patterns of persons who may have

formerly used such highways onto new roads.

189.   The CEQ Regulations specifically recognize induced growth as an Indirect Effect that

must be analyzed. 42 CFR §1058.8 specifically states that ""Indirect effects" may include

growth inducing effects and other effects related to induced changes in the pattern of land use,

population density or growth rate, and related effects on air and water and other natural systems,

including ecosystems."

190.   A conclusory statement that growth will increase with or without the project, or that

development is inevitable, is insufficient; the agency must provide an adequate discussion of

growth-inducing impacts. Laguna Greenbelt, Inc. v. United States Dep't o/Transp., 42 F.3d 517,

526 (9th Cir.1994)

191.   Notwithstanding this, the EA fails to adequately consider and analyze the indirect impact

of the 30 Corridor Project on induced growth and development in the Central Arkansas area.



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                 The EA Does Not Address the Indirect Impact Of The Project
                      On Minority and Low-Income Residential Areas

192.   The declaration of policy contained in NEPA, Section 101, recognizes "the profound

impact of man's activity on the interrelations of all components of the natural environment,"

particularly the profound influences of population growth, high-density urbanization, and

industrial expansion.

193.   40 CFR §1508.14 further defines the "human environment" as including "the natural and

physical environment and the relationship of people with that environment. ... When an

environmental impact statement is prepared and economic or social and natural or physical

environmental effects are interrelated, then the environmental impact statement will discuss all

of these effects on the human environment." Thus, NEPA applies to urban environmental effects

and effects on the quality of life for citizens of neighborhoods affected by a proposed project,

including economic and social impacts as well as those affecting the natural environment.

194.   Thirty-Three percent (33%) of the households in the study area are considered to be low-

income, and 59% of the population in the Project Study Area are majority non-white and

Hispanic. Twenty-two of the 62 census block groups in the Project Study Area have median

incomes below the poverty guideline.

195.   The Community Impacts Technical Report (CITR) appendix to the EA continues

the EA's bias in favor of the Action Alternatives. The only thing said about the No-

Action Alternative is negative, and the several items mentioned about the Action

Alternatives are all positive. NEPA documents are required to present a balanced

picture. This passage fails to mention positive effects associated with the No-Action,

such as a reduced incidence of construction-related congestion, and then goes on to



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speculate about the possible population growth effects of the Action Alternatives-even

though such effects are not otherwise displayed in the document.

196.   Defendants were required by NEPA to analyze the effects of the Project on "Community

Cohesion." The CITR defines "Community Cohesion" as "a term that refers to an aggregate

quality of a residential area. Cohesion is a social attribute that indicates a sense of community,

common responsibility, and social interaction within a limited geographic area. It is the degree

to which residents have a sense of belonging to their neighborhood or community or a strong

attachment to neighbors, groups, and institutions because of continual association over time."

(Indicated e-page 1944/3992).

197.   The EA concludes that "... the project would have a beneficial effect on communities

due to ... increased community cohesion... " without providing any substantiation. pagel 15,

Indicated e-page 132/3992. It continues: "The proposed improvements would not further

separate, divide, or isolate these neighborhoods or other adjacent neighborhoods, ethnic or

other specific groups, because the 1-30 facility is an existing interstate and no new

alignment or location is proposed for the alternatives." There is no support cited for that

statement, and history has shown it to be false.

198.   There is a long history of the construction ofl-30 and 1-630 causing disproportionately

high and adverse environmental effects on the citizens who reside on the east side of the 30

Corridor Project and west of the Project and south ofl-630. The EA acknowledges that the

people who reside in those areas consist of a high proportion of minorities, and the evidence is

strong from the past development ofl-30 and 1-630 that they have suffered economically and

socially by being separated from the remainder of the City. For example, after construction of 1-




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630, the market values of property south of that highway fell dramatically, and today remain far

below those of property north of I-630.

199.    The EA discusses a few benefits that the largely minority, low-income citizens in those

areas that have been cut-off from the remainder of the City will purportedly derive from the 30

Corridor Project (such as sidewalks, bike paths, etc. over or under I-30), but it fails to discuss the

disadvantages that those same citizens will sustain by being further separated from the City by an

even wider and more complicated I-30 Corridor and its intersection with I-630, to say nothing of

increased noise and toxic fumes as a result of the projected increased traffic.

200.   The EA fails to adequately assess the socio-economic impact of the proposed 30 Corridor

Project upon the minority non-white and Hispanic populations and communities who reside in or

have businesses in the vicinity of the 30 Corridor. Not only NEPA, but Executive Order 12898

requires agencies to "identify[] and address[], as appropriate, disproportionately high and

adverse human health or environmental effects of its programs, policies, and activities on

minority populations and low-income populations."




                      The EA Fails to Sufficiently Identify and Analyze the
                          Health Effects of Mobile Source Air Toxics
                      That Would Be Produced by This and Other Projects

201.   The EA does not fully address the potential indirect and cumulative impacts of the 30

Crossing Project on persons who reside in the vicinity. It is widely accepted and recognized

through medical and scientific studies that vehicular traffic on interstates and other high-traffic

roads emit a number of mobile source air toxic compounds (MS ATs) that are harmful to human

health, particularly the elderly and children. (See 30 Crossing Strategies: White Paper,

Nelson/Nygaard Consulting Associates, Inc. report prepared for City of Little Rock June 6, 2016,

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in which it is stated that "Freeways are essentially toxic areas.") The U.S. Environmental

Protection Agency and Defendant FHWA also recognize the risk of MSATs in their official

publications.

202.   The EA states that one of the needs and purposes of the proposed Project is to

accommodate an even greater volume of traffic on the 1-30 Corridor, and at higher speeds.

FHWA claims that the volume of vehicles on the 30 Corridor will increase to approximately

165,000 vehicles per day by 2040, but at the same time maintains that the volume of MSATs that

will be emitted by those vehicles will be lower than current levels because new regulations will

be enacted requiring more efficient automobile engines. That is disingenuous and sheer

speculation. Proposed regulations to lower the emission levels of automobile engines has been

withdrawn by the Department of Transportation and will undoubtedly not be re-proposed in the

current political environment. In any event there is no calculation in the EA to support

Defendant's claim that the volume of MS A Ts emitted by the predicted increased number of

vehicles in the future will be less than those currently emitted. A detailed analysis by an EIS is

required.

203.   This is even more pressing because of the cumulative impact on air emissions that the

proposed widening of the easternmost portions ofl-630 will have, in conjunction with those

issued from the 1-30 Corridor.




                The EA Fails to Adequately Assess the Indirect Impacts of the Project
                            On Wetlands, Water Quality and Flooding

204.   40 CFR §230.10(a), relative to the placement of fill in wetlands as part of a project

development, states:




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       [N]o discharge of dredged or fill material shall be permitted if there is a
       practicable alternative to the proposed discharge which would have less adverse
       impact on the aquatic ecosystem, so long as the alternative does not have other
       significant adverse environmental consequences.

205.   Furthermore, EPA Guidelines developed in conjunction with the U.S. Army Corps of

Engineers further provide that, where a project is not "water dependent "(i.e., must have access

or proximity to water or the special aquatic site to fulfill its basic purpose, such as a wharf or

harbor), a presumption exists that practicable alternatives are available that do not involve

special aquatic sites (i.e., wetlands), unless clearly demonstrated otherwise. 40 C.F.R.

§230.10(a)(3)

206.   The EPA Guidelines also provide that a presumption exists that where a discharge is

proposed for a special aquatic site (i.e., wetlands), all practicable alternatives to the proposed

discharge that do not involve a discharge into a special aquatic site have less adverse impact on

the aquatic ecosystem, unless clearly demonstrated otherwise. Id.

207.   Executive Order (EO) 11988 (1977) relative to Floodplain Management, directs federal

agencies to "provide leadership and take action to reduce the risk of flood loss, to minimize the

impacts of floods on human safety, health and welfare, and to restore and preserve the natural

and beneficial values served by floodplains." This EO was authorized to assist in furthering the

National Environmental Policy Act (NEPA), the National Flood Insurance Act of 1968

(amended), and the Flood Disaster Protection Act of 1973.

208.   Changes in the floodplain, such as adding fill material from highway construction and

widening, constructing buildings or bridges, or constricting a channel, can cause a rise in the

water surface elevation. This increase in the water surface elevation can subsequently impact

properties not previously affected and are consequently regulated by FEMA. Floodplain impacts




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are measured by the change in the water surface elevation or Base Flood Elevation (BFE). (EA,

Appendix 0, page 4, Sec. 3.0, lines 11-15)

209.   Appendix Oto the EA states that, in the Dark Hollow area of North Little Rock,

approximately 18.01 acre-feet (Ac-ft) of permanent fill would be placed below elevation 252 (the

base flood elevation) with the 8-Lane GP Alternative, and 17.43 Ac-ft of permanent fill would

result from the 6-lane with CID Alternative (Figures 4 and 5).

210.   Appendix Oto the EA further states:

       Mitigation in the form of compensatory storage would be created to replace the
       storage lost in the Dark Hollow floodplain due to permanent roadway fill. In the I-
       30/1-40 interchange, three areas were identified as contiguous and hydraulically
       connected to the Fairman Ditch, which passes through the interchange from west
       to east. These flood storage areas are shown on Figure 6. As flood surface
       elevations rise in Fairman Ditch, flood waters would spill out of the channel and
       fill the contiguous flood storage areas. The areas would be graded to allow flood
       waters to drain to the Fairman Ditch (Attachment 8). The exact method of making
       this connection would be the responsibility of the Design Builder. The volume
       able to be created in these three areas is 11.57 Ac-ft, 3.67 Ac-ft, and 10.85 Ac-ft,
       for a total of 26.09 Ac-ft. This is an excess of 8.08 Ac-ft over the worst case
       amount of fill that would result from any of the Action Alternatives in the Dark
       Hollow floodplain.

211.   The Dark Hollow area (a/k/a the Dark Hollow Basin) of North Little Rock covers

approximately 6,000 acres in North Little Rock, generally bound on the west by I-30, on the

north by I-40, on the east by high ground in the Rose City area, and on the south by the Arkansas

River. The northern and western portions of the area consists of relatively steep, hilly terrain

north of Interstate 40 and west of Interstate 30. During storm events, those hilly areas drain into

Dark Hollow, which contains a large area of wetlands. The wetlands serve as holding areas for

the storm water, filter out pollutants and debris from upstream and from the Interstate highways;

and provide sanctuary and breeding grounds for birds, small mammals, certain fish and




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amphibians. The wetlands in the Dark Hollow Basin contribute directly to water quality of the

Arkansas River and flood control in areas adjacent to Dark Hollow.

212.   The extensive flood plain in the Dark Hollow area of North Little Rock is shown in the

following Figure 2. The flood plain is in the blue color, which covers the vast majority of the

North Little Rock area south of 1-40 and east ofl-30.




213.   The Fairman Ditch (also denominated the "Pipe Diversion Ditch") referred to in the

above-quoted excerpt from Appendix 0, is a large ditch that transverses the Dark Hollow area.

The Ditch runs in an East-West direction from the intersection ofl-30 and 1-40 for

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approximately 4700 feet before turning south through the Union Pacific Railroad yards, through

North Little Rock east of 1-30, and ultimately through the Redwood Tunnel ("the Tunnel") and

into the Arkansas River. Several other drainage ditches flow into the Ditch from other areas in

the northeast section of Dark Hollow, increasing the flow of storm waters by orders of

magnitude.

214.       Flooding frequently occurs in North Little Rock as a result ofrain events in which water

is channeled through the Fairman Ditch and into areas of North Little Rock south of Dark

Hollow, including the Tunnel. The Tunnel was constructed in 1911; is concrete-lined; is

approximately 6.5 feet wide by 7.5 feet high; is approximately 2,640 feet long; and is in a bad

state of repair. The Corps of Engineers has determined on numerous occasions that the entire

Dark Hollow drainage system, including the Fairman Ditch and the Tunnel, is inadequate to

handle rainfall in excess of a five-year flood. See Appendix 0, Section 4.0, p. 5), which provides

in part:

           The Redwood Tunnel was identified in the North Little Rock, Dark Hollow
           Limited Re-Evaluation Report (USACE, 2012) as undersized with respect to the
           flow it carries.

           In an effort to evaluate alternatives to alleviate flooding in the Dark Hollow
           Basin, the North Little Rock, Dark Hollow Limited Re-Evaluation Report
           (USACE, 2012) analyzed conveyance and storage improvements using HEC-
           HMS and HEC-RAS. The North Little Rock Dark Hollow Limited Re-Evaluation
           Report (USACE, 2011) recommended conveyance improvements focused on the
           existing channels and the Redwood Tunnel, as well as storage improvement
           located in the Dark Hollow floodplain.

215.       A number of additional assessments of the Tunnel have been conducted by the Corps of

Engineers in connection with the City of North Little Rock since 1975 with a view to reworking

the channels and replacing or repairing the Tunnel. However, no work has been performed

pursuant to those studies. As a consequence, the Dark Hollow area and portions of North Little



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Rock south of Dark Hollow continue to be subject to frequent flooding following heavy rains.

216.    In addition, a major residential apartment development known as The Pointe at North

Hills is under construction on the northeast comer of the intersection ofl-40, Highway 67/167,

and Park Hill Road in North Little Rock. The development has required the leveling of

approximately 70 acres of a hilltop upgradient of the Dark Hollow basin, and the permanent

filling of over 500 feet of ephemeral and intermittent streams and 6. 7 acres of wetlands in the

drainage area of Dark Hollow. The fill of those wetlands and diversion of water into the Dark

Hollow area will increase the flow of floodwaters into the Fairman Ditch and the Redwood

Tunnel, exacerbating the flood problems in North Little Rock east ofl-30.

217.    Furthermore, the Dark Hollow area and areas south of it in North Little Rock are

predominantly occupied by minority and low-income populations. No analysis appears in the EA

of the impact of the elimination of the 26 acres of wetlands from the Dark Hollow, the addition

of flood waters from the Pointe at North Hills Project immediately upgradient of the Dark

Hollow basin, or the grading of the proposed wetlands fill area to direct drainage of storm waters

into the Fairman Ditch, and from there to the Redwood Tunnel. This omission is a serious

violation ofNEPA's requirements for assessment of indirect and cumulative impacts and also

EO 12898.

218.    The Defendant FHWA has promulgated regulations found at 23 CFR §650.111, relative

to location hydraulic studies to be conducted prior to construction of highways to determine the

potential impact of the construction on the human environment. That regulation provides in

relevant part:

    (a) National Flood Insurance Program (NFIP) maps or information developed by the
        highway agency, ifNFIP maps are not available, shall be used to determine
        whether a highway location alternative will include an encroachment.



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   (b) Location studies shall include evaluation and discussion of the practicability of
       alternatives to any longitudinal encroachments.

   (c) Location studies shall include discussion of the following items, commensurate
       with the significance of the risk or environmental impact, for all alternatives
       containing encroachments and for those actions which would support base flood-
       plain development:

       (1) The risks associated with implementation of the action,

       (2) The impacts on natural and beneficial flood-plain values,

       (3) The support of probable incompatible flood-plain development,

       (4) The measures to minimize flood-plain impacts associated with the action, and

       (5) The measures to restore and preserve the natural and beneficial flood-plain
       values impacted by the action.

   (d) Location studies shall include evaluation and discussion of the practicability of
       alternatives to any significant encroachments or any support of incompatible
       flood-plain development.

   (e) The studies required by §650.111 (c) and (d) shall be summarized in
       environmental review documents prepared pursuant to 23 CFR part 771.

   (f) Local, State, and Federal water resources and flood-plain management agencies
       should be consulted to determine if the proposed highway action is consistent
       with existing watershed and flood-plain management programs and to obtain
       current information on development and proposed actions in the affected
       watersheds.

219.   There appear to be no location studies conducted of the impact of the 30 Corridor Project

on the Dark Hollow area to meet the requirements of 23 CFR §650.111. The Defendants failed to

comply with the requirements ofNEPA's requirement to fully discuss the direct and indirect

effects of the proposed 30 Corridor Project as required by 40 CFR § 1502.16, 23 CFR §650.111

and Executive Order (EO) 11988 in the preparation of the EA and the resulting FONS!. The EA

and FONSI should be set aside and voided, and this matter remanded to the Defendants with




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directions to prepare an EIS in compliance with the requirements of NEPA and all other

applicable laws.


                        The EA Fails To Address Indirect Impacts On The
                   River Market, Clinton Presidential Park, Heifer International
                      And North Little Rock Riverfront Park/Argenta Areas

220.   Some of the most rapidly developing and thriving areas of the Little Rock- North Little

Rock metropolitan area are along or near the banks of the Arkansas River in both cities. The

existing easy access to those areas from Interstate 30 and a relative abundance of on-street

parking or conveniently-located parking lots has been instrumental in that development.

221.   The proposed 30 Corridor Project will significantly change the points of entry and exit to

and from I-30 in both Little Rock and North Little Rock, and make it more difficult and time-

consuming for persons to gain access to those areas. In addition, persons who visit the River

Market District, the Argenta District, or reside in those areas and in the historic neighborhoods

immediately to the south of the River Market District in Little Rock will experience loss of

scarce on-street parking, creation of one-way streets and increased traffic. The analysis of the

indirect impacts of these changes in access, parking and traffic patterns has not been sufficiently

analyzed in the EA.



                         The EA Fails To Disclose Externalized Costs.

222.   The EA fails to dollar-quantify the various externalized costs which will not be borne

by the project--thus overstating any estimate of net benefits associated with the project. As

the cities, employers, and private citizens will bear these costs, they must be displayed by

alternative. For instance, the EA makes no mention of the fact that the River Rail Streetcar

system will have to cover approximately $455,000 in cost associated with implementing the
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preferred alternative. Instead, the document indicates impacts were avoided, as on page 31,

indicated epage 215 of Appendix B, IJR.

223.   Adversely-affected property values associated with the increased noise of the Action

Alternatives are not disclosed. Also, elimination of three free public parking lots and

numerous on-street parking spaces will cause economic hardship to those regularly using

those spots

224.   Numerous modifications to city streets are identified but not costed out, such as the

four additional traffic lights noted on page 31 of Appendix A of Appendix B, IJR, indicated

e-page 255/3992. Traffic lights are expensive and there is no indication that the City of

Little Rock has agreed to bear such costs. The city cannot make an informed decision

relative to the EA unless its related costs are identified. If the city cannot or does not plan to

make improvements to city streets necessary for the proper functioning of the Action

Alternatives, then the effects associated with late implementation of these measures needs to

be reflected in the EA analysis in terms of congestion and travel time.



                   The EA Has Made Insufficient Effort To Quantify Effects
                        by Claiming That They Cannot Be Quantified

225.   Throughout the EA, it observes that the Project "may have" or "could have' certain

effects, but then avoids further analysis through the excuse that the specific impacts of these

changes cannot be quantified.

226.   CEQ's Forty Questions specifically addresses this issue in its answer to Question No. 19

as follows:

               18. Uncertainties About Indirect Effects ofA Proposal. How should
               uncertainties about indirect effects of a proposal be addressed, for example, in
               cases of disposal of federal lands, when the identity or plans of future landowners

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               is unknown?

               A. The EIS must identify all the indirect effects that are known, and make a good
                  faith effort to explain the effects that are not known but are "reasonably
                  foreseeable." Section 1508.8(b). In the example, if there is total uncertainty
                  about the identity of future land owners or the nature of future land uses, then
                  of course, the agency is not required to engage in speculation or
                  contemplation about their future plans. But, in the ordinary course of business,
                  people do make judgments based upon reasonably foreseeable occurrences. It
                  will often be possible to consider the likely purchasers and the development
                  trends in that area or similar areas in recent years; or the likelihood that the
                  land will be used for an energy project, shopping center, subdivision, farm or
                  factory. The agency has the responsibility to make an informed judgment, and
                  to estimate future impacts on that basis, especially if trends are ascertainable
                  or potential purchasers have made themselves known. The agency cannot
                  ignore these uncertain, but probable, effects of its decisions.

227.   The FONS I and the EA upon which it is based should be voided and set aside, and this

case remanded to the Defendants for such further proceedings as they may deem appropriate, but

in compliance with the requirements of NEPA and all other applicable laws and regulations.



                                           COUNT 10.

                   THE ENVIRONMENTAL ASSESSMENT FAILED TO
                    ADEQUATELY ASSESS CUMULATIVE IMPACTS

228.   40 CFR §1508.12 defines "cumulative impacts" as "the impact on the

environment which results from the incremental impact of the action when added to other past,

present and reasonably foreseeable actions regardless of what agency (federal or non-federal) or

person undertakes such other actions. Cumulative impacts can result from individually minor but

collectively significant actions taking place over a period of time."

229.   Courts have emphasized the importance of discussing cumulative impacts in

environmental impact statements. Kern v. United States, 284 F.3d 1062 (9 th Cir., 2002) An EA

fails to satisfy the requirements of NEPA if it does not contain an adequate evaluation of the



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cumulative impacts of a project. See Natural Resources Defense Council, Inc. v. United States

Army Corps ofEngineers, 457 F.Supp.2d 198, 230-31 (S.D.N.Y.2006); Sierra Club v. Bosworth,

352 F.Supp.2d at 925-27; and Wyoming Outdoor Council Powder River Basin Resources

Council v. United States, 351 F.Supp.2d 1232, 1243 (D. Wyo. 2005). "Evidence is increasing

that the most devastating environmental effects may result not from the direct effects of a

particular action, but from the combination of individually minor effects of multiple actions over

time." CEQ, "Considering Cumulative Effects Under the National Environmental Policy Act", p.

1.

             The EIS' Geographic Scope of Cumulative Impacts is Too Restrictive

230.    In analyzing cumulative impacts, it is first necessary for an agency to identify the

geographic area within which a project's cumulative impact on environmental resources may

occur. The choice of an analysis scale must represent a reasonable decision and cannot be

arbitrary. An agency must provide support for its choice of analysis area and must show that it

considered the relevant factors. The geographical scope is not necessarily limited to the project's

geographical boundaries. Nor is it limited to other administrative or political boundaries. Instead,

demarcation of the boundaries requires a complicated analysis of several factors, such as the

scope, magnitude and type of the project considered in relation to other past, current and future

project, the area of potential cumulative effects, and other related issues.

231.   The EA in this case did not make clear the geographic area within which it chose to

conduct the cumulative impacts analysis. The EA attempts to limit the cumulative impact

analysis to only the immediate area of the 30 Corridor or the "study area" around the Corridor.

The 30 Corridor Project, in conjunction with past, current and reasonably-certain future highway

projects will have potentially significant impacts on air quality throughout central Arkansas and



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on travel and transportation in south-southwestern United States. Such a narrow designation of

geographic area defeats the purpose of a cumulative impact analysis and renders the EA and the

resulting FONS! to be invalid.


                          The EA Failed To Provide A Detailed Catalogue of Past,
                          Current and Future Projects That Have Or Could Combine
                          With The lntermodal Project To Cause Cumulative Impacts

232.   A starting point for assessment of cumulative impacts in an EA is for the preparer to

prepare a catalogue of past, current and future projects or sources reasonably certain to occur as a

source of information regarding the environmental impacts from those sources that currently

exist, under development, or that may be developed.

233.   An EA's analysis of cumulative impacts must give a sufficiently detailed catalogue of

past, present, and future projects, and provide adequate analysis about how these projects, and

differences between the projects, are thought to have impacted the environment. General

statements about "possible effects" and "some risk" do not constitute a "hard look" absent a

justification regarding why more definitive information could not be provided. Some quantified

or detailed information is required.

234.   The EA provides no catalogue of past, current and future projects (sources) reasonably

certain to occur as a source of information regarding the environmental impacts, and failed to

take a "hard look" at the cumulative effects of those projects and sources that were identified

with the effects of the proposed 30 Corridor Project. The cumulative effects analysis is deficient

and should be remanded to the Defendants with instructions to conduct an EIS.




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                        The EA Fails To Address Cumulative Impacts
              Of Simultaneous Current Projects on Three Interrelated Interstates

235.    As noted above, at least three (3) major projects involving the interstate highway system

in Little Rock-North Little Rock are planned and in the development stage, and if they all are

implemented as planned by ArDOT, their construction will overlap. Those areas are the 30

Corridor Project (including the removal and replacement of the 1-30 bridge), the widening ofl-

630 between University Avenue and Baptist Medical Center, and the widening of Highway 10

between Pleasant Valley Drive and Pleasant Ridge Road, with modifications to the 1-430

Interchange with Highway 10. Further expansion ofl-630 and 1-30 south of the 30 Corridor

Project area are in the planning and development stages.

236.    All of these Interstates and State Highway 10 are major traffic arteries, carrying tens, if

not hundreds of thousands of vehicles per day in and through Little Rock and North Little Rock.

There is no question that they are part of "past, current or reasonably foreseeable actions," and

clearly fall within the definition of "cumulative impacts" set forth above.

23 7.   The indirect and cumulative impacts on the human environment of conducting all three of

those major projects with substantial overlap of construction was not mentioned in the EA. In

addition, the cumulative impacts of all three projects (assuming they are completed) in the future

was not discussed and analyzed.



        The EA Fails to Analyze the Cumulative Impact of Completion of Interstate 57
             And the Additional Traffic That Would Be Added to the 30 Corridor

238.    The Defendants propose to expand and include the present U.S. Highway 67/167 that

intersects Interstate 40 in North Little Rock in the interstate system as Interstate 57. As proposed,

and as relevant to this Complaint, 1-57 would run from St. Louis, Missouri through northeast



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Arkansas and along the current Highway 67/167 corridor to Little Rock-North Little Rock,

where it would merge with the current I-40 and I-30. Signs have been posted by ArDOT and/or

FHWA on Highway 67/167 stating that it is "Future I-57".

239.     The expansion of Highway 67/167 into I-57 would likely result in a dramatic increase in

automobile and truck traffic on I-30 and I-40, and would have significant cumulative impacts on

those two existing interstate highways and the 30 Corridor area. However, the EA does not

mention this proposed development.

240.     The failure of the Defendants to consider and analyze the potential cumulative effects of

future 1-57 is a violation of NEPA, and should require the FONSI and the underlying EA to be

voided and this matter remanded to the Defendants.


                                            COUNTll.

                             Effect of Replacement of the 1-30 Bridge

241.     Each alternative in the EA assumes that the existing 1-30 Bridge will be demolished and

replaced. Aside from its age and deteriorating condition, the major objection to the existing

bridge is that it contains a pier or support that is located in the middle of the shipping channel in

the Arkansas River, and presents a hazard for barges and other vessels navigating the Arkansas

River.

242.     However, there is nothing in the EA or any of its Appendices that discusses reasonable

alternatives to the bridge design as proposed in Alternatives 1 and 2, or indirect and cumulative

impacts of the demolition and reconstruction of the bridge. It is apparently assumed in the EA

that such action is necessary, desired and beneficial.

243.     There are reasonable alternatives to the demolition and replacement of the I-30 bridge as

proposed by the design contained in Alternatives 1 and 2 that should be analyzed. In addition, the


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demolition and replacement of the bridge will have its own indirect and cumulative impacts on

the use of the Arkansas River by barge traffic, on the possible development of additional barge

terminals on the River, and on noise, air quality, employment and safety of persons in central

Arkansas. Those potential impacts have been ignored in the EA.



                                            COUNT 12.

                    Violation of the Federal Transportation Act Section 4 (j)
                                49 u.s.c. § 303; 23 u.s.c. §138

244.   Plaintiffs reassert and reallege each of the preceding paragraphs as if set forth herein.

245.   Section 4(t) of the Federal Transportation Act prohibits the FHWA from approving any

project that requires the use of publicly owned parkland, recreation areas, or wildlife and

waterfowl refuges of national, state, or local significance unless (1) there is no prudent and

feasible alternative to using such land and (2) the project includes all possible planning to

minimize harm to the parkland. 49 U.S.C. § 303(c); 23 U.S.C. § 138; 23 C.F.R. Part 774. The

"no feasible and prudent alternative" 4(t) standard allows less discretion for an agency to reject

alternatives than under NEPA. An adequate Section 4(t) evaluation must be performed before

approval of any use of Section 4(t) property.

246.   ArDOT and FHWA have failed to adequately conduct the above 4(t) analysis related to

use of publicly-owned land which lies immediately adjacent to the west of the Project at

McArthur Park, the use of publicly-owned land at the Clinton Center, the use of publicly-owned

park land at the River Market area of Little Rock, and the use of publicly-owned land at the

Riverside Park area of North Little Rock.




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24 7.   The Project will use the above-named parklands, both through constructive use from the

Project causing indirect significant and adverse impacts to those lands, and through actual use

including physical impacts on and to those lands. Such "use" includes increased noise from both

1-30 and 1-630, both during construction of the 30 Corridor Project (including the changes to the

interchange), and the impacts on air quality in MacArthur Park, Clinton Park, the River Market

and Riverside Park.

248.    In violation of Section 4(t) of the Federal Transportation Act, ArDOT and FHWA have

not considered if there is no prudent and feasible alternative to using the lands of those public

parks, and have not done all possible planning to minimize harm to said park lands.



                                           COUNT 13.

               Defendants Failed To Respond to Significant Public Comments

249.    40 CFR 1502.9(b) provides that "Final environmental impact statements shall respond to

comments as required in part 1503 of this chapter. The agency shall discuss at appropriate points

in the final statement any responsible opposing view which was not adequately discussed in the

draft statement and shall indicate the agency's response to the issues raised." This requirement

also applies to preparation of responses to environmental assessments.

250.    There has been no appropriate response to numerous comments made by the public and

public officials, nor has the EA otherwise addressed or even acknowledged these

concerns. There were many substantive, well-reasoned comments that ArDOT ignored or chose

to respond to with gross generalizations. Examples of this violation include:

               The CARTS Study Director pointed out the EA's failure to address the 1-30
               eastbound/1-40 eastbound bottleneck in the 8-Lane Alternative (1874/7100) but a
               review of the response codes (F-4, G-4, G-5, G-6, F-1, F-7, J, and 1-12) shows no
               response to this particular point.

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               None of the following comments from the CARTS Study Director on page
               1875/7100 were addressed:

                       "To present a complete picture of alternatives and their impacts, the
                       Department should do the following:

                       (1) for the bottleneck in the PM peak under the eight lane alternative, add
                       one additional lane north and east bound from Broadway onto 67/167 (as
                       included in the ten lane alternative); then rerun the simulations, and

                       (2) Rerun the simulations of all alternatives without assuming the
                       widening ofl-30 to 8 lanes from the South Terminal to 65th Street, and (3)
                       Compare the performance of the alternatives as altered above and make
                       the results of those runs available to the public, and

                       (4)Make available to the public the AM Simulation and 3D models of the
                       Alternatives presented at the Public Hearing and both the AM and PM
                       peak model runs for the variations identified above. Then the public and
                       decision-makers will have a full range of possibilities to consider."

               Nor was any response made to the CARTS Study Director's comment on page
               1875/7100 regarding the Highway 10/1-30 Interchange, which stated in part: "

                       This intersection has a high pedestrian accident rate and has been
                       mentioned as critical to the City and the health of the River Market. None
                       of the alternatives has yet proposed an acceptable solution to this
                       problem. To insure pedestrian safety, options should be considered that
                       decrease through vehicle traffic at this intersection, eliminate pedestrian
                       and vehicle conflicts, and incorporate a pedestrian all-walk phase into the
                       signal timing. . ... "


251.   The Environmental Assessment, and the resulting Finding of No Significant Impact

issued by the FHWA, fail to comply with the requirements of NEPA as described above and as

will be more specifically described in the Plaintiffs' Brief in Support of their Motion for

Preliminary Injunction to be filed herein. The acts of the Defendants in preparing and issuing the

FONSI and the underlying EA should be declared to be arbitrary, capricious and otherwise not in

compliance with law, those documents declared to be null and void, and they should be

remanded to the Defendants with instructions that if they continue to develop plans for

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development and construction of the 30 Corridor Project, that such plans and development be

performed in accordance with all requirements of NEPA, the Federal Highway Act, as amended,

all regulations implementing such statutes, Executive Orders 12898 and 11988, and all other

applicable laws, regulations and orders.


                                   REQUEST FOR RELIEF

        WHEREFORE, Plaintiffs respectfully pray for an Order:

   1.      declaring the Finding of No Significant Impact issued by Defendant, Angel L.

           Correa, State Director of the Defendant Federal Highway Administration

           dated February 26, 2019, based upon an Environmental Assessment prepared

           by the Defendant, Arkansas Department of Transportation dated June 8, 2018,

           to be null and void, and of no effect;

   2.      granting preliminary and permanent injunctions against the Defendant,

           Arkansas Department of Transportation, the individual defendant, Scott

           Bennett, Director, Arkansas Department of Transportation, his successor or

           subordinates, the Federal Highway Administration, and Angel L. Correa,

           Division Director of the Arkansas Division of the Federal Highway

           Administration, his successor or subordinates, from implementing or allowing

           the implementation of the 30 Corridor Project as authorized by the FHWA's

           FONSI;

   3.      requiring the revocation of any permits issued to ArDOT for dredge and fill

           activities on any portion of the 30 Corridor Project under Section 404 of the

           Clean Water Act;




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4.    remanding this matter to the Defendants with instructions that they not take

      any action on the 30 Corridor Project until they have developed a complete

      and funded proposal for all portions of the entire proposed project so it may be

      assessed pursuant to NEPA;

5.    directing the Defendants or their successors to prepare any future

      environmental documentation regarding the proposed 30 Corridor Project in

      accordance with the requirements of NEPA and its implementing regulations,

      and all other applicable laws, regulations and policies;

6.    Awarding plaintiffs their costs of litigation, including but not limited to,

      attorneys' fees, consultants' and expert witness fees, and costs as permitted by

      28 U.S.C. §2412 and Rule 54(d), Federal Rules of Civil Procedure; and

7.    Awarding such other legal, equitable and proper relief as may be just and

      proper.

                                         Respectfully submitted,

                                         WILLIAMS & ANDERSON PLC



                                         By:
                                                  ichard H. Mays (
                                                 Heather Zachary (AR Bar 2004
                                                 Stephens Building-22nd F
                                                 111 Center Street
                                                 Little Rock, AR 72201
                                                 rmays@williamsanderson.com
                                                 hzachary@williamsanderson.com




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0
U.S. Depar trnent                            Arkansas Division                           700 W Capitol Ave
of Transportation                                                                                Room 3130
Federal Highway                                                                Little Rock, AR 72201-3298
Administration                                February 26 , 2019                       501-324 -5625(Office)
                                                                                         501 -324-6423(Fax)




Mr. Sco tt Bennett, Director
Arkansas Department of Transportation
P.O. Box 2261
r,ittl e Rock , Arkansas 72203 -226 1

Subject: 1-530 - I lwy. 67 (Wideni ng & Rcconstr.)(1-30 & l-40)(F)
Pulaski County, J\RDOT Job Number CA0602
f-AP Number NHPP-030-22(68)

Dear Mr. Bennett:

J\s requested in Mr. John Flemi ng's letter of f-ebruary 19 20 19, \ VC ha ve determined that thi s project
will have no significant impac t on the environment.

The Finding of No Significant Impact (FONS I) is based on the results of the environmental assessme nt
(EA). The EA has been independently eval uated and dctennined to adequately and acc ura tely discuss
environ mental issues and impacts of the proposed project. It provides suffic ient evidence and analysis
for determining that nn environ mental impact statement is not required. You may proceed to fin al
design of the selected alternative. If yo u have any questions or would like to discuss, please contact
me at 501-324-5625.


                                                   Sincerely,




                                              kd~  ~ngcl L. Correa
                                                   Division J\clrninistrator


Enclosure




                                                      EXHIBIT
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                                ARKANSAS DEPARTMENT OF TRANSPORTAT ION
                                     ARDOT.gov    I IDriveArkansas.com I Scott E. Bennett, P.E., Director
      ARKANSAS DEPARTMENT
                                            10324 Interstate 30   I P.O. Box 2261 I Li ttle Roc k.AR72203-2261
      OF TRANSPORTATION                          Phone: 501.569.200 0 I Vo ice/ TTY711 I Fax: 501.569.2400




                               February 19, 2019


Mr. Angel Correa
Division Administrator
Federal Highway Administration
700 West Capitol, Room 3130
Little Rock , Arkansas 72201 -3298


                                           Re : Job Number CA0602
                                                FAP Number NHPP-030-22(68)
                                                1-530 - Hwy. 67 (Widening &
                                                   Reconst. ) (1 -30 & 1-40 ) (F)
                                                Pulaski County
                                                Revised FONS I Request

Dear Mr. Correa:

An Environmenta l Assessment (EA) for the referenced project was approved for
public dissemination on June 8, 2018, and a Location and Design Public Hearing
was held on July 12, 2018.

To address you r comments and provide additional information , we have included                                  I
a revised Disposition of Comments, EA with errata sheet, and updated Find ing of                                 ti
No Significant Impact (FONSI ) document for your review and approval, if
acceptable. A review of the project and its impacts indicate that its construction                               I
will have no significant impact on the environment.

If you have any questions, please contact the Environmental Division at
569-2281 .

                                           Sincerely,


                                        ~1~John Fleming
                                           Division Head
                                           Environ menta l Division

Enclosures
JF:DN:fc
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Finding of No Significant Impact
FAP Number NHPP-030-22(68)
ARDOT Job Number CA0602
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                 FEDERAL HIGHWAY ADMINISTRATION
                  FINDING OF NO SIGNIFICANT IMPACT
             1-530- Hwy. 67 (Widening & Reconstr.)(1-30 & I-40)(F)
                      F.A.P. NUMBER NHPP-030-22(68)
                       ARDOT JOB NUMBER CA0602
                      PULASKICOUNTY,ARKANSAS

Upon consideration of the Federal Highway Administration (FHWA) approved
Environmental Assessment (EA), public comments, and other considerations as contained
in the following discussion, the FHWA has determined that the Preferred Alternative for
the Widening and Reconstruction of 1-30 and 1-40 from 1-530 to Hwy. 67 (the 30 Crossing
project), will have no significant impact on the human or natural environment and hereby
issues a Finding of No Significant Impact (FONSI) pursuant to 23 CFR 77l(a).

The project is located in the Central Arkansas Regional Transportation Study (CARTS)
area, which includes all of Faulkner, Pulaski, and Saline Counties, as well as portions of
Lonoke County (Figure l ). Pulaski County is part of the Little Rock-North Little Rock
Metropolitan Statistical Area (MSA) that is the political, economic, and transportation
center of the state of Arkansas. Little Rock is the state capital and largest city (population
of 193,524 according to the 2010 Census) in Arkansas, also serving as the county seat of
Putaski County. Little Rock is a regional employment center, with some of the major
employers being the State of Arkansas, City of Little Rock, the federal government, and the
University of Arkansas for Medical Sciences. North Little Rock had a population of 65,538
according to the 20 IO Census, and also is home to several large businesses including the
Union Pacific Railroad (UPRR). The project area is urbanized and primarily comprised of
commercial and residential propctties. There are undeveloped wetland areas in the southern
and n01thern portions of the project area. Some of the prominent community features in the
project area are the Verizon Arena, William J. Clinton Presidential Center and Park, Heifer
International, and Little Rock River Market.
The 1-30 corridor generally consists of three main lanes in each direction with parallel one-
way discontinuous frontage roads on each side of the interstate within the right-of-way
along the outer edge. In the northern portion of the project area, the 1-40 corridor consists
of three to four main lanes in each direction with parallel one-way frontage roads on each
side of the interstate between the 1-30/1-40 interchange and North Hills Boulevard (Blvd.).
Within the project area, both 1-30 and 1-40 are classified as interstates, which are the highest
classification of principal arterials. Within the 7.3-mile corridor, there are four system
(connections between interchanges) interchanges:
    •   l-30 with   1-530 and 1-440
    •   1-30 with   1-630
    •   l-30 with   1-40
    •   l-40 with   Hwy. 67/167
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finding of No Signific ant Impac t
FAP Number NHPP-030-22(68)
J\RDOT Job Number CA0602
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                               Figure 1: Project Location Map




                                                           -         lntlkstatet and Freeways
                                                                     Project l imits

                                                                0    MoJo, lnlorchongo
                                                                     Improvements
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ARDOT Job Number CA0602
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1-30 serves state and regional traffic passing through Little Rock and North Little Rock, but
also provides significant local access to the downtown areas. [-30 and I-40 are the most
highly traveled roads in Arkansas. Within the project area, the busiest roadway segments
arc 1-40 west of North Hills Blvd and l-30 at the Arkansas River Bridge. Approximately
18% of the traffic is "through" traffic, which consists of vehicles moving through the project
area that have both an origin and destination outside of the project area. Of the travelers
within the project area coming from the north, more than halfare destined for the downtown
area of North Little Rock and Little Rock. More than one third of the daily traffic consists
of "local'' traffic, residents of Little Rock or North Little Rock using the 1-30/1-40 corridor
to travel to destinations within the project area. Daily truck traffic in the project area varies
from 6% on I-30 at the Arkansas River Bridge to 9% on 1-40. 1-40 is an important freight
corridor.
During the morning peak hour of 7: 15-8: 15 AM, l-40 westbound between Hwy 67 and 1-
30; and 1-30 southbound from 1-40 to downtown Little Rock; have high levels of congestion,
with speeds significantly reduced and delays almost twice as long as free flow travel. 1-30
northbound from the 1-530/1-440 interchange to the 1-630 interchange, is also highly
congested in the morning peak hour. In the afternoon peak hour of 4:30-5:30 PM, 1-30
northbound between 1-630 and 1-40 is highly congested, with delays and reductions in
speed. 1-30 southbound approaching the 1-530/l-440 interchange is also highly congested in
the afternoon peak. Both 1-30 and 1-40 have pavement that is in need of rehabilitation and
geometrical deficiencies, including ramp lengths that are too short, interchanges that are too
close together, curves that are too sharp, left exits, and shoulders that are missing or not
wide enough. Traffic congestion and these roadway geometric deficiencies have contributed
to crash rates that are substantially higher than the statewide average for similar freeways,
with a high number of serious ittiury and fatal crashes. In addition, the I-30 Arkansas River
Bridge is structurally deficient and has a substandard horizontal navigational clearance due
to a pier that obstructs the navigational channel.
The purpose of this project is to increase the safety of vehicular traffic on l-30 and I-40 by
correcting geometric deficiencies, improve the condition of the roadway by modernizing
infrastructure and maintaining a state of good repair, improve navigational safety on the
Arkansas River, correct the 1-30 Arkansas River Bridge deficiencies, and reduce traffic
congestion by improving mobility on 1-30 and 1-40. The intent of the project improvements
is to provide for increased travel speed and reduced travel time to downtown North Little
Rock and Little Rock as traffic demand increases in the future. The 1-30 Arkansas River
Bridge would be replaced with a new structure, correcting the functional and structural
deficiencies and navigation safety issues. The data contained in the EA supports the need
for the project, given both existing conditions and those projected for 2041.

This FONSI is based on FHWA's independent evaluation. The information contained in
the EA has been determined to adequately and accurately discuss the need. environmental
issues, and impacts of the proposed project and appropriate mitigation measures. The EA
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and its supp01ting documentation reflect the extensive amount of alternative evaluation and
public involvement performed by the study team, represented by the 18 appendices,
totaling 7100 pages. The actual body of the EA is 123 pages, of which 51 pages arc graphics
intended to make the alternatives evaluation process easier for the public to understand. Of
the appendices, the lengthiest arc the Hazardous Materials Report (Appendix L). the NEPA
Public Involvement Summary (Appendix E), and the IJR Traffic Results and Safety
Analysis (Appendix B), which together account for over half of the total pages. The
information presented in the appendices, and summarized in the EA, provides sufficient
evidence and analysis for determining that no impacts identified would cause any
significant adverse effects to the human or natural environment. Determination of no
significant impact is sufficient cause for determining that an Environmental Impact
Statement is not required.

Project History

Since 2002, Metroplan has reported that heavy congestion levels exist on I-30 and I-40 and
recommended interchange improvements at I-30/1-630, 1-40/1-30 and I-40/Hwy. 67. Up
until January 2012. it also reported the need to widen l-30 and 1-40 to ten lanes from 1-630
to Hwy. 67/167 as indicated in Metroplan's Congestion Management Process Reports.
Furthermore, the same recommendation was indicated in the 2003 Central Arkansas
Regional Transportation Study· -Areawide Freeway Study.

The National Environmental Policy Act (NEPA) Study incorporated the results of the
Planning and Environmental Linkages (PEL) Study begun in April 2014 by ARDOT. The
PEL Study was conducted in accordance with 23 CFR 450 and followed the FHWA
Guidance on Using Corridor and Subarea Planning to Inform NEPA. This coordination of
planning and NEPA efforts is consistent with congressional legislation intended to reduce
duplication and improve decision-making. State, local, tribal and Federal agencies were
involved in the PEL study and the public was given extensive opportunity to comment. At
the beginning of the PEL study, a Technical Working Group (TWG) consisting of
representatives of 3 7 agencies, including FHW A, the Cities of Little Rock and North Little
Rock, Pulaski County, Metroplan, the Central Arkansas Transit Authority, regulatory and
resource agencies, as well as the cooperating agencies, the U.S. Army Corps of Engineers
(USACE) and U.S. Coast Guard (USCG).

The PEL Study identified the purpose and need for improvements to 1-30 and 1-40 and
evaluated possible viable alternatives to carry forward into the NEPA Study. The PEL Study
involved evaluation of a wide range of potential solutions including highway build
alternatives, other modes (transit, rail), congestion management and bridge rehabilitation
and replacement alternatives. Because of the close proximity of the 1-30/Broadway,
1-30/Hwy. I 0, and I-30/1-630 interchanges to the Arkansas River Bridge, replacement of the
bridge and correction of its structural and geometric deficiencies cannot be done in isolation
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from improvements to I-30. Additional capacity was determined to be needed in the
downtown areas of Little Rock and North Little Rock in order to promote connectivity
across the Arkansas River. In addition, simply replacing the Arkansas River Bridge would
not solve the roadway geometric issues that contribute to safety and congestion issues on I-
30 and l-40 corridors. Consequently, bridge replacement was considered as part of the
highway build alternatives, rather than the No Action Alternative. Representatives of the
USCG worked closely with the study team to establish criteria for replacement of the
Arkansas River Bridge, including horizontal and ve11ical clearances. Input from USCG,
USACE and the shipping industry helped the study team identify the hazard caused by the
existing bridge piers and guided preliminary bridge concepts, which removed the piers out
of the shipping channel.

The study team used extensive outreach, including four public meetings, to solicit
suggestions from the public for alternatives that could improve I-30. All alternatives
proposed by the public were considered. Among the issues that the public raised during the
PEL that were later incorporated into the project alternatives were weaving issues
associated with the left exits and the Cm1is Sykes interchange, and the need to look at
alternatives for the Hwy. IO interchange (EA Appendix D: PEL Public Involvement
Summary, pp. 1007-1023, 1053-1059, and 1084-1089). The study team developed a
screening methodology for evaluating these alternatives based on effectiveness in meeting
the purpose and need for the project, environmental impacts and costs. The results of the
screening process were presented to the public and suggestions for improvements to the
alternatives were received. At the conclusion of the PEL, the study team presented a
recommendation to the public: the I 0-lane Downtown Collector/Distributor (C/D)
alternative. The PEL recommendation included the addition of main lanes, main lane
widening, CID roads, complementary alternatives, and the replacement of the Arkansas
River Bridge. On August 6, 2015 FI-IWA concurred that the decisions and
recommendations made during the PEL Study could be utilized and advance into the NEPA
process. Prior to the stai1 of the NEPA process and at the request of Metroplan, FHWA
decided to carry the 8-Iane General Purpose Alternative, a second highway build alternative
that had been screened out during the PEL study, forward into NEPA.

The NEPA Study began in 2015 with the purpose of evaluating the environmental effects
of the alternatives and to determine if an Environmental Impact Statement was warranted.
Alternatives analyzed included the No-Action Alternative; two corridor improvement
alternatives that included the I 0-lane Downtown CID (renamed as 6-Lane with CID), and
the 8-lane General Purpose; and additional corridor improvement alternatives suggested by
the public during the two public meetings and extensive outreach activities that were
conducted as part of the NEPA public involvement process.
Of the numerous interchange alternatives for the Hwy. IO interchange that were evaluated,
the two that were rated the highest based on performance measures, cost, and environmental
impacts, were the At-Grade Single Point Urban Interchange (SPUI) and Split Diamond
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Interchange (SDI). Ilased on comments from the public and the City of Little Rock, the At-
Grade SPUI was elevated and realigned in order to allow the River Rail Streetcar to
continue to operate on East 3rd Street, after which the interchange option was known simply
as the SPUI. In response to public comments, the SDI was revised to prevent an increase
in tratlic within the MacA11hur Park National Register of Historic Places (NIUIP) Historic
District, a residential area extending from I-630 to Capitol Avenue. The revision prevented
an increase in traffic in MacArthur Park, and improvements to local roadways within
MacArthur Park are no longer needed. These two Hwy. IO interchange options were shown
to the public at Public Meeting 6 and were carried forward for consideration in the EA as
independent Action Alternatives, under both corridor improvement Action Alternative I
(8-Lane General Purpose) and corridor improvement Action Alternative 2 (6-Lane with
CID). The four Action Alternatives are therefore:
        • Action Alternative IA: 8-Lane General Purpose with SPUI at Hwy. 10
        • Action Alternative I B: 8-Lane General Purpose with SDI at Hwy. IO
        • Action Alternative 2A: 6-Lane with CID with SPUI at Hwy. IO
        • Action Alternative 20: 6-Lane with CID with SDI at Hwy. IO.

The Interdisciplinary Staff, composed of representatives from various disciplines of
ARDOT, considered information contained in the EA, and public comments received
during the public involvement process before recommending Alternative 28 as the
Preferred Alternative, as shown in Figures 2-5. Alternative 2B meets the project's purpose
and need, minimizes overall impacts, and balances the benefits versus the overall impacts.
The Preferred Alternative is 7.3 miles in length with an estimated cost of between $615
and $700 million. The identified method of delivery of the project is design-build to a
budget. The design-builder will work to maximize the amount of project scope that can be
delivered for fixed budget of $535 million. In the event the Design-Build firm cannot
provide the full project scope for the fixed budget, additional construction projects will be
programmed and contracts will be let at a future date to complete the project scope. .
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                                   Figure 2
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                                      Figure 3




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                                    Figure 4




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The Location and Design Public Hearing was held July 12, 2018. There were 351
comments received. A hard look at these comments was taken and an extensive 261-page
response to the Public Hearing comments was prepared and attached to the EA (Appendix
E). Numerous commenters were opposed to the project and those views were thoroughly
considered to determine if any of them resulted in a need to perform additional analyses or
use a different methodology to evaluate impacts. There were no comments that resulted in
the need for additional or different analyses to determine if the project involves significant
impacts. The analyses performed for the project used the correct methodology and
adequately answered the comments raised by the public. The comment responses consisted
of summarizing the information already present in the EA or EA appendices and referring
the commenters to the locations where it could be frmnd.

Environmental Impacts

All environmental impacts have been evaluated and it has been determined that none arc
significant. Basis for this determination is given below:

Land Use
The land surrounding the pr~ject corridor is heavily urbanized, with primarily commercial
and residential land uses. The proposed project is included in the Fiscal Year 2019-2022
Transportation Improvement Plan developed by Metroplan, ARDOT, and Rock Region
METRO, and is consistent with current and future land use plans. Through coordination
with the Natural Resources Conservation Service, it has been determined that the project
is in a heavily urbanized area with no farmlands.
FHW A finds that the impacts to land use are not significant.
Social
-  -

Community Facilities/Services. The Preferred Alternative does not require any right of way
from a community facility. The Arkansas River Trail passes through 1-30 right of way on
both sides of the Arkansas River. The Trail will remain open during construction, although
temporary re-routing may be necessary at times, as discussed in Section 4(f) Impacts. The
Preferred Alternative includes improvements to interchange ramps, frontage roads, and
cross streets, including bicycle and pedestrian accommodations that would improve access
to public facilities and improve emergency services response time.
Neighborhood and Community Cohesion. The Preferred Alternative would have a
beneficial effect on the communities of Little Rock and North Little Rock. The Preferred
Alternative would result in relatively few displacements: six residential and five business
displacements are anticipated. The C/D system would improve community cohesion by
improving connectivity across the Arkansas River, and the improved frontage roads would
enhance access between East 3n1 Street, East 4 th Street, and Capitol Avenue. The removal
of the existing Hwy. 10 interchange and spur connecting 1-30 to Cumberland Street would
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change travel patterns in downtown Little Rock and provide a visual enhancement by
creating potential green space. In addition, improvements to make the area safer for
pedestrians and bicycles are part of the Preferred Alternative. Public comments indicated
concern that these improvements would have a detrimental impact on downtown Little
Rock; however, the City of Little Rock and Little Rock Chamber of Commerce believe
that the Preferred Alternative will have a beneficial effect. Based on this input, the effects
of the Preferred Alternative on communities arc considered to be beneficial.
FHWA finds that the social impacts are beneficial.
Environmental Justice
The Environmental Justice analysis has been perfo1med in accordance with the Executive
Order 12898 on Environmental Justice, and FHW A's EJ Order 6640.23A. The analysis is
also in compliance with Title VI of the Civil Rights Act of 1964 which prohibits
discrimination based on race, color, and national origin in any program or activity receiving
Federal assistance. These federal actions provide that "No person in the United States
shall, on the ground of race, color, or national origin, be excluded from participation in, be
denied the benefits ot: or he subjected to discrimination under any program or activity
receiving Federal financial assistance. No person was discriminated against or denied the
opportunity to comment on the proposed project alternatives. During the PEL and NEPA
phases of the project, the team actively solicited the involvement of the minority
communities. Provisions were made for Limited English Proficiency (LEP) persons at all
public meetings. There were community meetings held at venues in minority
neighborhoods, and outreach activities specifically targeted to minority and low-income
communities including flyers, mailings, public service announcements, and newspaper ads.

Neighborhoods adjacent to the 1-30 and 1-40 corridors generally arc minority communities
with low-income populations. Twenty-two of the 62 census block groups in the study area
have median incomes below the poverty guideline. The 2018 poverty guideline is $25, I 00
which is updated periodically in the Federal Register by the U.S. Department of Health and
Human Services under the authority of 42 USC 9902 (2). In other words, approximately
33 percent of the households (7,9 I 9 out of the total 24,335) in the study area are considered
to be low-income. People were living in 1,240 census blocks within the project study area,
877 of which have a minority population greater than 50% of the total population. For the
total project study area, the minority population consists of approximately 59% of the total
population; therefore, the population is predominantly minority for the entire study area.
Minority populations are defined by Executive Order 128989 and are discussed in the
Community Impacts Technical Report.

The right of way being acquired for the project requires relatively few relocations
considering the highly developed 7.3-mile corridor; however, one business relocation and
six residential relocations are within a high minority neighborhood. The relocations are
necessary in order to construct a bridge across the Union Pacific Railroad (UPRR). This
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bridge will be beneficial to the community by connecting the separated segments of
Cypress Street. Cypress Street would then become a one-way southbound frontage road
with provisions for bicyclists and pedestrians. The new frontage road would benefit the
minority neighborhoods located north and south of the UPRR, which have been historically
separated by the railroad, by increasing connectivity. These relocations are not considered
disproportionately high and adverse to Environmental Justice populations, because these
relocations (one business and six residences) are located within one EJ census block. The
other four business relocations are located within non-EJ census blocks. No other
displacements are anticipated within the remaining 876 census blocks with minority
populations greater than 50 percent of the total population. Furthermore, no displacements
are located within low-income areas.

Noise impacts would potentially occur along the entire corridor, including the areas of
minority and/or low-income populations, and would affect all users of the facility. To
address these impacts, potential noise abatement measures could include construction of
tranic noise barriers, which would minimize and mitigate the potential noise impacts
resulting from the proposed prqject alternative. An evaluation of noise abatement measures
was conducted for the Preferred Alternative. Three potential traffic noise barriers were
found to meet ARDOT criteria for feasibility and reasonableness and are therefore
warranted. All three locations are within EJ population areas. These potential traffic noise
ba1Tiers would benefit a total of253 receptors. This project will be constructed as a design-
build project. For design-build projects, design of design-build noise abatement measures is
based on the preliminary noise abatement design developed during the noise analysis and re-
evaluated during the prqjcct's final design.

The access changes with the Action Alternatives discussed above in the area of the Curtis
Sykes Drive and the Hwy. 10 Interchange would occur in areas of high minority and/or
low-income populations. Access would not be eliminated, merely shifted in location. Refer
to the Community Impacts Technical Report (EA Appendix F) for additional discussion on
access changes within the prqject limits.

Based on this information, FHWA finds that the Preferred Alternative would not have
dispropot1ionately high and adverse effects on minority and low-income populations and
finds that the impacts would not be significant.
Historic Properties
A cultural resources survey has been conducted for the project. The investigation into
historic resources determined that the project is in close proximity to seven historic
districts, and 136 properties that are listed on or eligible for the NRI IP, including the North
Locust Street Overpass. The North Locust Street Overpass, which is eligible for the NRHP,
and protected under Section I 06 of The National Historic Preservation Act of 1966, is
structurally deficient and must be replaced. The FHWA, in consultation with the State
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Historic Preservation Officer (SIIPO) and the Advisory Council on Historic Preservation
(ACHP), has determined the proposed actions will have an adverse effect on the North
Locust Street Overpass. Therefore, FHWA, the SHPO and the ACHP executed a
Programmatic Agreement (PA) to resolve the adverse effect on the North Locust Street
Overpass, as well as to prevent any unforeseen impacts upon any other archeological or
historic sites identified in the EA as potentially eligible to the NRHP (Appendix 2). The
SHPO concurred with FHWA 's determination that the project "will not indirectly or
cumulatively adversely affect the Historic Properties or Districts due to noise, changes in
traffic patterns or volume and construction staging."
As a result of the archaeological investigation, seven new archeological sites were
identified and recorded and a previously recorded but unevaluated archeological site was
revisited. None of the newly recorded archeological sites were recommended as eligible
for inclusion in the NRHP. No further archeological identification work was recommended
for the currently planned project area. FHWA developed a PA in consultation with the
SHPO and ACHP because some details of the project cannot be determined until final
design. The PA includes an Unanticipated Discovery Plan (UDP) that specifies procedures
to be followed if cultural resources arc discovered during construction. If prehistoric sites
are impacted, FHWA-led consultation with the appropriate Native American Tribe(s) will
be conducted and the site(s) evaluated to determine if Phase II testing is necessary. Should
any of the sites be determined as eligible or potentially eligible for the NRHP and
avoidance is not possible, the PA includes procedures for the preparation of site-specific
treatment plans and data recovery. All off-site areas, such as borrow pits, waste areas, and
work roads, will be surveyed for cultural resources when locations become available.
FHWA and ARDOT developed a Design Coordination Plan to establish procedures for
coordination with SHPO and other interested parties should design changes occur that may
affect historic properties. A Mitigation Measures Plan has also been developed to resolve
any adverse effects resulting from unanticipated effects on historic properties. The PA is
attached as Appendix 2.
FHWA finds that impacts to historic resources are not significant.
Section 4(0
The proposed action will use the North Locust Street Overpass, which is eligible for the
NRHP and is protected under Section 4(/) ofthe Department of Transportation Act of I 966,
as amended. Alternatives including the No-Action, building a new structure on a new
location and retaining the existing structure, and rehabilitating the existing structure were
evaluated. It was determined that none of these alternatives arc feasible and prudent. A
Programmatic Section 4(f) Evaluation has been prepared to document that the North Locust
Street Overpass can be demolished, subject to the agreement that mitigation to document
the bridge will be provided to the Arkansas Historic Preservation Program.
The Preferred Alternative will require acquisition of right of way from three publicly-
owned parks which are protected under Section 4(t): North Shore Riverwalk Park, the
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Julius Breckling Riverfront Park. and the William J. Clinton Presidential Center and Park.
In addition, a fourth park, MacArthur Park, is close enough to be evaluated for noise
impacts. The Preferred Alternative will not have noise cffocts on any of the four parks.
FHW A has evaluated the effects of the Preferred Alternative on the North Shore Rivcrwalk
Park, the Julius Breckling Riverfront Park, and the William J. Clinton Presidential Center
and Park and determined that they are minor and will not harm the contributing features,
assets, or activities that qualify the parks for protection under Section 4(f). Through
consultation with the Cities of 1,ittle Rock and North Lillie Rock, and consideration that
the permanent and temporary impacts to the parks wi II be minimized and mitigated as
described below, FHWA has determined that the impacts of the project constitute a de
minimis effect on the parks.
ARDOT has reached agreements with the City of North Little Rock and the City of Little
Rock, regarding minimization and mitigation of impacts to North Shore Riverwalk Park,
Riverfront Park, and the Clinton Center.
The following measures would be included in the proposed pr~ject to reduce harm to
Riverfront Park and the Clinton Center:

      •     The westernmost stairway connecting President Clinton A venue to the Arkansas
            River Trail in the Clinton Center would be in the proposed right of way and
            would be removed. The stairway would be reconstructed outside the proposed
            right of way by ARDOT. The Arkansas River Trail would remain within ARDOT
            right of way.
      •     The City of Little Rock would be responsible for temporary relocation of the
            statues and benches along the Promenade. Upon completion of the bridge
            widening. the statues and benches could be placed within AR DOT right of way
            under the terms of an air space agreement at a location agreed to by AR DOT, the
            City of Little Rock and the Clinton Center.
      •     There would be temporary impacts to the Bill Clark wetlands to the east of the
            Interstate 30 Bridge. Upon completion of the bridge, the area would be restored
            to its natural contours, stabilized, and allowed to revegetate naturally.
      •     The Preferred Alternative would result in removal of the existing circular ramps
            at the Hwy. IO interchange, as well as removal of the storage building under
            Interstate 30 north of President Clinton Avenue. This alternative would create
            additional open space within ARDOT right of way adjacent to the Clinton
            Center, which would enhance visibility of the Clinton Center.
      •     Temporary closures of the Promenade would be minimized so as to minimize
            disruption and avoid any loss of access to Riverfront Park.
      •     The construction contractor would coordinate activities affecting the Arkansas
            River Trail with the City of Little Rock Parks and Recreation Department
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            through ARDOT. If temporary re-routing of the trail is necessary, a safe detour
            route would be establ ishcd to avoid loss of use of the Trail.
      •    A plan would be created by the construction contractor and submitted to AR DOT
           containing a schedule of temporary closure times for ARDOT right of way
           containing the Promenade and the Arkansas River Trail. A safe detour route for
           the Arkansas River Trail, as specified by the City of Little Rock Parks and
           Recreation Department, would be established and maintained by the
           construction contractor. ARDOT would coordinate with the City of Little Rock
           Parks and Recreation Department to ensure that temporary closure of the
           Promenade and re-routing of the Arkansas River Trail would not occur until
           alternate access is provided.
The following measures would be included in the proposed project to reduce harm to
Riverwalk Park. These measures have been coordinated with the City ofN011h Little Rock.

      •    The pavilion is currently within ARDOT right of way and the City would need
           to move it outside the construction zone prior to construction. Following
           construction, the City may choose to relocate it to another area within the park.
           If the City desires to relocate it back to ARDOT right of way, this could be
           possible under an air space agreement.
      •    The design-builder would work through ARDOT with the City to identify areas
           where parking can be provided within ARDOT right of way.
      •    Re-routing of the Arkansas River Trail would be coordinated through ARDOT,
           with the City of North Little Rock Parks and Recreation Department, to provide
           the park personnel ample time to schedule park activities, including cycling
           events. A safe detour route would be provided.
      •    Access to the area of the Park west of Olive Street would be maintained by
           making the existing entrance-only opening in the flood wall to the west of Olive
           Street a two-way roadway. The area of the Park east of the Locust Street entrance
           would not be affected, as the Locust Street entrance would remain open.
      •    Temporary closure of the boat ramp would be coordinated with the activities of
           the Shcrriff, US Army Corps of Engineers, and with fishing tournaments.
           Alternate access to the River is available at the existing boat ramps at either
           Burns Park, approximately 4 miles upstream in North Little Rock, or Murray
           Park, approximately 5 miles upstream in Little Rock.
      •    A plan would be created by the Design Builder and submitted to ARDOT
           containing a schedule of temporary closure times for the boat ramp and the
           Arkansas River Trail in the construction zone. A safe detour route for the
           Arkansas River Trail, as specified by the City of North Little Rock Parks and
           Recreation Department, would be established and maintained by the Design
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           Builder. AR DOT would coordinate with the City of North Little Rock lo ensure
           that temporary closure of the boat ramp or re-routing of the Trail docs not occur
           until alternate access is provided.
        FHWA finds that impacts to Section 4(() properties are not significant.
Right of Way/Relocation
The project improvements will occur almost entirely within existing ARDOT right of way.
Approximately l 1.1 acres of right of way will be required from 61 parcels. The proposed
project will require six residential relocations and five business relocations. Relocations
will be conducted in accordance with The Uniform Relocation Assistance and Real
Property Acquisition Policies Act of 1970, as amended.
FIIWA finds that the right of way and relocation impacts are not significant.
Air Quality
The project is located in an area that has been designated as being in attainment for the six
criteria transportation pollutants (particulate pollution, ground-level ozone, nitrogen
oxides, lead, carbon monoxide, and sulfur dioxide) for the past 25 years. Therefore, the
conformity procedures of The Clean Air Act of 1970, as amended, do not apply. Following
the procedures in the Interim Guidance Update on Mobile Source Air Toxic Analysis in
NEPA (2012 and 2016 update), a Mobile Source Air Toxic (MSAT) quantitative analysis
was prepared for the Action and No-Action Alternatives for the existing year (2014 ),
opening year (2021 ), and design year (2041 ). AR.DOT consulted with an FHWA expert in
air quality in developing the MSAT analysis methodology and reviewing the results of the
analysis. The amount of MSATs emitted in the region are proportional to Vehicle Miles
Traveled (VMT); however, because of improvements in emissions technologies, total
MSA T emissions will decline over time, even while VMT increases. The same is true of
greenhouse gases (carbon dioxide, nitrous oxide, and methane) emitted by vehicles. Under
both the Action and No-Action Alternatives, total MSAT emissions would be lower than
present levels in the design year.
FHWA finds that the air quality impacts are not significant.
Noise
In accordance with the Title 23 Code of Federal Regulations Part 772, Procedures for
Abatement of Highway Traffic Noise and Construction Noise, a study was conducted to
assess the potential noise impacts associated with the proposed project. A noise analysis
indicates that 224 receptors, including residences, offices, places of worship, cemeteries,
schools/childcares, hotels, active sports areas. and various recreational areas along the
project route are predicted to approach or exceed the noise abatement criteria with the
Preferred Alternative. Of these, 172 receptors currently approach or exceed the noise
abatement criteria, and 168 receptors will approach or exceed the noise abatement criteria
with the No-Action Alternative. The average increase in noise levels with the Preferred
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Alternative is 1.4 decibels. An increase below 3 decibels is considered lo be below the
threshold of human hearing. No receptors experienced a substantial increase in traffic noise
levels with the Preferred Alternative.
Noise abatement measures were evaluated at 15 locations along the proposed route. The
result of the evaluation was that these potential noise wall or berms met ARDOT criteria
for feasibility and reasonableness and are therefore warranted in three of these locations.
These three potential noise walls or berms would benefit a total of 253 receptors. For
design-build prqjects, design of design-build noise abatement measures is based on the
preliminary noise abatement design developed during the noise analysis and re-evaluated
during the project's final design. Noise abatement measures are considered, developed, and
constructed in accordance with this standard (23 CFR 772) and in conformance with the
provisions of 40 CFR 1506.S(c) and 23 CFR 636. 109.
FHW A finds that the noise impacts are not significant.
Water Quality and Aquatic Resources
The proposed project study area spans four ecoregions: Arkansas River Valley, Ouachita
Mountains, Gulf Coastal Plain, and Mississippi Delta. The project area is within the
watershed of the Arkansas River (HUC Code 1111020704), with two major contributing
basins, Lakewood Lakes/Dark Hollow and Fourche Creek. There are fifteen streams within
the project area, totaling 16,63 I linear feet. These streams consist of ephemeral,
intermittent, and perennial channels, some containing multiple types. Most of the natural
stream systems have been altered through channelization, excavation, and straightening for
highway/roadway construction and storm water conveyance. Most of the streams are naiTow
and cross the interstates and highways in the project area via culverts. Fourche Creek is
listed as impaired for dissolved oxygen, turbidity and metals.
Approximately 852 linear feet of streams, out of approximately 16,631 linear feet of
streams in the project area, would be impacted by the Preferred Alternative. The majority
of stream impacts occur to two channelized streams that cross 1-40 or the 1-30/1-40
interchange in the Dark Hollow area of North Little Rock. Permits would be obtained from
USACE for stream impacts. During design, further efforts to minimize stream impacts
would be investigated, and any unavoidable impacts would be mitigated.
Floodways associated with Fourche Creek and the Arkansas River cross the project, and a
floodplain associated with Dark Hollow is located in the 1-30/1-40 interchange area in
No11h Little Rock. It is not practicable to widen the roadway and Arkansas River Bridge
without encroaching on these tloodways and floodplains. In accordance with Executive
Order I 1988 and after consultation with the Cities of Little Rock and North Little Rock,
all practicable measures to minimize harm have been incorporated into the project design
to minimize impacts to floodplains. The project will not support incompatible use and
development of the floodplain. Adjacent properties should not be impacted nor have a
greater flood risk than existed before construction or the job. None of the encroachments
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will constitute a significant floodplain encroachment or a significant risk to property and
life.
The design measures to minimize floodplain impacts are specified in the contract Technical
Provisions. Floodplain encroachment in Dark Hollow and Fourche Creek will he mitigated
by creating floodplain compensation areas in the 1-30/1-40 interchange and I-30/J-440/1-
530 interchange. ARDOT will provide a "no-rise'' certification to Pulaski County for any
unavoidable increases in flood elevations in the Arkansas River. The final project design
will be reviewed to confirm that the design is adequate and that potential risk to life and
property are minimized.
ARDOT will comply with all requirements of The Clean Water Act, as amended, and
Section JO ofthe Rivers and Harbors Act of 1899, for the construction of this project. This
includes obtaining the following: Section 40 I Water Quality Certification; Section 402
National Pollutant Discharge Elimination Permit (NPDES): Section 404 Permits for
Dredged or Fill Material; and approval under Policy and Procedural Guidance for
Processing Requests to Alter U.S. Army Corps ofEngineers Civil Works Projects Pursuant
to 33 USC 408 (Section 408).
FHWA finds that the impacts to water quality and aquatic resources are not significant.
Wetlands and Waters of the U.S.
Wetlands within the prqject area were delineated in conformance with the U.S. Army C01ps
of Engineers (USA CE) Wetland Delineation Manual (Technical Report Y-87-1), the 2010
Regional Supplement to the Wetland Delineation Manual: Atlantic and Gulf Coastal Plain
Region (Version 2.0). The Classification of Wetlands and Deepwater Habitats of the United
States (Cowardin System) was used to classify identified wetlands and watercourses
(Cowardin et al, 1979). Within the project area, there arc 23 jurisdictional wetlands totaling
60 acres associated with Fourche Creek, the Arkansas River, and Dark Hollow. Four
wetland types were identified within the project study limits: Forested Wetlands, Scrub-
Shrub Wetlands, Emergent Wetlands and Riverine Lower Perennial Unconsolidated
Bottom Wetlands.
In accordance with Executive Order 11990, special considerations were taken in
developing and evaluating the alternatives to avoid and minimize wetland impacts
associated with this pn~jecl. The Preferred Alternative will have permanent impacts to
approximately 6.58 acres of wetlands, or approximately l l % of the wetlands within the
project area. Approximately 4.25 acres of the impacts are associated with the proposed
eastbound 1-40 to northbound Hwy. 67 flyover ramp, located in Dark Hollow. The purpose
of this improvement is to replace the existing left exit with a right exit. The existing left
exit creates weaving issues which have led to high crash rates in the segment of 1-40
between 1-30 and Hwy. 67. Of the numerous alternatives that were evaluated for this ramp,
the Preferred Alternative has the least ,velland impacts. In addition, the PrefeITed
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Alternative will have an additional 2.1 acres of temporary impacts due to temporary fill
needed during construction. This fill will be removed following construction, and the area
will be restored to natural contours. Further opportunities for avoidance and minimization
of wetland impacts will be evaluated during design.
A permit has been applied for from lJSACE under Section 404 of the Clean Water Act. As
pat1 of this process, it is anticipated that stream and wetland mitigation will be offered at
an approved mitigation bank site at a ratio approved by the lJSACE during the permitting
process. The Arkansas Natural Resources Commission has reviewed the Environmental
Assessment and expressed support for the project.
FHWA finds that impacts to wetlands and waters of the U.S. are not significant.
Threatened and Endangered Species
The project area is highly urbanized, with very little habitat for wildlife. Pursuant to Section
7(c) of The Endangered Species Act of 1973, the project area was evaluated for the potential
occurrence of threatened and endangered species. None of these species arc present in the
prqject area. The construction contract will include a Special Provision that specifies
procedures to prevent impacts during construction to birds protected under the Migratory
Bird Treaty Act.
FHWA finds that there are no significant impacts identified to threatened or endangered
species.
Hazardous Materials
An Initial Site Assessment (ISA) was performed to identify existing or potential recognized
environmental conditions. The assessment consisted of a site reconnaissance and review of
state and federal records. Field inspections found nine areas where excavation associated
with construction of the project could potentially encounter hazardous materials, primarily
petroleum.
During construction, if hazardous materials, unknown illegal dumps, or underground
storage tanks are identified or accidentally uncovered by the design-builder, ARDOT will
determine the type, size, and extent of the contamination according to ARDOT's response
protocol. ARDOT, in consultation with Arkansas Department of Environmental Quality
(ADEQ), will decide the type of containment, remediation, and disposal methods to be
employed for that particular type of contamination.
An asbestos survey will be conducted by a certified asbestos inspector on all buildings
prior to the development of demolition plans. If the survey detects the presence of any
asbestos-containing materials, plans will be developed to accomplish the safe removal of
these materials prior to demolition. All asbestos abatement work will be conducted in
conformance with the Arkansas Department of Environmental Quality, Environmental
Protection Agency, and Occupational Safety and [ [ealth Administration asbestos
abatement regulations.
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FHWA finds that the hazardous materials impacts are not significant.
Construction
The design-build contractor will be required to adhere to the contract Technical Provisions.
These provisions have been developed to minimize temporary impacts to the public and to
the environment.
Lane closures will be necessary during construction to allow for the safe and efficient
implementation of the project. Partial closures are expected throughout the project during
off-peak hours. During periods of peak travel, the goal will be to maintain two to three
lanes of travel in the peak direction, as much as possible. Full closures along portions of
the con·idor may be necessary but will be short-term in duration. The frequency of
occurrence of full closures will be minimized to the extent possible. The public will be
notified of these closures at least seven calendar days in advance through news releases
and variable message signs. Possible nearby detour routes within the project area will he
suggested so that the public can avoid congestion potentially resulting from the lane
closures. Ramp closures and closure of more than one cross street or frontage road
intersection at the same time will also be minimized.
Some of these potential impacts to the environment and preventative practices are
summarized below.
Land Use. Most construction would occur within the existing right of way, with the
Preferred Alternative requiring the acquisition of l I.I acres of right of way. Additionally,
temporary construction easements may be required. Following construction, these areas
would be restored to their current condition, and no permanent impacts to the affected
properties would occur. Temporary constmction impacts would be required in the North
Shore Riverwalk Park, Julius Breckling Riverfront Park and William J. Clinton
Presidential Center and Park. ARDOT has worked with the Cities of North Little Rock and
Little Rock to develop commitments to prevent these temporary impacts from having an
adverse effect on the parks.
Water Quality. Temporary impacts to water quality could potentially occur due to
sedimentation and erosion resulting from land disturbance. Permits would be obtained from
the ADEQ under Sections 401 and 402 of the Clean Water Act for impacts to water quality
during construction. Best Management Practices, which are measures which have been
shown to prevent impacts to water quality, such as erosion control, would be utilized to
prevent degradation of water quality due to construction activities. These measures are
detailed in the contract Technical Provisions. A Water Pollution Control Special Provision
will be incorporated into the contract to minimize potential water quality impacts.
Appropriate action will be taken to mitigate any impacts to private drinking waler sources
should they occur due to this project.
Air Quality. Short term impacts to air quality could potentially occur during construction
as a result of emissions from construction equipment or dust generated by construction
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activities. The contract Technical Provisions will spcci!Y procedures for minimizing dust
outside of the right of way.
Noise. Construction activities such as demolition, hauling, grading, paving and bridge
construction would result in temporary increases in noise along the project. Local noise
ordinances may place restrictions on the contractor, including limiting certain activities to
specified hours, in order to reduce construction noise impacts. The contract Technical
Provisions will place limitations on construction activities in order to reduce temporary
noise impacts.
Solid Waste Disposal. Procedures for disposal of construction waste off-site will be
governed by contract Technical Provisions. The Technical Provisions will include
procedures for utilization of waste disposal sites operated by the contractor, as well as for
utilization of a solid waste landfill. These procedures arc designed to prevent impacts to
the environment.
Hazardous Materials. Procedures concerning the handling of hazardous materials
encountered during construction arc discussed above and will be governed by the contract
Technical Provisions. The Technical Provisions will include procedures for disposal of
hazardous materials generated during construction, including lead-based paint. These
procedures are designed to prevent impacts to the environment.
FHWA finds that the construction impacts would not be significant.
Indirect Impacts
The project area is highly developed, with approximately 21 percent undeveloped land
remaining. Of this, approximately 12 percent consists of wetlands, floodplains, and parks,
which are not likely to be developed due to environmental regulations. Consequently, the
project is not likely to affect growth in these natural areas. Direct impacts to wetlands in
the Dark Hollow area has the potential to affect natural areas outside of the direct impact
area; however, impacts to these areas will be minimized by adherence to the conditions of
the USACE Section 404 permit and the contract Technical Provisions.
The Preferred Alternative will improve access to downtown Little Rock and North Little
Rock by decreasing travel times to and from downtown destinations and reducing
congestion and crashes, all of which is expected to result in higher traffic volumes on 1-30.
These mobility improvements would have the potential to induce growth in the 9 percent
ofland available for development. Little Rock and North Little Rock City planners believe
that mixed urban development will occur with or without the pr~ject, as that is consistent
with the land use designation and development plans already underway; however, the
timing of the development may be accelerated with the project. Although higher traffic
volumes are anticipated with the Preferred Alternative, the project improvements will have
a beneficial effect on traffic conditions on adjacent segments of 1-630 and 1-30. The
improvements will not make further improvements to those segments any more needed
than they would be without the pr~ject. The Preferred Alternative will also benefit the
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regional roadway network. Reduced congestion on 1-30 and 1-40 will result in an overall
reduction in delays within the regional roadway network and a reduction in the time that
travelers spend in their vehicles.
FHWA finds that the indirect impacts from the project would not be significant.


Cumulative Impacts
Cumulative impacts to community resources, water resources, and cultural resources were
scoped and evaluated for this project. As part of this analysis, the direct and indirect effects
of the Preferred Alternative, as well as the effects of past and present projects, and
reasonably foreseeable impacts of future projects, were evaluated for the resources of
concern.

Reasonably foreseeable transportation actions that were included in the cumulative impact
analysis included the widening of Hwy. 67 north of the Hwy. 67/1-440 interchange; the
widening of I-630 from Baptist Hospital to University Avenue; the 1-40/ Hwy. 391
interchange improvements; the reconstruction of I-30 at 65 th Street, and I-440 from the
Arkansas River Bridge to I-40. These were the only transportation prqjccts on the 2016-
2020 Transportation Improvement Plan within the Resource Study Areas at the time the
analysis was performed. The direct, indirect, and cumulative impacts of those projects on
community, water, and historic resources were analyzed using the AASHTO procedures
for evaluating cumulative effects in NEPA documents. The analysis followed the
AASHTO procedures and considered the impacts of these aforementioned projects in the
cumulative analysis.

Since the time the analysis was performed, other considerations have been included in the
cumulative impacts analysis and reflected in the EA in response to public comments. This
includes the proposed developments for Amazon and the Pointe at North Hills apartments
as well as planned transportation projects. The table below lists the planned transportation
projects within the Resource Study Areas. Projects along I-40 and 1-30 are being studied;
however, scope and plans for these projects have not yet been determined at this time.
Impacts that could be estimated and anticipated to be likely were considered for the
cumulative impacts analyses for the resources analyzed.

 Location                                        Type of Work
 1-40 in Maumelle                                New Interchange
                                                                          -· -----·-·-----·-
 Hwy. 5/Hwy. 70/University Avenue                Intersection Improvements
 Hwy. 10 and 1-430 from Pleasant Ridge Road to
                                                 Major Widening
 Pleasant Valley Drive
 Hwy. 176 at Shilcotts Bayou                     Structure and Approaches Improvements
 Hwy. 365 at Palarm Creek                        Structure and Approaches Improvements
 JP Wright Loop Road Rail                        Railroad Grade Separation
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 Shackleford Road and Gamble Road (Kanis Road)   Major Widening
                                                 Railroad Overpass Structures and Approaches
 Hwy. 10 at Gill Street
                                                 Improvements
 Hwy. 67 from Main Street to Vandenberg
                                                 Major Widening
 Boulevard
 Hwy. 176 from 47 th Street to Remount Road      Safety Improvements
 Hwy. 10 at Taylor Loop Road to Pleasant Ridge
                                                 Major Widening and Operational Improvements
 Road

Direct and indirect impacts of the proposed project on communities arc expected to be
beneficial. Relatively few relocations arc required, and the project would have a beneficial
effect on community cohesion. The impacts of the reasonably foreseeable projects were
evaluated to the extent that information is available. These projects arc unlikely to result in
adverse community impacts and are likely to have a beneficial effect on community
resources. Consequently, the cumulative impacts of this and other reasonably foreseeable
projects on community resources are expected to be minimal.
Direct and indirect impacts of the proposed project on water resources is expected to be
minimal, due to the regulations for prevention of water quality impacts during construction,
and requirements for impacts to wetlands and floodplains to be avoided, minimized and
mitigated. Two developments were identified that are reasonably foreseeable and have the
potential to affect water resources. The requirement for impacts on wetlands and
floodplains to be avoided, minimized, and mitigated ensures that effects on water resources
due to this and other reasonably foreseeable projects will be minimal.
The project results in an adverse impact on only one cultural resource, the North Locust
Street Overpass. Mitigation measures for the loss of this resource are being coordinated
with the ACHP and SHPO under a PA. The PA also includes measures to avoid and
mitigate impacts to unanticipated archaeological resources encountered during
construction. A Design Coordination Plan has been developed by FHWA and ARDOT to
establish procedures for coordination with SHPO and other interested parties should design
changes occur that may affect historic properties. A Mitigation Measures Plan has also
been developed to resolve any adverse effects resulting from unanticipated effects on
historic properties. Local ordinances regarding historical and archaeological resources arc
expected to ensure that the effects of reasonably foreseeable projects on cultural resources
will be minimal.
FHW A finds that the cumulative impacts would not be significant.

 Council on Environmental Quality (CEO) Regulations
The Council on Environmental Quality's regulations requires consideration of a pr~jcct's
context and intensity in determining whether the prqject will have a significant impact (40
C.F.R. 1508.27).
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Context is defined as: "Context means that the significance of an action must be analyzed
in several contexts such as society as a whole (human, national), the affected region, the
affected interests, and the locality. Significance varies with the setting of the proposed
action. For instance, in the case of a site-specific action, significance would usually depend
upon the effects in the locale rather than in the world as a whole. Both short- and long-term
effects are relevant."

Regarding intensity, the regulations identify issues that should be considered in
determining if the intensity of a project's impacts is substantial enough to warrant the
preparation of an Environmental Impact Statement (40 C.F.R. l508.27(b)(l-l0)). The
following issues are considered in the determination of whether there is a significant
impact:
   I. Impacts that may be both beneficial and adverse. A significant effect may
      exist even if the federal agency believes that on balance the effect will be
      beneficial.
No significant impacts to the natural environment have been identified, as the project is in
an area that is heavily urbanized. The project will have an effect on the human environment,
specifically to communities.

The Preferred Alternative would improve travel conditions on 1-30 and 1-40, enhancing
safety and mobility. Travel times to and from downtown Little Rock and North Little Rock
would improve, and connectivity across the Arkansas River would be enhanced by the
addition of CID lanes. Access along the corridor would be improved by the continuous
frontage road system and improved ramps. The removal of the existing Hwy. 10
interchange and connecting ramp to Cumberland Street would change travel patterns in
downtown Little Rock.

While these improvements are anticipated to have a beneficial effect on businesses in the
downtown area, the area has been experiencing slow and steady growth for many years and
is mostly developed. Significant effects on growth are not anticipated; rather, the timing of
planned development may be accelerated. Impacts on communities are expected to be
beneficial, but not to a significant extent.
   2. The degree to which the proposed action affects public health or safety.
The improvements to roadway geometry included with the Preferred Alternative are
expected to improve the safety of the traveling public. Left exits, inadequate ramp
geometry, inadequate interchange spacing, and inadequate shoulders would all be
addressed. These deficiencies have resulted in a highly congested and unsafe corridor with
crash rates several times higher than the statewide average. Elimination of these unsafe
features is expected to provide a benefit to public health and safety.
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The replacement of the 1-30 Arkansas River Bridge would also address navigational salcty
issues on the Arkansas River, and will make the River safer for barge traffic, as well as
reduce the incidence of barges striking and damaging the bridge.
   3. Unique characteristics of the geographic area such as proximity to historic
      or cultural resources, park lands, prime farmlands, wetlands, wild and scenic
      rivers, or ecologically critical areas.
The project is an area that contains cultural resources, including four parks, seven historic
districts, and 136 structures either listed on, or eligible for listing on, the NRHP, including
the North Locust Street Overpass. The North Locust Street Overpass is structurally
deficient and will be replaced. A PA has been developed that will stipulate measures to
avoid, minimize or mitigate any adverse effects on historic properties. Impacts to three
parks will occur; however, most of these impacts are temporary. Commitments have been
made to minimize the effect of these temporary impacts. The Cities of I ,ittle Rock and
North Little Rock have agreed that the project will not harm the parks.
   4. The degree to which the effects on the quality of the human environment are
      expected to be highly controversial.
Controversy, according to CEQ guidelines, refers to a case where there is a substantial
dispute as to the size, nature, or effect of the major federal action, rather than the amount
of public opposition. Numerous comments in response to the Public Hearing referred to a
study performed by Norm Marshall, which criticized the traffic analysis performed for the
project, and suggested that improvements to other arterial roadways would be more
effective than improvements to 1-30 in increasing overall regional mobility. The traffic
analysis methodology performed for the project was agreed upon by FHWA, ARDOT, and
Metroplan, reflects the state of practice in traffic forecasting, and adequately analyzes
regional mobility. The suggestion to improve other arterial roadways does not fully
consider that the primary purpose and need for the project is to improve aging and
substandard infrastructure on l-30 and 1-40, which has resulted in safety issues, in addition
to traffic congestion. The study team has responded to the comments from Norm Marshall
on traffic analysis methodology in detail and concluded that the methodology used is
sound. This issue does not require an environmental impact statement to be prepared for
this project.
   5. The degree to which the possible effects on the human environment are
      highly uncertain or involve unique or unknown risks.
During construction, if hazardous materials, unknown illegal dumps, or underground
storage tanks are identified or accidentally uncovered by the design-builder, ARDOT will
determine the type, size, and extent of the contamination according to ARDOT's response
protocol. ARDOT, in consultation with ADEQ, will decide the type of containment,
remediation. and disposal methods to be employed for that particular type of
contamination. While uncertain, these situations are commonly encountered and do not
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represent a unique risk. Further, methodologies exist to prevent impacts to human health ir
any of these situations occur.
   6. The degree to which the action may establish a precedent for future actions
      with significant effects or represents a decision in principle about a future
      consideration.
Several comments in response to the Public Hearing raised the concern that, as a result of
the increased traffic volumes that are anticipated as a result of the project improvements,
the need to improve adjacent segments of 1-30 and 1-630 would become more likely. The
limits of this project meet the definition of logical termini and it has independent utility.
The adjacent segments of 1-30 and 1-630 have existing capacity and geometric issues that
have led to congestion. This is an existing situation. Although the project will add traffic
to these adjacent segments, traffic modeling shows that the geometric improvements within
the limits of the proposed pn~ject under the Preferred Alternative will improve traffic
conditions on the segments of 1-630 and 1-30 compared to the existing and Future No-
Action conditions.

The improvements to 1-30 and 1-40 being proposed under the Preferred Alternative will not
make a study of I-630 or 1-30 improvements any more or less likely. ARDOT does not
currently have plans to improve l-630 from l-30 to the west. Due to current and anticipated
mobility concerns on the corridor, the Highway Commission has provided approval for a
future study of this portion of 1-630; however, a date has not yet been set for this study to
commence. If, at some future date, ARDOT conducts a study of this section ofl-630, that
study would be conducted in the context of previously identified commitments and
constraints. Any recommendations resulting from such a study would also have to be
evaluated through the environmental process to determine the possible environmental
impacts. ARDOT is currently studying the need for and feasibility of improvements to 1-
30 from Benton to the 1-530/1-440 interchange. The limits of the study for this corridor
were selected based on the general commuting patterns and freight movement in the region
and beyond.

   7. Whether the action is related to other actions with individually insignificant
       but cumulatively significant impacts. Significance exists if it is reasonable to
       anticipate a cumulatively significant impact on the environment. Significance
       cannot be avoided by terming an action temporary or by breaking it down
       into small component parts.
This project has logical termini and independent utility and is not related to any other
current or planned roadway improvements. The project limits were defined based on
documented needs in the l-30 and 1-40 corridors, including bridge structural and
navigational deficiencies, traffic congestion, safety, roadway geometric deficiencies; as
well as points of major traffic generators:
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•   Congestion on I-30 and I-40 was documented to he most severe on the segment of I-
    30 from 1-440/1-530 to 1-40, and on l-40 from 1-30 to Hwy. 67.
•   Safety issues in the project corridor were related to geometric deficiencies: !ell exits,
    substandard ramp lengths, substandard curves, substandard shoulders. and closely
    spaced interchanges, which were found to be most prevalent on 1-30 from l-440/1-530
    to 1-40 and on 1-40 from l-30 to Hwy. 67
•   The southerly project limit is a location where I-30, I-440, and l-530 converge,
    resulting in a significant change in traffic volumes
•   The northerly project limit is a location where 1-40 and Hwy. 67 converge, another
    location where traffic volumes change significantly
There are independent reasonably foreseeable projects planned within the study area. The
cumulative impact of these projects on community, water and historic resources was
evaluated and not determined to be significant.
    8. The degree to which the action may adversely affect districts, sites,
       highways, structures, or objects listed in or eligible for listing in the National
       Register of Historic Places or may cause loss or destruction of significant
       scientific, cultural, or historical resources.
The pr~ject will involve an adverse effect on the North I ,ocust Street Overpass, which is
eligible for the NRHP. The structure is structurally deficient and must be replaced. The
FHWA and the /\CHP developed a PA to address any adverse effects on historic properties
within the APE. The PA stipulates measures to avoid, minimize or mitigate any adverse
effects to historic properties that are currently iclcnti fied or that become apparent in a later
phase of the project. With regards to the North Locust Street Overpass, the PA includes
appropriate measures to minimize harm as required by the Programmatic Section 4(f)
Evaluation and Approval for FHWA Projects that Necessitate the Use of Historic Bridges.
No other adverse effects on NRHP-eligible features within the project area are anticipated.
The PA includes measures to minimize or mitigate any adverse effects to any
archaeological sites or historic properties that become apparent during construction.
    9. The degree to which the action may adversely affect an endangered or
          threatened species or its habitat that has been determined to be critical
          under the Endangered Species Act of 1973.
Pursuant to Section 7(c) of The Endangered Species Act of 1973, the project area was
evaluated for the potential occurrence of threatened and endangered species. None of these
species arc present in the project area. The project will have no effect on endangered or
threatened species or critical habitat.
    10.         Whether the action threatens a violation of Federal, State, or local law
          or requirements imposed for the protection of the environment.
The proposed action does not knowingly threaten a violation of any Federal, State, or local
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law for protection of the environment. All applicable permits will be acquired prior to
construction.

Conclusion

Based upon the EA, additional information included in this document, and the Disposition
of Public Comments for the I,ocation and Design Public I Icaring, FHW A concludes that
the proposed project will not have a significant impact on the environment. No additional
NEPA documentation is required for this project. FHWA in cooperation with ARDOT
identifies Alternative 28 as the Selected Alternative for the project. If, during design or
construction, changes in laws or regulations occur that affect the project, or there are major
design changes that result in greater impacts than those evaluated in this document, a re-
evaluation of this EA will be performed. The Arkansas Department of Transportation has
completed the assessment of the proposed project and the Federal Highway Administration
issues a Finding of No Significant Impact for the 30 Crossing Pr~ject in Pulaski County,
Arkansas.




Division Administrator
FHWA, Arkansas Division Office
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 Document                Location           PDF page             Comment                     Response

EA             General                                 Replace ArDOT with ARDOT         Replaced

EA             Cover                    1              Add FAP, revised project         Revised
                                                       title, added graphics

EA             Section 1.2, page 4      14             Insert sentence on local         Inserted
                                                       traffic

EA             Section 2.3, page 48     62             Revise Figure 26                 Revised

EA             Section 2.3, page 51     66             Revise Figure 28                 Revised

EA             Section 2.3, page 53     69             Add text box to Figure 29        Added

EA             Section 2.3, page 56     73             Add text box to Figure 31        Added

EA             Section 3.2, page 83     100            Replace "five" with "all of"     Replaced

EA             Section 3.3, page 84     101            Added reference to No-           Added
                                                       Action not meeting P&N

EA             Section 3.3, page 92     109            Revised language regarding       Revised
                                                       Programmatic 4(f) and
                                                       Cultural Resource Addendum

EA             Section 3.6, page 101    118            Remove reference to new          Deleted lines 8-10
                                                       utility building

EA             Section 3.10, page 105   122            Update stream impacts            Updated

EA             Section 3.12, page 108   125            Revise text box                  Revised

EA             Section 3.12, page 108   125            Add text box                     Added

EA             Section 3.12, page 108   125            Update wetland impacts;          Updated and added
                                                       add temporary impacts

EA             Section 3.13, page 109   126            Add reference to Migratory       Added
                                                       Bird Treaty Act

EA             Section 3.15, page 110   127            Add reference to                 Added
                                                       greenhouse gases

EA             Section 3.16, page 114   131            Delete lines 18-20               Deleted

EA             Section 3.16, page 116   133            Delete sentence regarding        Deleted lines 5-7
                                                       cumulative impacts

EA             Section 4, page 119      136            Revise wetland and stream        Revised
                                                       impact totals

Appendix B                              282            Revised Appendix B Traffic       Revised
                                                       Results

Appendix E                              1268           Revise to include public         Revised
                                                       hearing summary

Appendix H-1                            4029           Replace North Shore              Replaced
                                                       Riverwalk 4(f) statement

Appendix H-2                            4075           Replace Little Rock Parks 4(f)   Replaced
                                                       statement
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 Document       Location     PDF page            Comment                 Response

EA Appendix                 4139        Replace Programmatic 4(f)   Replaced
H-3                                     for North Locust Street
                                        Bridge

EA Appendix                 4704        Insert appendices to        Inserted
L                                       Hazardous Material Report

Appendix R                  7071        Revise Cumulative Effects   Revised
                                        Technical Report
